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                                 DISTRICT OF NEW JERSEY


NATIONWIDE MUTUAL FUNDS, on behalf of          Civ. No. 2:18-cv-15382
its series NATIONWIDE GENEVA MID CAP
GROWTH FUND and NATIONWIDE S&P 500             COMPLAINT FOR VIOLATIONS OF
INDEX FUND,                                    THE FEDERAL SECURITIES LAWS

               and                             JURY TRIAL DEMANDED

NATIONWIDE VARIABLE INSURANCE                  ECF CASE
TRUST, on behalf of its series NVIT DYNAMIC
U.S. GROWTH FUND, NVIT MULTI-
MANAGER LARGE CAP VALUE FUND, NVIT
S&P 500 INDEX FUND, and TEMPLETON
NVIT INTERNATIONAL VALUE FUND,

                         Plaintiffs,

               v.

PERRIGO COMPANY PLC, JOSEPH C. PAPA,
and JUDY L. BROWN,

                         Defendants.
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       Plaintiffs, Nationwide Mutual Funds (“NMF”), on behalf of its series Nationwide Geneva

Mid Cap Growth Fund and Nationwide S&P 500 Index Fund (the “NMF Funds”), and

Nationwide Variable Insurance Trust (“NVIT”), on behalf of its series NVIT Dynamic U.S.

Growth Fund (formerly NVIT Large Cap Growth Fund, into which NVIT Growth Fund

previously merged), NVIT Multi-Manager Large Cap Value Fund, NVIT S&P 500 Index Fund,

and Templeton NVIT International Value Fund (the “NVIT Funds,” and together with the NMF

Funds, the “Nationwide Funds” or “Plaintiffs”), by and through their undersigned counsel, bring

this action for violations of Sections 10(b), 14(e), and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §§ 78j(b), 78n(e), and 78t(a), respectively, and the rules

and regulations promulgated thereunder, including United States Securities and Exchange

Commission (the “SEC”) Rule 10b-5, 17 C.F.R. § 240.10b-5, against Defendants Perrigo

Company plc (“Perrigo” or the “Company”); Joseph C. Papa (“Papa”), Perrigo’s former Chief

Executive Officer (“CEO”); and Judy L. Brown (“Brown”), Perrigo’s former Chief Financial

Officer (“CFO”) (collectively, “Defendants”). Papa and Brown are collectively referred to as the

“Individual Defendants.”

       Except as to allegations specifically pertaining to Plaintiffs, all allegations herein are

based upon the investigation undertaken by Plaintiffs’ counsel, which included, but was not

limited to, the review and analysis of: (i) public filings made by Perrigo with the SEC; (ii) press

releases and other public statements issued by Defendants; (iii) research reports by securities and

financial analysts; (iv) media and news reports related to Perrigo; (v) transcripts of Perrigo’s

earnings and other investor conference calls; (vi) publicly available presentations, press releases,

and interviews by Perrigo; (vii) economic analyses of the movement and pricing of Perrigo

publicly traded common stock and options; (viii) consultations with relevant consultants and




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experts; (ix) media reports and other publicly available information concerning the Company and

the Individual Defendants; and (x) interviews of former employees of Perrigo. Plaintiffs believe

that substantial additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

I.     INTRODUCTION

       1.      This case arises from a series of materially false or misleading statements made

by Perrigo and its senior-most officers beginning in April 2015, including statements made as

part of an effort to fend off a hostile takeover attempt by one of the Company’s chief

competitors, Mylan N.V. (“Mylan”), a rival generic and specialty pharmaceutical company.

Defendants’ fraud then continued long after Mylan’s tender offer (the “Tender Offer”) failed in

November 2015.

       2.      Given what was at stake for Defendants—the possibility that the Company’s

shareholders would flee from their investment in Perrigo and exchange their shares for the

valuable consideration offered by Mylan, thus ending the Company—Defendants had strong

incentives to mislead the market about multiple aspects of Perrigo’s then-existing business to

stave off Mylan’s bid.

       3.      To convince Perrigo’s shareholders to reject Mylan’s tender offer, Defendants

falsely claimed that: (i) Perrigo’s acquisition and integration of Omega Pharma NV (“Omega”)

was working smoothly, had been accretive to Perrigo’s growth rate, would accelerate the

Company’s international expansion into the European market and afford Perrigo increased

revenue and operational and supply chain synergies through Omega’s extensive distribution

network and product portfolio; (ii) Perrigo had the ability to withstand pricing pressures in the

generic drug industry; and (iii) Perrigo’s future profitability—as expressed in positive financial

guidance—was robust. In addition, Defendants concealed collusive pricing in Perrigo’s generic


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drug division—conduct which is now being investigated by the U.S. Department of Justice (the

“DOJ”). These false or misleading statements, which were in part designed to defend against the

Mylan bid, and continued to mislead the market for months thereafter, had the effect of causing

Perrigo’s shares to trade at prices in excess of their true value throughout the period of April 21,

2015 through May 3, 2017 (the “Relevant Period”).

       A.      Defendants Misled Investors by Representing that “Tremendous Revenue
               Synergies” and Operating Efficiencies from the Omega Acquisition Were
               Driving Perrigo’s Standalone Value

       4.      Perrigo is a manufacturer of specialty, generic, and over-the-counter (“OTC”)

pharmaceutical and healthcare products.       From its creation in 1887 through 2013, Perrigo

operated primarily out of Allegan, Michigan and focused its business almost exclusively on the

U.S. market. In or around 1997, Perrigo began expanding into the international market. This

effort was accelerated when Perrigo purchased an Irish drug company, the Elan Corporation plc,

and reincorporated in Dublin, Ireland in 2013.

       5.      Though its presence in Ireland established an initial foothold for the Company in

the European market, Perrigo nonetheless struggled to gain access to the international OTC

market. As explained by Company executives, as of November 2014, Perrigo had “hundreds of

products that [it] eventually could sell if [it] had the infrastructure,” but it “did not have an

infrastructure in Europe.”      Thus, as of November 2014, Perrigo’s business remained

approximately 80% driven by the U.S. market and only 20% driven internationally. In fact, at

that time, Perrigo’s international presence was limited to just six countries, including the U.S.

       6.      On November 6, 2014, in support of its push into the European market, Perrigo

announced that it had entered into an agreement to acquire Omega, then the fifth largest

European OTC healthcare company.            Headquartered in Belgium, Omega maintained a

commercial presence in approximately thirty-five countries as of November 2014, boasting a


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commercial network of over 200,000 pharmacists and 105,000 retail stores, and a portfolio of

roughly 2,000 products, including numerous leading cough, cold, skincare, pain relief, and

gastrointestinal treatment brands.

       7.      The Omega acquisition was intended to dramatically alter the balance of Perrigo’s

total business operations. As a result of the deal, Perrigo’s international business was expected

to comprise approximately 40-45% of total Perrigo operations, up from 20% prior to the

acquisition.   According to Perrigo, Omega “instantly enhance[d] [Perrigo’s] scale and,

broaden[ed] [its] footprint,” providing Perrigo with an “established commercial infrastructure” to

use in the highly profitable $30 billion European market. Specifically, the Omega acquisition

left Perrigo with a commercial presence in thirty-nine countries (as opposed to six) and,

according to the Company, would “accelerate Perrigo’s international growth strategy.”

       8.      From the time of the announcement of the transaction in November 2014,

Defendants were quick to focus investors on the purported immediate and long-term impact that

the Omega acquisition would have on Perrigo’s business and growth. According to Papa,

Perrigo could now bring “many” of its 3,000 products “to our European platform and launch

them in Europe. [That] gives us a chance to continue to have very significant revenue synergies

for the future.”    These “tremendous revenue synergies,” Perrigo said, would drive the

Company’s overall growth. Perrigo also hailed the Company’s now-expanded product portfolio

and enhanced scale and distribution network in Europe, highlighting the combination of

“Perrigo’s supply chain and operational excellence with Omega’s OTC branding and regulatory

expertise.”

       9.      Market commentators immediately embraced management’s statements reporting

positively that the Omega deal “ma[d]e[] abundant strategic sense” and provided “infrastructure




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that would have taken years to build organically.”     Based on Defendants’ representations,

Goldman Sachs, for example, expected large revenue and cost “synergies to come from the

ability to sell [Perrigo’s] products in new channels, overseas, where [Perrigo] previously had

little exposure.”

         10.   To accommodate Perrigo’s more than doubled international business operations,

shortly after the deal closed on March 30, 2015, the Company re-structured its reporting

segments to create a new segment, Branded Consumer Healthcare (“BCH”), which was

comprised almost entirely of Omega and would focus primarily on the sale of branded cough,

cold, allergy, vitamin, and supplement products in Europe. Perrigo named Omega’s founder,

Marc Coucke (“Coucke”), as Executive Vice President and General Manager for BCH, and later

handed him a seat on Perrigo’s Board of Directors (the “Board”).

         11.   Just a week after Perrigo closed the Omega transaction, Mylan approached

Perrigo’s Board with an offer to purchase Perrigo for approximately $205 per share (the

“Offer”). At the time, the Offer represented approximately a 25% premium to Perrigo’s stock

price.

         12.   Despite the substantial premium offered to Perrigo shareholders, almost

immediately, the Board “unanimously rejected” Mylan’s Offer, claiming it “substantially

undervalue[d] the Company and its future growth prospects” and “d[id] not take into account the

full benefits of the Omega Pharma acquisition,” namely, the “tremendous revenue synergies”

between Omega and Perrigo once the former was fully integrated. According to Defendants,

buoyed by the Omega acquisition and the Company’s purported emergence as an international




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 market player, Perrigo’s standalone value far exceeded Mylan’s Offer, which Papa would claim

 “was not even in the right ZIP code.”1

           13.    Perrigo’s rejection, however, did not end Mylan’s pursuit. Mylan’s Offer would

 be the first of four distinct offers to Perrigo, which Mylan claimed would be worth more than

 $242 per share, culminating in the hostile Tender Offer in the fall of 2015. Over the months that

 followed Perrigo’s initial rejection, Perrigo and Mylan publicly sparred over the merits of

 Mylan’s hostile takeover bid and whether the proposed merger would benefit Perrigo

 shareholders.     Defendants Papa and Brown tried to convince shareholders that, despite the

 undeniable monetary premium offered by Mylan, Mylan’s various offers “substantially

 undervalued [the] Company and [its] future growth prospects.”

           14.    At each turn, Defendants focused investors’ attention on Omega as the primary

 driver of the Company’s immediate and long-term growth prospects. In public filings and

 statements, Defendants highlighted Omega’s established European infrastructure and product

 line and raved about Perrigo’s unique ability to capitalize on the combination of entities. In

 response to questions concerning Omega’s integration and performance, Perrigo assured

 investors that the Omega acquisition was “immediately accretive” and that the process of

 migrating Omega into Perrigo was “working smoothly” and had not in any way been interrupted

 by Mylan’s takeover attempt. In May 2015, for example, Papa told investors that Mylan’s offers

 had substantially undervalued Perrigo, “especially given what we have now done with Omega.”

 In August 2015, Papa flatly told investors that Perrigo “delivered on our Omega integration

 plan” and “achieved great operational efficiencies and productivity improvement.” Indeed, just




 1
     Unless otherwise stated, all emphasis is added.


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 hours after Mylan launched its Tender Offer in September, Perrigo unequivocally assured

 investors that Omega “has done outstanding.”

        15.    These statements were false. According to numerous former Perrigo and Omega

 employees who had key roles in the actual integration process, the Omega acquisition was

 problematic from the start because Perrigo had rushed into the Omega acquisition with no

 understanding of the regulatory, commercial, and data challenges to achieving the synergies it

 claimed it would accomplish with Omega. In truth, at all times between the acquisition and the

 ultimate impairments on Omega taken by the Company, Perrigo was nowhere close to achieving

 synergies and operating efficiencies through Omega. And Defendants knew it.

        16.    As soon as the Omega transaction closed on March 30, 2015, Defendants—

 because they had access to information regarding Omega’s operations during a due diligence

 period prior to closing the transaction—were aware (and had been for some time) that virtually

 none of Omega’s thirty-five different systems were compatible with Perrigo’s data management

 and central operating system. This critical issue forced Omega personnel to manually track and

 input Omega’s financial data and performance information into non-automated files, including

 data concerning Omega’s: (i) sales, including orders, returns, and discounts; (ii) purchases,

 including orders, returns, and damaged goods reports; (iii) inventory, including sub-ledgers,

 damaged goods, and obsolete goods; and (iv) accounting, including sub-ledgers for accounts

 receivable and payable. Because Perrigo had virtually no transparency into Omega’s operations

 and finances, the Company did not have a grasp on what it had acquired or how to monetize the

 benefits of the Omega platform.

        17.    These operational deficiencies were well known inside Perrigo. For example, two

 former Chief Information Security Officers (“CISO”) at Perrigo confirmed that much of




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 Omega’s data was only available to Perrigo through requests for manual reviews and reports.

 These former officers added that it could (and often did) take weeks for Omega to process even

 the most basic requests and report back to Perrigo on Omega’s financial data, performance, or

 performance history. In fact, numerous former Perrigo employees confirmed that the Company

 never migrated complete financial data and performance information from Omega’s franchises

 to Perrigo’s system in 2015 and 2016.          Nonetheless, Defendants continued to publicly

 misrepresent that Perrigo had “delivered on our Omega integration plan” and that Omega was

 contributing positively to Perrigo’s bottom line throughout this same period of time.

        18.     Because Perrigo executives had no real-time visibility into Omega or its

 respective (and incompatible) systems, they utilized unsubstantiated oral representations from

 Omega personnel as the foundation for Perrigo’s financial projections, guidance, and other

 public statements to the market. Unbeknownst to the market, these oral representations from

 Omega were frequently determined by Perrigo to be inaccurate and unreliable. As one former

 employee responsible for the Omega data migration noted, “if you don’t have all the data, it’s

 hard to say what your financial numbers are.”        Even after Omega processed requests and

 internally provided reports to Perrigo, the accuracy of the information provided was constantly

 disputed—and in many cases discovered to be incorrect—by Perrigo. Yet Perrigo and the

 Individual Defendants continued to provide these undocumented and faulty numbers to investors

 in support of their public representations about the success of the Omega integration and the

 performance of the Omega business.

        19.     Perrigo also failed to appreciate a number of applicable European Union (“EU”)

 regulations, including that, unlike in the U.S., OTC drug prices are set and governed by the

 European country of sale or the EU. As multiple former Perrigo employees explained, this




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 dynamic drastically limits price flexibility and the ability of an “outside” supplier like Perrigo to

 compete in the European market. Because Perrigo lacked a European manufacturing facility, it

 was forced to cut margins to account for shipping, tariffs, and other costs necessary to bring

 products to market. None of these pricing problems that are germane to the European market—

 all of which impacted Perrigo’s ability to achieve synergies by selling its products through

 Omega’s European network—were disclosed to investors prior to April 2016.

        20.     Despite these roadblocks to growing the Omega business with Perrigo products,

 Perrigo pushed Omega to achieve unattainable financial goals in order to maintain the façade that

 Perrigo’s then-existing business prospects were strong and improving and to manufacture

 artificial support for the Company’s publicly disclosed financial guidance so as to defeat

 Mylan’s Tender Offer. In doing so, Perrigo recklessly disregarded informed pushback from

 Omega personnel.      This led to regular feuds between Perrigo and Omega executives over

 Omega’s performance and what several former employees described as the “unrealistic” nature

 of the financial goals Perrigo sought to impose on Omega.

        21.     Perrigo senior management, including the Individual Defendants, knew or

 recklessly disregarded each of these critical impediments to the “tremendous revenue synergies”

 and “operational efficiencies” about which Defendants boasted to investors. For example, during

 at least one quarterly update meeting in the second half of 2015, as the Company was fighting off

 Mylan and telling investors that Omega “has done outstanding,” Defendant Brown herself

 presented slides to Perrigo’s executive team that definitively showed that Omega was missing its

 goals and failing to perform.     Numerous former employees confirmed that Perrigo’s Chief

 Information Officer (“CIO”), Thomas M. Farrington, who was hand-selected by Papa to lead the

 Omega integration, was in frequent (if not daily) contact with the Individual Defendants, keeping




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 each of them apprised of the numerous debilitating issues concerning Omega. The Individual

 Defendants, however, recklessly ignored these realities and rejected pleas for additional

 manpower and resources to remedy the problems. As one former Perrigo employee explained,

 senior management took their “eyes off the ball” in addressing the problems with integrating

 Omega to focus entirely on defending against Mylan’s takeover bid. Yet Defendants continued

 to falsely trumpet the “outstanding” Omega deal and its benefits to the investing public, all the

 while knowing of these grave integration problems.

        22.    These concealed problems with Omega were so impactful that Perrigo ultimately

 had to take approximately $2.3 billion in impairment charges in 2016, amounting to over 50%

 of the approximately $4.5 billion purchase price for Omega.

        23.    In short, Defendants had no reasonable basis to claim to investors, as they did

 throughout 2015, that Omega would boost Perrigo’s growth or bottom line anytime soon or that

 Mylan’s tender offer was undervaluing the Omega portion of its business. Instead, they knew, or

 recklessly disregarded, that the acquisition was a debacle from the start and that the touted

 synergies were a pipedream.

        B.     Defendants Falsely Claimed that Perrigo’s Revenues Were “Insulated” from
               Pricing Pressures in the Generic Drug Industry

        24.    During the Relevant Period, Perrigo also operated a Prescription Pharmaceuticals

 (“Rx”) segment, which focused primarily on the sale of generic and specialty pharmaceutical

 prescription products in the U.S. and the United Kingdom.

        25.    As Perrigo was failing to get Omega off the ground, increased competition and

 regulatory scrutiny in the U.S. generic drug industry were major causes of concern for investors

 and the subject of numerous questions posed to Defendants during the Relevant Period. In each

 instance, Defendants denied that Perrigo was feeling the impact of any “pricing pressures,”



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 repeatedly assuring the market that the Company could withstand any such pressures by keeping

 pricing “flat to up slightly.” Brown even told the market on October 22, 2015—just three weeks

 before the Tender Offer deadline—that “nearly all of [Perrigo’s] revenues are insulated from the

 current pricing drama you see playing out in the pharmaceutical industry today.” These

 statements too were false or misleading when made.

        26.    In point of fact, beginning prior to the Relevant Period, the U.S. Food and Drug

 Administration (“FDA”)—faced with a colossal backlog of generic drug applications and

 political pressure to lower the price of generic drugs—accelerated its approvals of new generics

 to historic levels. This acceleration of drug approvals led to a tsunami of new competitors and

 approved products in the generic drug markets, including products in direct competition with

 those owned by Perrigo, resulting in significant downward pricing and never-before-seen levels

 of newly approved generic drugs competing with existing brands (and previously approved

 generics).

        27.    The influx was no surprise to Perrigo. According to several former Perrigo

 employees who worked in the Company’s Rx segment, Perrigo specifically kept track of what

 their rivals were doing in the new product development area.        To this end, the Company

 maintained a running list of companies in competition with Perrigo to be first to the market with

 new generic products, as well as new generics to compete with previously approved generic

 products. As a result, Perrigo knew which drugs the other generic pharmaceutical companies

 were bringing to the market to compete with existing Perrigo products, and closely tracked the

 FDA’s submission, review, and approval process.

        28.    Thus, the Company knew it was not “immune” to pricing pressures, despite

 having assured investors otherwise. Given this wave of new competition, Defendants either




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 knew, or were recklessly blind to the fact, that the elevated pricing levels for its generic drugs

 were unsustainable as new drug approvals accelerated at an unabated pace throughout 2015.

 Yet, in an attempt to fend off the Mylan takeover at all costs, Defendants insisted that Perrigo

 was immune to these sliding prices.

        C.      Defendants Concealed Perrigo’s Price-Fixing of Generic Drugs

        29.     Before   Defendants    were    fending   off   Mylan’s   Tender    Offer   through

 misrepresentations about Omega and the Company’s immunity to pricing pressure, Perrigo and

 some of its competitors tried to maximize their profits from generic drug sales through illicit

 price collusion. As described below, there is a clear pattern of an industry conference attended

 by Perrigo and its competitors, followed by an abrupt and unprecedented spike in the Company’s

 drug price, closely timed with spikes in Perrigo’s competitors’ prices.       These patterns are

 undeniable and provide clear evidence of price collusion, particularly because there is no

 evidence of contemporaneous supply shortages, increased costs, or increases in demand to

 otherwise explain the drastic price increases for these drugs. What is more, the price increases

 operated as a “one-way ratchet”: the drug prices never decreased following the initial price

 increases to the extent one would expect if the sudden price increases reflected temporary supply

 shortages, cost increases, or other benign market explanations.

        30.     Perrigo’s extraordinary and historic price increases for these generic drugs would

 have been against Perrigo’s economic self-interest absent the existence of a price-fixing scheme.

 Generic drugs are commodity products. Absent price collusion, if one manufacturer raises the

 price of a given drug, its competitors will seek to increase their own market share by selling the

 drug to the first manufacturer’s customers at lower prices.        Indeed, under the Maximum

 Allowable Cost (“MAC”) pricing regime that governs much of the U.S. generic pharmaceutical

 market, drug cost reimbursements from insurance companies are capped at a certain price, and if


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 a drug manufacturer raises its prices above this cap while its competitors do not, the

 reimbursements for the higher-priced drug will cease. Thus, it would not be in any drugmaker’s

 unilateral self-interest to increase the prices of its generic drugs unless it had an agreement with

 the other drugmakers that they would do the same.

        31.     The suspicious price increases by Perrigo and others have spawned investigations

 by the DOJ and several state Attorneys General. These investigations have begun to reveal a

 broad, well-coordinated, and long-running series of schemes to fix prices for a number of generic

 drugs. They have also revealed that collusion on generic drugs was centered around meetings of

 trade associations, such as the Generic Pharmaceutical Association (“GPhA”), and other industry

 gatherings attended by senior Perrigo officials.

        32.     On May 2, 2017, Perrigo confirmed that the DOJ had executed search warrants at

 the Company’s corporate offices in connection with its investigation into price collusion in the

 generic drug industry. As reported by Bloomberg, analysts from RBC Capital Markets stated

 that the raid of Perrigo “is going to bring the DOJ generic pricing risk back into focus.” Drew

 Armstrong and Caroline Chen, Perrigo Offices Searched by U.S. Agents in Drug Price Probe,

 Bloomberg, May 2, 2017. The fact that the DOJ raided Perrigo’s offices after sending subpoenas

 to certain of its competitors strongly suggests that evidence learned in those other investigations

 led the DOJ to believe that Perrigo was also participating in a price-fixing conspiracy.

        33.     Throughout     the Relevant     Period,   Defendants failed      to   disclose that:

 (i) Perrigo’s generics unit and several of its pharmaceutical industry peers, including Allergan,

 Akorn, Fougera, G&W, Glenmark, Hi-Tech, IGI, Mylan, Ranbaxy, Renaissance, Sandoz, Spear,

 Taro, and Valeant (the “Co-Conspirators”) colluded to fix generic drug prices; and (ii)

 consequently, Perrigo’s statements regarding the Company’s pricing strategy for its generic




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 drugs and the purportedly competitive nature of the generic drug markets in which it operated

 were materially false or misleading at all relevant times. These false or misleading statements

 also disguised the true source of Perrigo’s income from generic drug sales, i.e., price collusion.

        D.      The Truth Is Revealed after Mylan’s Failed Takeover Attempt

        34.     Ultimately, on the strength of Defendants’ misrepresentations concerning Omega,

 Perrigo’s purportedly strong growth prospects and financial guidance, and the Company’s ability

 to withstand pricing pressures in the generic drug industry, Defendants’ efforts to fend off

 Mylan’s takeover bid succeeded. On November 13, 2015, the majority of Perrigo shareholders

 voted against the Tender Offer, electing not to tender their shares to Mylan and to instead buy

 into the Company’s supposed “standalone” growth prospects.

        35.     In the months following Mylan’s thwarted takeover attempt, the market and

 Perrigo shareholders gradually learned that Defendants’ representations concerning Omega were

 pure fabrication, as Perrigo was forced to take billions of dollars in impairment charges against

 Omega. According to one analyst, Omega was an “unequivocally disastrous [] acquisition.”

 The market also learned through these revelations that Perrigo’s financial guidance in 2015 and

 the beginning of 2016—which, according to Defendants, was largely driven by Omega—had

 been baseless the entire time. On May 12, 2016, Perrigo’s then-CEO, John Hendrickson, who

 replaced Papa, admitted such guidance was “unrealistic.”

        36.     To compound the newly unveiled Omega problems, Defendants also

 acknowledged that, contrary to their unequivocal representations throughout 2015 and the

 beginning of 2016, the increased competition in the U.S. generic drug market, spurred by the

 FDA’s ramped-up approvals of generic drug applications, had taken a gigantic toll on Perrigo’s

 Rx segment. By April 2016, Perrigo could no longer conceal that this increased competition—to

 which Perrigo had stated it was immune just months earlier when resisting the hostile Tender


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 Offer—had already and would continue to negatively impact Perrigo’s financial performance,

 forcing the Company to slash its earnings guidance.        Defendants knew or were recklessly

 ignorant of the fact that, since at least the spring of 2015, the FDA was fast-tracking the review

 and approval process for Accelerated New Drug Applications (“ANDAs”) and that the increased

 competition was unavoidable.

         37.     Perrigo’s gradual revelations of the truth regarding Omega and its vulnerability to

 generic pricing pressures in the spring and summer of 2016 caused the Company’s stock to

 decline over $42 per share over the course of just a few trading days.

         38.     In response to these revelations, a chorus of market commentators reported that

 “Perrigo management set unrealistic and aspirational earnings guidance in its effort to defend

 against Mylan’s hostile bid,” to the detriment of Perrigo’s shareholders, including Plaintiffs.

 Indeed, “Mad Money” host Jim Cramer outright stated that “Papa had come on ‘Mad Money’

 and talked about how the Mylan bid dramatically undervalued Perrigo . . . . That was clearly

 untrue.”

         39.     Notably, the Omega disaster continued long after the Relevant Period, forcing the

 Company to sell off brands and business under the Omega umbrella in late 2016/early 2017 and

 acknowledge that Omega had failed to perform from the moment it was acquired, costing Perrigo

 billions of dollars.

         40.     Defendants’ misrepresentations caused Perrigo’s common stock to trade at prices

 in excess of its true value throughout the Relevant Period. They also fraudulently induced a

 majority of Perrigo shareholders to hold Perrigo shares rather than tender them to Mylan in

 exchange for millions of dollars more in value. Through gradual revelations of the fraud, the

 artificial inflation attributable to Defendants’ misrepresentations was removed from Perrigo’s




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 stock, damaging Plaintiffs. This Action seeks to recoup those losses and the value that Plaintiffs

 unwittingly gave up when the Tender Offer was voted down by a duped majority of Perrigo

 shareholders.

 II.     JURISDICTION AND VENUE

         41.     The claims asserted herein arise under Sections 10(b), 14(e), and 20(a) of the

 Exchange Act, 15 U.S.C. §§ 78j(b), 78n(e), and 78t(a), and the rules and regulations

 promulgated thereunder, including SEC Rule 10b-5, 17 C.F.R. § 240.10b-5. This Court has

 jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§ 1331 and 1337 and

 Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         42.     Venue is proper in this District pursuant to Section 27 of the Exchange Act, 15

 U.S.C. § 78aa and 28 U.S.C. § 1391(b) because the Company conducts a substantial amount of

 business throughout the District, including maintaining offices and operations in Piscataway,

 New Jersey and Parsippany, New Jersey. Further, Papa resides in this District and maintains a

 residence in this District.

         43.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,

 Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

 including, but not limited to, the U.S. mails, interstate telephone communications, and facilities

 of the national securities markets.

 III.    PARTIES AND RELEVANT NON-PARTIES

         A.      Plaintiffs

         44.     The Nationwide Funds each purchased Perrigo common stock on domestic

 exchanges in the United States during the Relevant Period, held Perrigo common stock during

 the Relevant Period, including at the time of the Tender Offer.




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         45.    The Nationwide Funds suffered substantial losses as a result of Defendants’

 conduct set forth herein.

                1.      The NMF Funds

         46.    NMF is a Delaware statutory trust formed under the Delaware Statutory Trust

 Act, Del. Code Ann. tit. 12, §§ 3801 et seq., and a registered open-end investment company

 under the Investment Company Act of 1940 (the “1940 Act”), 15 U.S.C. §§ 80a-1 et seq.

         47.    In accordance with its Second Amended and Restated Declaration of Trust and

 the provisions of the Delaware Statutory Trust Act, NMF created several separate series of

 shares (with each series referred to as a “fund”).

         48.    The assets and liabilities of each NMF fund are segregated from the assets and

 liabilities of the other NMF funds, with each series being the equivalent of a separate mutual

 fund. Nonetheless, the funds do not have legal personality separate from NMF.

         49.    Each NMF fund has its own investment objectives and investment policies and

 operates as a diversified investment company under the 1940 Act.

         50.    During the Relevant Period, Nationwide Fund Advisors (“NFA”) was retained as

 the investment advisor to NMF, and during the Relevant Period NFA retained one or more

 subadvisor(s) to manage the investments of each fund in accordance with the fund’s individual

 objectives and policies, entering into one or more separate subadvisory agreement(s) for each

 fund.

         51.    Nationwide Geneva Mid Cap Growth Fund is a series of NMF.

         52.    Nationwide Geneva Mid Cap Growth Fund purchased Perrigo common stock on

 domestic exchanges in the United States during the Relevant Period and held Perrigo common

 stock during the Relevant Period, including at the time of the Tender Offer.




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        53.     Nationwide Geneva Mid Cap Growth Fund suffered substantial losses as a result

 of Defendants’ conduct set forth herein.

        54.     Nationwide S&P 500 Index Fund is a series of NMF.

        55.     Nationwide S&P 500 Index Fund purchased Perrigo common stock on domestic

 exchanges in the United States during the Relevant Period and held Perrigo common stock

 during the Relevant Period, including at the time of the Tender Offer.

        56.     Nationwide S&P 500 Index Fund suffered substantial losses as a result of

 Defendants’ conduct set forth herein.

                2.      The NVIT Funds

        57.     NVIT is a Delaware statutory trust formed under the Delaware Statutory Trust

 Act and a registered open-end investment company under the 1940 Act.

        58.     In accordance with its Second Amended and Restated Declaration of Trust and

 the provisions of the Delaware Statutory Trust Act, NVIT created several separate series of

 shares (with each series referred to as a “fund”).

        59.     The assets and liabilities of each NVIT fund are segregated from the assets and

 liabilities of the other NVIT funds, with each series being the equivalent of a separate mutual

 fund. Nonetheless, the funds do not have legal personality separate from NVIT.

        60.     Each NVIT fund has its own investment objectives and investment policies and

 operates as a diversified investment company under the 1940 Act.

        61.     During the Relevant Period, NFA was retained as the investment advisor to

 NVIT, and during the Relevant Period NFA retained one or more subadvisor(s) to manage the

 investments of each fund in accordance with the fund’s individual objectives and policies,

 entering into one or more separate subadvisory agreement(s) for each fund.




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        62.     NVIT Dynamic U.S. Growth Fund is a series of NVIT. Prior to July 13, 2018,

 NVIT Dynamic U.S. Growth Fund was named NVIT Large Cap Growth Fund. During the

 Relevant Period, NVIT Growth Fund (previously named American Century NVIT Growth

 Fund), another series of NVIT, merged into NVIT Large Cap Growth Fund.           For ease of

 reference, NVIT Growth Fund, NVIT Large Cap Growth Fund, and NVIT Dynamic U.S. Growth

 Fund are referred to collectively as “NVIT Dynamic U.S. Growth Fund” in this Complaint.

        63.     NVIT Dynamic U.S. Growth Fund purchased Perrigo common stock on domestic

 exchanges in the United States during the Relevant Period and held Perrigo common stock

 during the Relevant Period, including at the time of the Tender Offer.

        64.     NVIT Dynamic U.S. Growth Fund suffered substantial losses as a result of

 Defendants’ conduct set forth herein.

        65.     NVIT Multi-Manager Large Cap Value Fund is a series of NVIT.

        66.     NVIT Multi-Manager Large Cap Value Fund purchased Perrigo common stock on

 domestic exchanges in the United States during the Relevant Period and held Perrigo common

 stock during the Relevant Period, including at the time of the Tender Offer.

        67.     NVIT Multi-Manager Large Cap Value Fund suffered substantial losses as a

 result of Defendants’ conduct set forth herein.

        68.     NVIT S&P 500 Index Fund is a series of NVIT.

        69.     NVIT S&P 500 Index Fund purchased Perrigo common stock on domestic

 exchanges in the United States during the Relevant Period and held Perrigo common stock

 during the Relevant Period, including at the time of the Tender Offer.

        70.     NVIT S&P 500 Index Fund suffered substantial losses as a result of Defendants’

 conduct set forth herein.




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        71.     Templeton NVIT International Value Fund is a series of NVIT.

        72.     Templeton NVIT International Value Fund purchased Perrigo common stock on

 domestic exchanges in the United States during the Relevant Period and held Perrigo common

 stock during the Relevant Period, including at the time of the Tender Offer.

        73.     Templeton NVIT International Value Fund suffered substantial losses as a result

 of Defendants’ conduct set forth herein.

        B.      Defendants

        74.     Defendant Perrigo is a manufacturer of specialty, generic, and OTC

 pharmaceutical and healthcare products. The Company was founded in 1887 as a packager of

 home remedies and has since grown to become the world’s largest manufacturer of OTC

 healthcare products and supplier of infant formulas for the store brand markets. The Company’s

 market capitalization reached a high of $29 billion on May 22, 2015. Perrigo is incorporated

 under the laws of Ireland and maintains its corporate headquarters in Ireland. However, Perrigo

 conducts significant operations in the U.S., including in New Jersey, where the Company:

 (i) maintains a 14,000 square foot Consumer Health Care R&D Center in the township of

 Piscataway, New Jersey, which Perrigo describes as a “strategic location in the hub of New

 Jersey’s pharmaceutical industry” that “gives Perrigo a footprint in the northeast”; and

 (ii) operates a research and development facility in the township of Parsippany, New Jersey.

 Perrigo’s common stock trades on the NYSE under the ticker “PRGO” and did so throughout the

 period between Defendants’ initial false or misleading statements and the full revelation of the

 fraud (i.e., April 21, 2015 through May 3, 2017).

        75.     Defendant Papa was, from 2006 until his resignation on April 24, 2016, the CEO

 of Perrigo and served as the Chairman of Perrigo’s Board. During the Relevant Period up

 through April 2016, Papa was responsible for the day-to-day management and controlled and


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 directed the business and activities of Perrigo, including certifying Perrigo’s periodic financial

 reports filed with the SEC, and speaking on a regular basis with investors and securities analysts

 regarding the Company. Papa currently resides in New Jersey and maintained a residence in

 New Jersey throughout the Relevant Period.

        76.     Defendant Brown was, from 2006 through February 2017, the CFO of Perrigo,

 and, prior to 2006, served as the Company’s corporate controller dating back to 2004. During

 the Relevant Period, Brown was responsible for the day-to-day management and controlled and

 directed the business and activities of Perrigo, including certifying Perrigo’s periodic financial

 reports filed with the SEC, and speaking on a regular basis with investors and securities analysts

 regarding the Company.

        C.      Relevant Non-Parties

        77.     Christine Ray (formerly known as Christine Kincaid) (“Ray”) worked for Perrigo

 from July 2015 through late-2015 as the acting CISO based out of Perrigo’s U.S. headquarters in

 Allegan, Michigan. In her role as CISO, Ray reported to Perrigo’s CIO, Farrington, and was

 responsible for monitoring governance, risk, and information security compliance. Ray worked

 closely with information security and application development teams on, among other things,

 Omega information migration, security, and compliance. Ray was responsible for IT integration

 projects in Europe, including Omega.

        78.     CW-12 worked for Perrigo from late 2014 through mid-2015. During his tenure,

 CW-1 was CISO based primarily out of Perrigo’s U.S. headquarters in Allegan, Michigan and

 Perrigo’s offices in Belgium.    In CW-1’s role as CISO, CW-1 reported to Perrigo’s CIO,

 Farrington.   CW-1 was responsible for analyzing databases and data handling, performing

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  Confidential witnesses (“CWs”) will be identified herein by number (CW-1, CW-2, etc.). All
 CWs will be described in the masculine to protect their identities.


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 vulnerability scans, coordinating and discussing data handling with business line leaders, and

 executing risk and threat assessments, and was involved in the Omega integration.

         79.   CW-2 worked for Perrigo in various positions from late 2008 through the end of

 2016.    From mid- to late 2016, CW-2 was an Associate Director of Business Process

 Architecture based out of Perrigo’s U.S. headquarters in Allegan, Michigan. In this role, CW-2

 worked with Perrigo’s IT personnel throughout the Company and received information from

 Perrigo’s IT and other personnel involved in supporting Omega’s integration to Perrigo’s system.

         80.   CW-3 worked for Omega from mid-2014 until it was acquired by Perrigo in

 March 2015, after which CW-3 worked for Perrigo until the fall of 2016. During his tenure with

 the Company, CW-3 was a senior executive with sales and forecasting responsibilities for

 Perrigo based primarily out of the Company’s offices in Belgium. In this role, CW-3 reported to

 Omega’s Belgium General Manager, Davy De Vlieger, and was responsible for all commercial

 activities at Omega’s Belgium location.

         81.   CW-4 worked for Perrigo in various positions for more than two years before the

 Relevant Period through the fall of 2016.     From 2015 through early 2016, CW-4 was an

 Enterprise Reporting Manager based out of Perrigo’s U.S. headquarters in Allegan, Michigan.

 CW-4 was a member of the Enterprise Reporting Team that helped corporate reporting specific

 to manufacturing productivity.   CW-4’s group was responsible for Systems, Applications,

 Products (“SAP”) Reporting, and part of CW-4’s work involved retrieving data from the BCH

 segment.

         82.   CW-5 worked for Perrigo from mid-2011 through the end of 2016. From 2015

 through 2016, CW-5 was the SAP Platform Services Manager, working on the Enterprise

 Reporting Team based primarily out of Perrigo’s U.S. headquarters in Allegan, Michigan. In this




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 role, CW-5 reported to the Director of SAP Applications and was responsible for working on the

 SAP platform, business intelligence solutions, and data conversion with Advanced Business

 Application Programming.

        83.     CW-6 worked for Perrigo from August 2010 to mid-2016.          From late 2014

 through mid-2016, CW-6 was a Senior Business Analyst and reported to the Israel-based

 Director of SAP Applications. CW-6 was responsible for growing the E-Commerce Group and

 working to get the E-Commerce platform integrated into the SAP system. The E-Commerce

 Group reported up to senior management through CIO Farrington.

        84.     CW-7 worked for Omega from early-2014 until it was acquired by Perrigo in

 March 2015, after which CW-7 worked for Perrigo through early 2017. During the Relevant

 Period, CW-7 was an Account Manager, and later a Brand Manager, and was based primarily out

 of Omega’s U.K. headquarters in London, England. In this role, CW-7 reported up to Stuart

 Mills, who was Head of Sales.

        85.     CW-8 worked for Perrigo from approximately mid-2012 through early 2017.

 During the Relevant Period, CW-8 was a Scientific Advisor for Medical Affairs based primarily

 out of the Company’s Martin, Michigan location, which was considered part of Perrigo’s

 headquarters. In this role, CW-8 reported to Tony Fargasso, who in turn reported to Chief

 Medical Officer, Grainne Quinn. CW-8 was familiar with the generic pricing team headed up by

 John Wesolowski, Senior Vice President of Generic Rx, because he answered drug-related

 questions for the team. CW-8 also participated on conference calls during which questions

 related to pricing were discussed.

        86.     CW-9 worked for Perrigo from early 2011 through August 2015. During the

 Relevant Period, CW-9 was a Vice President in Perrigo’s Sales and Marketing unit based




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 primarily out of the Company’s offices in Atlanta, Georgia and Allegan, Michigan. In this role,

 CW-9 reported to Stephanie Gamble, the Director of Marketing, who in turn reported to Tom

 Cotter, the Vice President of OTC Marketing.

        87.    CW-10 worked for Perrigo from 2006 to 2016 in various roles. From 2006 to

 2014, CW-10 worked out of the Company’s U.S. headquarters in Allegan, Michigan as a

 Generics contract manager in the Company’s Rx segment. In this role, he interacted with

 wholesalers and retail chains and had reporting responsibility to Dawn Couchman, Vice

 President of Contract Administration for Generic Rx. In late 2014, CW-10 began working in the

 Company’s Branded Division.

        88.    CW-11 worked for Perrigo in various capacities from 2013 to early 2017,

 including two years—2015 to 2017—in the Rx segment. While working in the Rx segment,

 CW-11 reported to Jim Booydegraaff, a marketing director, who in turn reported to Wesolowski.

 IV.    SUBSTANTIVE ALLEGATIONS OF DEFENDANTS’ FRAUD

        A.     Perrigo’s Operations

        89.    Perrigo manufactures specialty, generic, and OTC pharmaceutical and healthcare

 products. From its creation in 1887 to 2013, Perrigo was primarily based in Allegan, Michigan.

 In or around 1997, Perrigo began expanding from the U.S. market to the international market. In

 2013, Perrigo purchased Elan for approximately $4.5 billion and reincorporated in Dublin,

 Ireland. While the Elan transaction made Perrigo an Irish corporation, it did not provide Perrigo

 with any meaningful operations outside the United States.

        90.    At the start of the Relevant Period, April 21, 2015, Perrigo was the world’s largest

 manufacturer of OTC healthcare products for the store brand market. Perrigo identifies itself as

 the provider of “Quality Affordable Healthcare Products” across a wide variety of products and

 categories.


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        91.     During the Relevant Period, the Company operated four primary reporting

 segments: (i) Consumer Healthcare, which focused primarily on the sale of OTC store brand

 products, including cough, cold, allergy, vitamin, and supplement products; (ii) BCH (i.e.,

 Branded Consumer Healthcare), which focused primarily on the sale of branded cough, cold,

 allergy, vitamin, and supplement products in Europe; (iii) Rx (i.e., Prescription Pharmaceuticals),

 which focused primarily on the sale of generic and specialty pharmaceutical prescription

 products in the U.S. and the United Kingdom; and (iv) Specialty Sciences. As discussed above,

 Perrigo created the BCH segment after completing the Omega acquisition in March 2015. The

 segment was comprised almost entirely of Omega’s pre-existing European business from March

 2015 through the end of the Relevant Period.

        B.      Perrigo Acquired Omega to Expand Its International Market Presence and
                then Touted Its Value to the Company’s Growth Strategy and Financial
                Prospects Through Synergies and Operational Efficiencies

        92.     In November 2014, after having been provided extensive open access to Omega’s

 operations during a due diligence period, Perrigo announced that it had entered into an

 agreement to acquire Omega for approximately $4.5 billion. The acquisition of Omega, then the

 fifth largest European OTC healthcare company, purportedly accelerated the Company’s

 expansion into the European market.          Headquartered in Belgium, Omega maintained a

 commercial presence in thirty-five countries as of November 2014. With annual revenues of

 approximately $1.6 billion as of September 30, 2014, and approximately 2,500 employees

 (including Omega’s salesforce and a lineup of nearly 2,000 products), Omega was larger and

 more complex than any other company that Perrigo had previously acquired and attempted to

 integrate. At the time, Omega owned numerous leading cough, cold, skincare, pain relief, weight

 management, and gastrointestinal treatment brands, focusing on name brand products

 (rather than store brand or unbranded products, like Perrigo).


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        93.     Upon announcing the agreement, Papa proclaimed that the “combination of these

 two great companies accelerates Perrigo’s international growth strategy, substantially diversifies

 our business streams and establishes a durable leadership position in the European O.T.C.

 marketplace.” According to Papa:

        We believe this strategic transaction will enhance shareholder value by further
        strengthening our industry-leading revenue and cash flow growth profile and by
        expanding market opportunities. Omega brings a leading OTC product portfolio,
        European capabilities, and a highly experienced management team to support
        Perrigo’s continued growth. . . . Our strong financial performance and operational
        structure have enabled the continued growth and globalization of our business
        model with Ireland as our gateway for this expansion. Together, our combined
        company will have an even larger product portfolio, broader geographic reach,
        and enhanced scale.

        94.     Analysts and market commentators were quick to accept the Company’s

 representations and lauded the unprecedented access to the European market that Omega would

 afford Perrigo, with many noting that the acquisition helped to offset an otherwise disappointing

 quarter for Perrigo. For example, William Blair & Company, L.L.C., reported:

        The transaction will enhance Perrigo’s position in OTC healthcare by bringing a
        broad portfolio of new products, as well as go-to-market capabilities and
        resources, in Europe. This in turn, provides a platform for co-distribution of each
        other’s products in various markets around the world and a foundation for
        additional bolt-on acquisitions. Omega provides access to the European OTC
        market, a large ($30 billion) but high-barrier-to-entry market; and, in total, 35
        countries globally.

        Once combined, Perrigo’s non-U.S. businesses will represent more than 40% of
        consolidate[d] sales, compared with a current run-rate of approximately 20%. And
        management anticipates revenue synergies by marketing product offerings from
        both company’s portfolios through shared U.S. and European commercial
        channels; and efficiencies are also expected, as scale and volume drive
        productivity across the combined company’s manufacturing base and supply
        chain.

        95.     Prior to the Omega acquisition, Papa had told the market that Perrigo had “many

 hundreds of products that [it] eventually could sell if [it] had the infrastructure,” but it “did not




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 have that infrastructure in Europe.” At that time, Perrigo’s business was approximately 80%

 driven by the U.S. market and 20% driven internationally.

        96.    Analysts from Morningstar—noting Perrigo’s “difficulty expanding its store-

 brand business outside of the U.S. where few large pharmacy and retail chains exist”—viewed

 the deal as “an incremental positive for the company’s narrow economic moat.” Morningstar

 further reported that the acquisition “gives Perrigo access to the branded international OTC

 market” and “boosts Perrigo’s diversification and economies of scale.” Jefferies LLC similarly

 reported that the Omega deal “makes abundant strategic sense” and provides “infrastructure that

 would have taken years to build organically.” Through the acquisition, Perrigo had increased its

 international business to approximately 45%, which was comprised primarily of Omega and its

 European network.

        97.    Prior to announcing the deal in November 2014, Perrigo had been given access to

 a confidential “Data Room” and open access to Omega’s “business, operations, assets, liabilities,

 legal, tax, commercial and accounting and financial condition,” including meetings with Omega

 management and the ability to submit and have answered written inquiries concerning Omega’s

 operations. See Purchase Agreement, Ex. 10.1 to Form 8-K filed on November 12, 2014. In or

 around February 2015, Papa, Brown, and other members of Perrigo’s leadership met in Norway

 with Omega’s executive team. CW-1 attended that meeting.

        98.    The Omega transaction closed on March 30, 2015. Shortly thereafter, Defendants

 proclaimed that the acquisition left the Company “better positioned than ever to continue a

 strong growth trajectory,” placing it in the top five global OTC companies by revenue.

 Defendants touted the “key benefits” Perrigo would derive from Omega, representing that

 Omega advanced the Company’s international growth strategy through its “established




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 commercial infrastructure in the high-barrier to entry European OTC marketplace,” which would

 purportedly afford Perrigo “critical mass in all key European countries.” Perrigo also directed

 investors’ attention to its now expanded product portfolio and enhanced scale and distribution

 network in Europe, highlighting the combination of “Perrigo’s supply chain and operational

 excellence with Omega’s OTC branding and regulatory expertise.”

        99.     To better align Perrigo’s organizational structure following the addition of

 Omega, the Company changed its reporting segments (discussed above), creating the BCH

 segment, which consisted largely of Omega.

        C.      Mylan Begins Its Takeover Attempt

        100.    On April 8, 2015, on the heels of the completion of the Omega acquisition, Mylan

 approached Perrigo’s Board, including Papa, then the Chairman of that Board, with an offer to

 purchase Perrigo for approximately $205 per share. At the time, that proposed price represented

 approximately a 25% premium to Perrigo’s stock price at the close of trading on April 7, 2015

 ($163.73).

        101.    Mylan was no stranger to Perrigo. Less than a year earlier, in or around May of

 2014, Perrigo executives, including Papa, engaged in preliminary discussions with Mylan about

 potentially merging the two companies. Those preliminary discussions were not publicly and

 fully disclosed by Perrigo until Mylan made its Offer. The previous discussions did not advance

 far, and the two companies went their separate ways shortly thereafter.

        102.    In the public offer letter addressed to Papa, Mylan’s CEO touted the Offer as “the

 culmination of a number of prior discussions between Mylan and Perrigo about the compelling

 strategic and financial logic of this combination,” with Mylan representing that the combination

 would “generate enhanced growth and deliver significant immediate and long-term value and

 benefits for shareholders and the other stakeholders of both companies.” That same day, Perrigo


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 confirmed receipt of the “unsolicited, indicative proposal” and stated that Perrigo’s Board would

 meet to consider Mylan’s Offer.

        103.    On April 8, 2015, in response to the news of Mylan’s Offer, numerous analysts

 and market commentators extolled the potential of a Perrigo-Mylan combination:

        a)      During CNBC’s “Mad Money,” host Jim Cramer told investors “[t]hese two
                would be a match made in heaven.”

        b)      Bank of America Merrill Lynch reported “[f]rom a business combination
                perspective, this make sense to us as it brings together two companies with
                arguably best-in-class operations in generic (MYL) [Mylan] and OTC (PRGO)
                spaces. Therefore, a combined entity, which could result in a best-of-breed,
                highly diversified generic Rx/OTC company, and have meaningful potential for
                operational synergies, is conceptually appealing in our view.” MYL not waiting
                for an Rx to buy OTC, April 8, 2015.

        c)      Barclays reported “[w]e believe a combination between MYL and PRGO would
                offer a unique value proposition to their customers based on PRGO’s unique
                ‘front of the store’ OTC business combined with MYL’s ‘behind the pharmacists
                counter’ generics franchise.” U.S. Specialty Pharmaceuticals Center of the Storm,
                April 8, 2015.

        d)      Deutsche Bank reported “[w]e believe MYL’s Chairman’s letter to PRGO makes
                a compelling case for the business combination.” Deal Could Make a Ton of
                Sense, April 8, 2015.

        e)      Stifel reported “[f]ollowing 1-2 years of underperformance (at PRGO), we think
                shareholders might appreciate this opportunity.” MYL Bid puts PRGO in Play,
                April 8, 2015.

        D.      Defendants Misled Investors Concerning the Omega Acquisition and the
                Company’s Growth Prospects while Rejecting Mylan’s Multiple Offers

        104.    Because Perrigo is an Irish company, Mylan’s April 8, 2015 proposal set the

 clock running on an offer period under the Irish Takeover Rules, which govern both the bid and

 the target’s defense against the bid in a takeover.

        105.    On April 21, 2015, Perrigo announced to investors that its Board of Directors had

 “unanimously rejected” Mylan’s Offer, representing that the Offer “substantially undervalues

 the Company and its future growth prospects[,] [] is not in the best interests of Perrigo’s


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 shareholders,” and “does not take into account the full benefits of the Omega Pharma

 acquisition.”

        106.     Defendants focused investors on the unprecedented access Omega purportedly

 provided Perrigo in the European market, representing that Omega “provide[d] a significantly

 enhanced international platform for additional growth,” including “access to over 300 million

 consumers in Europe along with a springboard for international expansion through its established

 European commercial regulatory and distribution platforms.” “Simply put,” Defendants told

 investors, in combination with Perrigo’s existing business and product lines, “Omega allows

 [Perrigo] to pursue paths that were never available to us in the past.”

        107.     Given these representations, analysts pressed Papa for information concerning

 Omega and the status of Perrigo’s integration efforts. In response, Papa assured investors that:

 (i) the Company was “very pleased with our initial integration projects with Omega”; (ii) “a lot

 of good activities [were] happening with the integration team”; and (iii) the Omega acquisition

 left the Company “better positioned than ever to continue a strong growth trajectory.”

        108.     That same day, Papa was also asked to comment on pricing in the generic drug

 industry and whether changes to the industry would impact Perrigo’s business. In response, Papa

 stated that Perrigo intended to “keep pricing flat to up slightly” despite industry trends. Papa

 would repeat this assurance concerning Perrigo’s supposed immunity to pricing pressures

 throughout 2015 and the beginning of 2016, despite lacking a reasonable basis to do so, as

 alleged in Sections IV.E & VI.B, infra.

        109.     On April 24, 2015, Mylan revised its offer, announcing a formal offer

 (the “Second Offer”) to Perrigo’s Board to purchase Perrigo in exchange for $60.00 per share in

 cash and 2.2 Mylan ordinary shares per share—reflecting an economic value of approximately




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 $181.67 per Perrigo share. The Second Offer, however, was swiftly rejected by Perrigo, who

 “strongly advised [shareholders] to take no action in relation to the [Second] Offer,” and stated

 that the Offer “significantly undervalue[s] the Company and its future growth prospects and was

 not in the best interests of Perrigo’s shareholders.”

        110.    Undeterred, on April 29, 2015, Mylan announced a further revised offer (the

 “Third Offer”) to purchase Perrigo. This time, Mylan offered to purchase the company in

 exchange for $75.00 per share in cash and 2.3 Mylan ordinary shares per share—reflecting a

 value of approximately $202.20 per Perrigo share. Hours later, Perrigo rejected the Third Offer,

 claiming again that it still “significantly undervalue[s] the Company and its future growth

 prospects and was not in the best interests of Perrigo’s shareholders.”

                1.      Unbeknownst to Investors, Omega Was Nowhere Near the Point of
                        Contributing to Perrigo’s Bottom Line or Growth

        111.    Despite touting Omega’s value to Perrigo’s bottom line through synergies and

 operational efficiencies as the primary basis for rejecting Mylan’s multiple offers, behind the

 scenes, Defendants knew or recklessly disregarded that the acquisition was a calamity plagued

 by one issue after another, making the realization of Omega’s potential value impossible.

        112.    While Defendants boasted that the Company had “delivered on our Omega

 integration plan” and “achieved great operational efficiencies,” according to Ray, CW-1, CW-4,

 and CW-5—each of whom had direct involvement with Omega’s integration—Perrigo was

 unable to migrate Omega’s financial data and performance information to Perrigo’s SAP system,

 which is used to enable companies to run their business processes, including accounting, sales,

 production, and accounts payable. This critical issue stemmed from the incompatibility between

 Perrigo’s and Omega’s data management systems, which was or should have been obvious to

 Defendants during their due diligence period prior to acquiring Omega. During the Relevant



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 Period, Omega operated on as many as thirty-five discrete data systems, the overwhelming

 majority (if not all) of which were incompatible with SAP.

        113.   CW-1, who served as the Company’s CISO until July 2015, further explained that

 connectivity between Omega’s own systems was a significant issue. While a handful of the

 Omega franchises were connected by a virtual private network (“VPN”), which extends a private

 network across a public network and enabled the sharing of data with Omega’s German data

 center, most franchises were not connected at all. CW-2, the former Associate Director from

 mid- to late-2016, confirmed that following the acquisition Omega franchises were not working

 in unison with one another, much less working with Perrigo, thus impeding the Company’s

 integration of Omega.

        114.   Ray, who served as the Company’s CISO from July 2015 through November

 2015, stated that when she joined Perrigo, integration between Perrigo and Omega was at a

 complete standstill. Immediately upon taking over as CISO in July 2015, Ray was instructed by

 CIO Farrington to reach out to Omega’s heads of IT to find out why integration was not moving

 forward. Ray recalled that during this period of time, Perrigo knew the Company needed to

 establish a centralized SAP system in Germany, where Omega’s central data center was to be

 maintained. According to Ray, this centralized SAP system would, in theory, finally allow

 Perrigo to consolidate all Omega data in one location, but that this critical step had not been

 implemented as of late 2015 when Ray left the Company.

        115.   Ray further explained that, in or around August 2015, Mary Donovan, who had

 been hired to assist in the Omega integration efforts, came to the U.S. to meet with Perrigo’s IT

 development team and discuss existing integration roadblocks and challenges. These roadblocks

 and challenges included the results of an external scan of the Omega network and PEN Test




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 (Penetration Test) that had been performed by CW-1 prior to July 2015, and the SAP

 development team needs.

        116.    Ray and numerous CWs, including CW-1, CW-5, and CW-6, each corroborated

 and confirmed that only a “bare minimum” amount—or, in many cases, none—of Omega’s data

 was migrated to Perrigo’s systems during 2015 and 2016, much less at this early stage when

 Defendants were making false representations regarding integration efforts. CW-5, for example,

 recalled that Omega data was not fully migrated into the Perrigo data warehouse through the

 time of his departure from the Company in late 2016. According to CW-7, the Brand Manager

 of Omega UK between March 2014 and February 2017, it was not until the autumn of 2016,

 after the ultimate revelations about Omega were made by the Company, that Perrigo even began

 the process of integrating Omega UK into the Company.

        117.    Because Perrigo was not able to migrate Omega’s financial information or operate

 Omega franchises through its automated SAP system, Ray and CW-1 explained that Perrigo had

 no real-time access to critical Omega financial data, including data relating to: (i) sales, including

 orders, returns, and discounts; (ii) purchases, including orders, returns, and damaged goods

 reports; (iii) inventory, including sub-ledgers, damaged goods, and obsolete goods; and

 (iv) accounting, including sub-ledgers for accounts receivable and payable. Perrigo’s dearth of

 vital information could (and did) impact supply chains, distribution channels, inventory

 management, and other decision making, according to Ray and CW-1.

        118.    Absent a central, functioning, automated data entry and management system, Ray

 and CW-1 explained that the Omega franchises were thereby forced to manually input this

 critical information concerning Omega’s financial performance into Excel spreadsheets or other

 non-automated files or convey this information to Perrigo orally. This process was riddled with




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 errors and led to a number of internal disputes at Perrigo over the accuracy of the data.

 According to these witnesses, substantive Omega financial data and performance information

 was available only by manual request made by Perrigo’s accountants to Omega’s franchises,

 which could take weeks to complete depending on the complexity of the data sought.

        119.   Ray explained that any questions posed by Perrigo to Omega concerning its

 financial data or performance required the respective Omega location to manually check all data

 relevant to the inquiry and report back to Perrigo, which “definitely had an impact” on Perrigo’s

 operations. As one example, Ray explained that any time Perrigo needed to create a report

 consolidating any financial information from Perrigo’s and Omega’s respective operations,

 particularly for senior leadership, the Company had to manually collect reports from each of the

 thirty-five franchises and merge them together. This process could take at least three weeks for

 each such report, and Defendants knew or recklessly disregarded that it was highly susceptible to

 error and prevented Perrigo’s management from having a true picture of Omega’s performance.

        120.   According to both Ray and CW-1, the fact that Omega’s financial data was non-

 automated caused a lack of confidence in the data because Perrigo was forced to rely on

 representations made by Omega without having access to the underlying data in order to verify

 its accuracy. As one example, CW-1 explained that in or around July 2015, CIO Farrington

 discussed in a weekly IT leadership meeting how actual hard data ultimately obtained from

 Omega differed from the verbal data previously provided by Omega. Farrington specifically

 discussed the problem of Omega’s invalid and inaccurate data. CW-1 recalled that Farrington

 had told him that Coucke had contentious calls with the rest of Perrigo leadership regarding the

 accuracy of the Omega data.




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            121.   As another example, Ray recalled that until at least the end of November 2015,

 Perrigo had no visibility into trends in the Omega sales or supply chain and lacked an

 understanding of the causes of variances in projected sales or expenses because the Company

 had no access to the underlying detail. CW-1 similarly concluded that Perrigo’s failure to

 migrate Omega’s data from across its numerous business units was highly problematic in that it

 adversely impacted Perrigo’s visibility into Omega’s financial data and performance and

 crippled Perrigo’s ability to understand Omega’s financial performance, projections, and overall

 results.

            122.   Further compounding Perrigo’s undisclosed issues with Omega, according to Ray,

 Perrigo lacked an understanding of applicable laws and regulations governing its operations in

 Europe. For one, international and local-country data and personal privacy laws preclude taking

 certain data outside the host-country borders, including within the EU, Germany, and Belgium,

 among others. These laws include the Data Privacy Act, the German Privacy Act and the

 Belgium Privacy Act. This, in turn, prevented the Company from removing certain financial

 data from Omega’s various franchises and migrating it to Perrigo’s central system. Similarly,

 CW-3—who was responsible for all commercial activities at Omega’s Belgium franchise

 following the acquisition—explained that Omega operated under International Financial

 Reporting Standards (“IFRS”), while Perrigo operated under GAAP, which made migration of

 financial reporting information extremely challenging.      This was particularly true because

 Perrigo’s financial reporting systems operated on a weekly system (i.e., results were tabulated by

 week), whereas Omega tabulated results by the month.

            123.   Far from the “very simple” synergy of existing networks that Papa pitched to

 investors at a conference on May 6, 2015, Defendants ignored, and were substantially




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 disadvantaged by, the dynamics of the European market in which Omega operated. Prior to its

 acquisition in March 2015, Omega operated primarily as a supply channel for OTC drugs,

 supplying approximately 2,000 such products. Following its acquisition, however, Omega was

 transitioned to serve as a sales channel, with Perrigo taking over the role of the supplier.

 Replacing Omega’s EU suppliers with Perrigo’s U.S.-based suppliers, however, proved to be

 problematic and cut into Perrigo’s margins.

        124.    More specifically, Ray explained that because OTC drug prices are set and

 governed by the European country of sale or the EU, price flexibility and the ability to compete

 in Europe is limited. Much of the EU pharmaceutical business is contracted through local

 governments who wish to do business with in-country companies first and European suppliers

 second. Ray estimated that outside suppliers, disadvantaged in the pecking order, must price

 their products 5% to 10% below in-country suppliers to be competitive. Given that Perrigo

 lacked a European manufacturing facility, such pricing squeezed margins, particularly when

 factoring in shipping, tariffs, and other costs necessary to bring products to market. This issue

 was exacerbated by the fact that host-country government contracts usually last for several years.

 Moreover, jettisoning Omega’s EU-based suppliers in favor of Perrigo’s U.S.-based suppliers

 changed the terms of service for numerous existing Omega service contracts, which, according to

 Ray, could cause serious interference with Omega’s existing customer relationships.

        125.    Given Perrigo’s outsider status, as Ray explained, Perrigo was forced to cut into

 its margins (i.e., reduce prices below those offered by in-country suppliers) just to compete, as it

 was not as attractive to European government customers as an in-country supplier, or even an

 outside-country supplier with a larger EU presence. None of these pricing problems in the




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 European market, all of which negatively impacted Perrigo’s ability to sell its products in

 Europe, were disclosed by the Company before the ultimate impairments on Omega were taken.

                2.     Defendants Were Fully Informed of, and Recklessly Disregarded, the
                       Myriad, Debilitating Issues that Were Plaguing Omega

        126.    According to multiple witnesses, from the outset of the Omega acquisition, the

 systems and financial integration, data migration, and pricing issues concerning Omega were

 known to Perrigo’s senior management, including the Individual Defendants, but were recklessly

 disregarded because senior management was preoccupied with defending against Mylan’s

 takeover attempt.

        127.    During a June 2, 2015 call with investors, Papa identified Farrington as the

 “specific person that I [Papa] had designated in my Company who heads up all my integrations.”

 Papa added, “I said, Tom, you need to help us successfully integrate Omega. That’s your role.

 Make sure it happens. And that’s your focus.” As a result, CW-1 stated that Farrington held

 weekly or bi-weekly meetings with senior members of Perrigo’s IT leadership team, which

 included: (i) Farrington; (ii) Brian Marr, Perrigo’s Director of Infrastructure, who reported

 primarily to Farrington; (iii) Paula Makowski, Farrington’s Chief of Staff; (iv) Mary Sheahan,

 who assisted in Perrigo’s integration efforts and was responsible for communicating with Omega

 and ensuring their concerns in the integration process were heard and addressed; (v) Sven

 Deneubourg, the Corporate IT professional for Omega (housed in Omega’s Belgium

 headquarters); (vi) Scott McKeever, Perrigo’s Vice President of Global Applications Service

 Delivery; and (vii) Brona Brillan, Perrigo’s Vice President of Business Process Architecture.

        128.    At these IT leadership meetings, the group discussed, among other things:

 (i) issues Perrigo was having in obtaining accurate oral data and timely hard copy data from

 Omega given the non-automated nature of Omega’s financial reporting and how to validate and



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 determine the accuracy of data received from Omega; (ii) Omega integration efforts;

 (iii) roadblocks concerning the migration of Omega’s data, including security risks or data

 compliance issues arising from the migration; (iv) the dynamics of the European market in which

 Omega operated as they pertained to Perrigo’s inability to competitively price products and

 achieve favorable margins; and (v) the aggressive growth targets Perrigo was setting for Omega,

 including pushback from Omega executives and personnel (discussed in § IV.D.3, infra).

        129.    According to CW-1, Farrington made it clear that he met and conversed regularly

 with Papa, Brown, and Coucke, as well as other Board members and senior members of Papa’s

 team. As one example, CW1 recalled that Farrington represented to IT leadership that he was in

 daily contact with Papa. In CW-1’s words, “if not on speed dial with each other, [they were]

 pretty darn close.”

        130.    Ray also stated that Perrigo leadership was told by Omega personnel that full

 migration of Omega data from each country location could not be completed based on the

 incompatible operating systems and applicable EU regulations, but that Perrigo continued to

 ignore the negative impact of the issue. Ray met, spoke on conference calls, or emailed with

 senior level personnel at both Perrigo and Omega at least monthly, and sometimes weekly, to

 discuss compliance and regulation problems related to migrating Omega’s data from Germany to

 the U.S. These personnel included: (i) Farrington; (ii) Marr; (iii) Makowski; (iv) Donovan; (v)

 Deneubourg; and (vi) Jill Gilbert, SAP System Architect, who also reported to Farrington.

        131.    Ray stated that the Omega integration team had weekly reporting responsibilities

 to CIO Farrington. To this end, Makowski, Farrington’s Chief of Staff, would send a weekly

 email requesting a status report. Ray would respond to both Farrington and Makowski providing

 updates on her conversations with Deneubourg and Donovan and the aforementioned integration




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 calls and meetings. Often times, Ray would have no information to report because Deneubourg

 was out of the office from July 2015 through August 2015 (returning part time in September

 2015 with a broken leg), such that integration efforts “came to a standstill.”

         132.    Ray explained that even prior to his injury, Deneubourg was overwhelmed by

 trying to plug the numerous holes from the high priority PEN Testing relating to Omega’s

 systems, in addition to handling the day-to-day troubleshooting of Omega (i.e., providing regular

 and routine tech support to and troubleshooting for Omega employees). Ray added that because

 of the sheer number of Omega franchises Deneubourg supported, he could not possibly get all

 the work done. As a result, local IT issues were taking precedence over the Omega/Perrigo

 integration. Queried if Deneubourg was “ridiculously understaffed,” Ray responded, “yes.”

         133.    Ray explained that during meetings and calls that took place during her tenure,

 Farrington confirmed that he had reported the Omega data migration issues to Papa and sought

 assistance at the highest levels—from Papa and Perrigo’s Board—to remedy those issues. As

 one example, Ray recalled that Farrington told Papa during the summer of 2015 that the

 migration had not occurred, that the project was stalled, and that Deneubourg was injured. As

 another example, Farrington mentioned to Ray and other members of Perrigo’s integration team

 during at least two or three meetings leading up to the August 2015 Perrigo Board meeting, that

 he spoke with Papa about dedicating funds to hire an assistant for Deneubourg. Ray and the

 integration team even put together a “CapEx forecast” and “Request for Hire,” detailing the need

 for the hire as it pertained to the stalled integration project.

         134.    The Board, led by Papa, not only denied the request in August 2015, but again in

 October 2015, when it deferred consideration until January 2016. Farrington told the integration

 team that he attempted (without success) to make the case for the position several times with




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 Papa during the August 2015 through November 2015 timeframe. Ray recalled Farrington

 instructing the integration team to “do what you can to move it forward.” CW-7 similarly

 recalled that Perrigo had taken its “eyes off the ball” during Mylan’s takeover bid. CW-7 spoke

 specifically about the restructuring and integration of Omega UK into Perrigo, which CW-7

 stated was put on hold during the Mylan bid as Omega was waiting on decisions from Perrigo as

 to how to proceed.

        135.    Ray explained that several Omega senior members of sales leadership felt their

 concerns regarding the Omega data migration issues were being ignored during meetings with

 Perrigo executives, including Papa and Perrigo Board members. According to Ray, during July

 and August 2015, Omega’s senior-most executives made several attempts to report their

 concerns to Papa and Brown, both of whom refused to engage in additional discussions. Ray

 recalled that Omega leadership felt that Perrigo, preoccupied with the Mylan takeover bid,

 disregarded or minimized the negative impact of the debilitating migration issues. Indeed,

 Omega’s head of IT, Deneubourg, specifically told Ray that Coucke had instructed him in mid-

 2015 to put integration to the side.

        136.    Based on conversations that Ray had with Farrington and those that took place

 during integration meetings and conference calls, Ray understood that Brown met with

 Farrington at least weekly and was aware of the integration issues and failures. Ray also recalled

 that in August 2015, Donovan came to the U.S. and briefed everyone on the overall integration

 challenges with respect to Omega, including technology and security issues. Ray, CW-1, CW-5,

 and CW-6 all corroborated and confirmed that, in stark contrast to Defendants’ public

 statements, by the summer of 2016—a year and a half following the acquisition—only a “bare




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 minimum” of Omega’s financial data and performance information had been migrated to

 Perrigo’s systems.

        137.    CW-4 recalled that shortly after one of the Company’s public filings in late 2015

 or early 2016, Perrigo was criticized by an analyst for not knowing more about Omega’s poor

 profitability. According to CW-4, “corporate didn’t have access to the Omega numbers they

 wanted” at that time given the faulty integration process. CW-4 stated that very late in the

 quarter-end or year-end financial consolidation process, Perrigo’s finance department identified

 shortfalls in Omega’s financial results, which were largely unknown by finance leadership until

 that late date. CW-4 attributed the late identification to the deficient data migration process.

        138.    Perrigo also was late to acknowledge the pricing concerns voiced by Omega and

 knew or recklessly disregarded the extent to which Perrigo would have to discount products to

 make them competitive in the EU. Ray stated that Omega executives and sales personnel

 explained the effect of the pricing challenges caused by EU regulations to Perrigo’s U.S.

 executive management, including Papa, senior management in Ireland, and Board members in

 the U.S. According to Ray, the Omega sales team felt that executive management and the Board

 ignored or minimized their warnings because they were more concerned at the time with fending

 off the Mylan takeover. Frustration boiled over to the point where some Omega salespeople

 stopped attending meetings with Perrigo’s executive management. Ray’s impression, based on

 the calls and meetings she attended, was that the frustration applied to sales challenges at all

 Omega locations.

        139.    Given the magnitude and duration of these problems with Omega during the

 Relevant Period, Perrigo was nowhere close to being in a position to benefit from the Omega

 acquisition. Despite having knowledge of these material problems with the Omega integration,




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 Defendants continued to point to Omega’s value as the primary basis for rejecting Mylan’s

 multiple offers in communications to investors.

                3.      Defendants Imposed Unrealistic Financial Targets on Omega, which
                        They Knew or Should Have Known Could Not Be Achieved

        140.    Given the myriad, debilitating issues hampering Omega which prevented

 Defendants from getting Omega off the ground, let alone capitalizing on synergies, Defendants

 knew or recklessly disregarded that Omega drastically underperformed throughout the Relevant

 Period. According to CW-1, “[Perrigo] overestimated what they had” with respect to Omega.

        141.    CW-1 explained that Perrigo was very aggressive as to demanding future sales

 and margins for Omega in their budgeting process. To this end, CW-1 recalled hearing of the

 aggressive growth targets and the pushback from Omega through anecdotes provided by

 Farrington, Sheahan, and Deneubourg. One of these accounts is that during one of the weekly

 meetings, Farrington told IT leadership that Perrigo wanted to see revenue growth at Omega

 because Perrigo leadership needed to go back to the Board to justify the purchase of Omega.

        142.    To make matters worse, Defendants ignored the top-level information they did

 receive from Omega concerning Omega’s financial performance and pushed Omega for

 unrealistic deliverables. Through IT leadership meetings and conversations with Farrington,

 Sheahan, and Omega staff in Belgium, including Deneubourg, CW-1 learned that Omega

 personnel were constantly pushing back against the aggressive projections received from Perrigo.

 Because Perrigo “didn’t like the numbers” (actual and forecasted) that Perrigo received from

 Omega, the Company, in turn, challenged Omega on the accuracy of the financial data that

 Omega provided, failing entirely to address the issues raised by Omega. But as CW-1 stressed,

 “if you don’t have all the data, it’s hard to say what your financial numbers are.”




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        143.    As one example, CW-3 explained that in September or October of 2015, he

 prepared the 2016 Omega Belgium Forecast for Omega Belgium management and projected

 2016 Omega Belgium Earnings Before Interest and Taxes (“EBIT”) of approximately 9 million

 euros. After submission, however, he received from Omega Belgium Financial Director, Anja

 Imschoot, a budget created by Perrigo management, calling for EBIT of approximately 24

 million euros. According to CW-3, this forecast was “far from realistic,” as, among other things,

 it called for two to three times more EBIT than he had projected.

        144.    Thereafter, CW-3 met with Imschoot and the entire Omega Belgium management

 team regarding the budget. During the meeting, everyone agreed that the Perrigo forecast of 24

 million euros was unrealistic. CW-3 personally told internal auditors at Perrigo who were

 present at Omega Belgium that the forecast was both unrealistic and misguided, and he believes

 from conversations with Omega senior management that these conclusions were communicated

 to Perrigo’s executive team, including Papa, Brown, and Coucke.

        145.    During CW-2’s last six months at Perrigo (i.e., the second half of 2016), CW-2

 worked with Perrigo Quality, Research & Development, and Regulatory personnel, many of

 whom similarly informed CW-2 that Perrigo had unrealistic revenue expectations for Omega.

 Among other things, CW-2 was told that Perrigo overestimated its ability to take existing Perrigo

 products and sell them in Europe through the existing Omega business structure and was still

 struggling to do so even after the Company announced the Omega impairments. Like the issues

 arising from Perrigo’s lack of understanding of European privacy laws, Perrigo failed to

 acknowledge or appreciate the legal and regulatory challenges which made it extraordinarily

 difficult to sell Perrigo products in Europe.




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        146.    These material issues with Omega’s performance and ability to meet deliverables

 were known by senior management, including Brown. CW-8 worked directly with Omega and

 explained that he had learned during quarterly update meetings in the second half of 2015

 through early 2016 that Omega was struggling, failing to meet its performance goals, and was

 not at all what Perrigo had expected. CW-8 recalled that slides shown during these meetings

 made it clear that Omega was not performing and that these same slides were shown by Brown

 to the executive team.

        E.      Defendants Misled Investors about Perrigo’s Supposed Insulation from
                Pricing Pressures

        147.    While Perrigo’s newly-formed BCH segment houses the Company’s consumer-

 facing business (including Omega), Perrigo’s Rx segment is (and was throughout the Relevant

 Period) primarily focused on the sale of generic and specialty pharmaceutical prescription

 products in the U.S. Throughout 2015, Defendants represented that the prices for Perrigo’s

 prescription drugs in the U.S., including generics, were sustainable. In fact, Defendants—on no

 fewer than five occasions between April 2015 and January 2016—told investors that the

 Company intended to keep pricing in its Rx segment “flat to up slightly,” while Brown assured

 the market that Perrigo’s revenues were “insulated from the current pricing drama” in the

 market. In contrast to these representations, Defendants knew or recklessly disregarded the fact

 that the pricing levels for Perrigo’s generic drug products were unsustainable—a fact that the

 Company did not begin to reveal until April 2016.

                1.        The FDA’s Accelerated Approvals for New Generic Drugs Reaches
                          Record Levels in 2015

        148.    Generic drugs are a key component of the U.S. healthcare system, accounting for

 approximately 88% of all prescriptions written in the U.S. and over $74 billion in annual sales.

 Since the implementation of the Drug Price Competition and Patent Term Restoration Act


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 (known as the “Hatch-Waxman Act”) in 1984, generic drugs have resulted in tens of billions of

 dollars in annual savings for consumers and the overall healthcare system. The Hatch-Waxman

 Act initially was enacted to simplify the regulatory hurdles for bringing generic drugs to market

 and eliminated the prior requirement that generic drug companies file costly New Drug

 Applications (“NDAs”) to obtain FDA approval. The Hatch-Waxman Act is designed to get less

 expensive generic drugs into the hands of consumers expeditiously. Under the revised process,

 generic drug companies can instead file an ANDA. A generic drug company that submits an

 ANDA generally is not required to include clinical trial data to establish the safety and efficacy

 of the drug. Instead, the generic drug company can “piggyback” on the safety and efficacy data

 supplied by the original NDA holder for a given drug.

        149.    Generic drugs must meet certain bioequivalence and pharmaceutical equivalence

 standards set by the FDA to ensure that the generic drug is essentially an exact substitute for the

 given brand-name drug. To receive FDA approval through an ANDA, a generic drug must

 contain the same active ingredient, in the same dosage form, and in the same strength to be

 bioequivalent to the reference listed drug (i.e., the original brand-name version approved by the

 FDA through an NDA). The FDA uses a review process to ensure that brand-name and generic

 drugs that are rated “therapeutically equivalent” have the same clinical effect and safety profile.

 According to the FDA: “[P]roducts classified as therapeutically equivalent can be substituted

 with the full expectation that the substituted product will produce the same clinical effect and

 safety profile as the prescribed product.” The FDA assigns generics that are deemed to be

 therapeutically equivalent to their brand-name counterparts an “AB” rating. Drugs that are

 bioequivalent, but that do not share the same dosage form, are not AB-rated.




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        150.    The Hatch-Waxman Act also provides a 180-day exclusivity period for the first

 generic drug company that files an ANDA and simultaneously challenges the validity of the

 patent for a brand-name drug. This exclusivity period, which allows the generic drug company

 to market its generic version free from competition, is intended to spur generic drug companies

 to provide alternatives to brand-name drugs. When generic drugs enter the market, they are

 often priced well below the brand-name drugs and quickly take a large market share from the

 brand-name drug company. The first generic drug will generally be priced 15% to 20% below

 the brand-name drug. Once the exclusivity period ends and more generic versions enter the

 market, the price of the generic drugs continues to fall and the generics’ combined share of the

 market for that drug, relative to the brand-name equivalent, continues to grow. The price of the

 generic versions of a given drug can fall to as little as 10% to 20% of the original price for the

 brand-name drug. Eventually, the price of the generic drugs reaches an equilibrium price point,

 at or close to the manufacturers’ marginal production costs, resulting in significant savings for

 consumers, insurers, and employers.

        151.    This competition allows purchasers to buy the generic equivalent of a brand-name

 drug at substantially lower prices. As Stephen W. Schondelmeyer, Pharm.D., Ph.D., Professor of

 Pharmaceutical Care & Health Systems at the University of Minnesota, College of Pharmacy,

 explained in his November 20, 2014 testimony before the Senate Committee on Health,

 Education, Labor, and Pensions:

        The Congressional Budget Office has credited the Hatch-Waxman Act and,
        importantly, the process for easy and routine A-rated generic substitution by
        pharmacists with providing meaningful economic competition from generic
        drugs, and with achieving billions of dollars of savings for drug purchasers such
        as consumers and employers.

        152.    For all of these reasons, the overall cost of prescription drugs for the public is

 reduced by faster generic drug approval times. Generally speaking, the average time between


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 generic drug application submission and approval ranges from six months to several years,

 depending on the complexity of the drug production and the completeness of the application.

           153.   Given the influx of market participants as the generics market expanded, the FDA

 was left with a substantial backlog of ANDAs, which it largely attributed to a lack of resources.

 Spurred on by the severe scrutiny placed on the FDA’s approval process during the early years of

 the AIDS epidemic in the late 1980s and early 1990s, in 1992, Congress enacted the Prescription

 Drug User Fee Act (“PDUFA”), which provided the FDA with a supplemental revenue source to

 fund the approval process, namely, fees paid by drug companies seeking approval of their drugs.

 PDUFA was passed in order to shorten the length of time from a manufacturer’s submission of a

 new drug application to the FDA’s decision to approve or deny the application.

           154.   After undergoing various authorizations and reauthorizations since its inception,

 the PDUFA was once more reauthorized in July 2012, at a time when the FDA was saddled with

 nearly 3,000 backlogged ANDAs and 2,000 prior approval supplements (“PASs”).3 Around that

 same time, Congress passed the Generic Drug User Fee Act of 2012 (“GDUFA”), which

 authorized additional funds for the FDA’s review of generic drug applications, among other

 things.

           155.   With the additional funds provided by GDUFA came an FDA commitment to

 reach a variety of goals, including accelerating the review process and eliminating the mounting

 backlog of ANDAs. This backlog had led to unprecedented generic price inflation between 2013

 and late 2014—the result of highly concentrated markets in which a handful of competitors could




 3
   A PAS is a filing with the FDA to gain approval of a major change that has a substantial
 potential to have an adverse effect on the identity, strength, quality, purity, or potency of a drug
 product, as these factors may relate to the safety or effectiveness of the drug product.


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 hike prices.   One such commitment the FDA took was to review and act on 90% of all

 backlogged ANDAs, PASs, and amendments by the end of fiscal year 2017.

        156.    By early 2015, ANDAs were still subject to significant backlogs, limiting price

 competition for generics. In a keynote address at the Generic Pharmaceutical Association annual

 meeting in the spring of early 2015, the Director of the FDA’s Office of Generic Drugs, Kathleen

 Uhl, M.D., pledged accelerated action. The FDA delivered on Director Uhl’s promise, hiring

 nearly 1,200 new employees in 2015—more than the preceding two years combined.

        157.    As the graph below depicts, the number of full approvals and tentative approvals

 of generic drugs began to reach record heights in or around April 2015, at the start of the

 Relevant Period.




        158.    In addition, as shown below, between April 2015 and December 2015, the FDA

 approved the ANDAs for at least nine drugs that compete directly with drugs sold by Perrigo,

 according to the FDA’s Orange Book:




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                                                                                  APPROVAL
        PROPRIETARY NAME                        APPLICANT HOLDER
                                                                                    DATE
   1% CLINDAMYCIN PHOSPHATE                         VINTAGE
                                                                                    5/29/2015
        TOPICAL SOLUTION                        PHARMACEUTICALS
     0.25% DESOXIMETASONE
                                                      AKORN INC                     6/12/2015
          TOPICAL CREAM
       0.01% FLUOCINOLONE
                                                      AKORN INC                     6/25/2015
     ACETONIDE TOPICAL OIL
     0.25% DESOXIMETASONE                     ACTAVIS MID ATLANTIC
                                                                                     9/4/2015
          TOPICAL CREAM                               LLC
    400MG IBUPROFEN TABLET                     GRANULES INDIA LTD                   9/15/2015
    600MG IBUPROFEN TABLET                     GRANULES INDIA LTD                   9/15/2015
    800MG IBUPROFEN TABLET                     GRANULES INDIA LTD                   9/15/2015
    20MG FAMOTIDINE TABLET                   AUROBINDO PHARMA LTD                  12/22/2015
    40MG FAMOTIDINE TABLET                   AUROBINDO PHARMA LTD                  12/22/2015


        159.    On November 9, 2015, InsiderHealthPolicy reported in an article entitled, FDA,

 Pressed to Clear Generic Drug Backlog, Says It Is Ahead of Schedule, that the FDA had taken

 action on 82% of the backlog “as a rising chorus of voices, including Democratic presidential

 candidate Hillary Clinton, press the agency to clear the backlog to help counter rising

 pharmaceutical prices.”

        160.    All told, in 2015, more than 700 generic drugs were approved or tentatively

 approved by the FDA—the highest figure in the FDA’s history.

                2.     Defendants Knew or Recklessly Disregarded that the Pricing Levels
                       for Perrigo’s U.S. Generic Drugs Were Unsustainable

        161.    In light of the well-known and undeniable impact that increased competition and

 generic drug approvals has on market pricing for such drugs, as well as the historic tidal wave of

 ANDA approvals by the FDA beginning in April 2015, Perrigo knew or recklessly disregarded

 that the elevated pricing levels for its generic drugs were unsustainable as the rate of new

 approvals accelerated and continued unabated throughout 2015 and into 2016.             Perrigo’s

 knowledge is demonstrated by the fact that it had entire divisions tasked with monitoring its



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 rivals’ development of competing generic drugs and the regulatory status of such potential

 competitor drugs. However, the market was in the dark as Defendants falsely represented that

 Perrigo was immune to such pricing pressures.

        162.    First, Defendants were aware that increased competition in the industry was

 pushing—and would continue to push—generic drug pricing down.           As discussed above,

 beginning in April 2015, the FDA began to clear its substantial backlog of ANDAs and approve

 new generic drugs at record levels, including nine drugs approved between May and December

 2015 that competed directly with Perrigo’s products. The accelerated rate of ANDA approvals

 persisted throughout 2015 and into the first quarter of 2016.

        163.    Internally, Defendants knew the Company was not immune to these pricing

 pressures, as Hendrickson admitted following Papa’s abrupt departure from the Company, and

 that competition was the cause of such pressures. According to CW-8 and CW-9, Perrigo, like

 other drug companies, kept track of what competing drug companies were doing in the new

 product development area. More specifically, Wesolowski had a running list that included not

 only Perrigo products coming to market, but also identified the companies in competition with

 Perrigo to be first to market in the ANDA process. CW-8 explained that Wesolowski would give

 him the list identifying which competing companies were applying for ANDA approval of

 competing products so that CW-8 would know which companies Perrigo had to beat in the

 ANDA process. Wesolowski had management oversight of the entire generic side of Perrigo’s

 business and reported directly to Doug Boothe, who ran the Rx segment, and who in turn,

 reported to Papa.

        164.    According to CW-8, Wesolowski’s group also knew which products other drug

 companies were bringing to market to compete with existing Perrigo products. CW-8 heard




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 individuals in Wesolowski’s group discuss keeping track of such information. CW-8 explained

 that Wesolowski’s group needed this information so it could plan sales and pricing.

        165.    CW-6, who served as a Senior Business Analyst from late 2014 through mid-

 2016, learned through conversations with Tom Wight, a Business Process Architect for Rx and

 OTC at Perrigo, that increased competition in the generic market was creating pricing pressure in

 the Rx segment in 2015. CW-6, who worked on the same floor as Wight, explained that

 Business Process Architects are essentially business relationship managers who work with

 business line leaders to develop sales strategy. CW-6 recalled being told by Wight that, whereas

 prior to the increased competition in the marketplace sales were almost automatic for the

 business segment, during the Relevant Period, the sales team encountered a market where buyers

 were looking elsewhere.

        166.    Second, Defendants were aware that the generics market was under pricing

 pressure following the commencement of industry-wide investigations of suspicious price hikes

 by Congress, the DOJ, and several State Attorney Generals beginning in late 2014. These

 investigations have begun to reveal a reportedly broad, well-coordinated, and long-running series

 of schemes to fix prices for a number of generic drugs.

        167.    As discussed in more detail below, a March 3, 2017 Bloomberg article reported

 that Perrigo was one of the companies under scrutiny at the DOJ and disclosed that the DOJ

 sought a stay of discovery in certain civil antitrust suits brought against Perrigo. Then, on May

 2, 2017, Perrigo confirmed that the DOJ had executed search warrants at the Company’s

 corporate offices in connection with its investigation into price collusion in the generic drug

 industry.




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        168.   Given the intense scrutiny of price inflation across the generic drug industry—

 coupled with the FDA’s well-known and identifiable efforts to accelerate the approval of new

 generics to bring down that inflation—Defendants knew or recklessly disregarded the fact that

 the then-current pricing levels for Perrigo’s Rx products were unsustainable. In fact, when asked

 about Papa’s statements in March and April 2015 discussing how Perrigo Rx would not be

 negatively impacted by competitive pricing pressures, CW-6 responded that Papa’s statements

 did not make sense given that he recalled the pricing pressures being felt by the Company at that

 time as a result of both the increased competition and the government scrutinizing generic

 pricing, which CW-6 discussed with colleagues on the floor.

        169.   In short, even as Defendants were aware of the pricing pressures impacting the Rx

 business, they publicly and repeatedly denied that such pressures were having any impact on

 Perrigo.

        F.     Perrigo Colluded with Its Competitors to Fix Prices in the Generic Drug
               Markets

        170.   At the same time Defendants were making misrepresentations to investors about

 the purported value of the Omega acquisition and Perrigo’s immunity to pricing pressures,

 Perrigo and certain of its rival drug makers were engaged in an anti-competitive price-fixing

 conspiracy involving generic drugs. Perrigo’s illicit price-fixing rendered false or misleading

 Defendants’ repeated representations during the Relevant Period that the competitive nature of

 the markets allowed them to keep their generic drug prices as high as they were.

               1.      By Law, the Generic Drug Market in the U.S. Is Designed for Drugs
                       to Reach Equilibrium Price Points

        171.   As discussed above, the price of the generic versions of a given drug can fall to as

 little as 10% to 20% of the original price for the brand-name drug after the 180-day exclusivity

 period under the Hatch-Watchman Act expires and additional generic drugs enter the market.


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 Over time, the prices of the generic drug fall until they reach an equilibrium price point, at or

 close to the manufacturers’ MAC. The MAC pricing regime also serves to control drug prices.

 Under this regime, individual states or pharmacy benefits managers (“PBMs”)—third party

 administrators of prescription drug programs—establish an MAC for drug products using a

 variety of different inputs and formulas. If the cost for a pharmacy to dispense a given drug

 exceeds the MAC, the pharmacy will either opt to substitute a less expensive version, if

 available, or sell the drug at a loss to service the patient. This MAC framework incentivizes

 pharmacies to fill prescriptions with the least expensive, therapeutically equivalent version of a

 drug to maximize their potential profits.

                2.      Perrigo Colluded to Fix Prices for Several of Its Generic Drugs

        172.    Before and during the Relevant Period, the operating segment with the largest

 impact on the Company’s earnings was Rx. According to the Company’s reported operating

 income numbers for fiscal years 2012, 2013, and 2014, the Rx division was the second largest

 contributor to Perrigo’s adjusted net operating earnings, averaging $275.4 million annually

 during that time.

        173.    While the competitive forces of the generic drug markets and the increased

 regulatory scrutiny ultimately caught up with Perrigo in 2016 and the Company was forced to

 lower prices for many of its drugs, in the years leading up to the Relevant Period, Perrigo and

 certain of its competitors colluded to engage in extraordinary price hikes that could never have

 occurred in a competitive market. According to a Wall Street Journal analysis of generic drug




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 price fixing, seven of Perrigo’s ten top-selling drugs experienced record price increases between

 2011 and 2016, including price hikes as high as 530%:4




 The article cited experts from SSR Health LLC who stated that “[g]eneric drug prices rose

 significantly in 2013 and 2014 . . . and Perrigo upped the list prices of its generics more than

 many rivals. The list prices of Perrigo’s drugs rose 52% over the past four years, compared

 with an average 18% across manufacturers.” Id.




 4
   See J. Rockoff and M. Rapoport, Valeant’s New CEO Brings Familiar Prescription, Wall St. J.
 (July 5, 2016), https://www.wsj.com/articles/valeants-new-ceo-brings-familiar-prescription-
 1467745749.


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               3.      Desonide

                       a.     The Co-Conspirators’ Price Hikes

        174.   Perrigo and certain of its competitors, Taro and Allergan (a/k/a Actavis)5 engaged

 in anti-competitive conduct by colluding to improperly raise and/or maintain the prices of

 Desonide, beginning in mid-2013. Desonide is a mild topical corticosteroid produced in cream,

 gel, and ointment form. Desonide is used to treat a variety of skin conditions, including eczema,

 seborrheic and contact dermatitis, allergies, and psoriasis, and works by reducing the swelling,

 itching, and redness that accompany these conditions. As demonstrated by publicly available

 data, the markets for various dosages of generic Desonide were highly susceptible to

 cartelization by Perrigo and its rival drug-makers and, in fact, Perrigo participated in price

 collusion.

        175.   For example, as demonstrated by the chart and graph below, Taro and Perrigo

 raised the price of a 15gm tube of Desonide 0.05% cream by as much as 470% between March

 and September of 2013.

        176.   The graph below shows the average monthly price per 15gm tube of Desonide

 0.05% cream manufactured by Taro, Perrigo, and Allergan between December 2010 and

 December 2016:




 5
  Before June 15, 2015, Allergan plc was known as Actavis plc. Allergan plc and Actavis plc are
 collectively referred to herein as “Allergan.”


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             177.    The table below shows the average monthly price of a 15gm tube of Desonide

      0.05% cream manufactured by Taro, Perrigo, and Allergan from March 2013 to January 2014:

                                              Desonide 0.05% Cream 15gm
             March     April    May      June     July
                                                    Sept.  Aug.
                                                           Oct.   Nov.   Dec.   Jan.
             2013      2013     2013     2013     2013
                                                    2013   2013
                                                           2013   2013   2013   2014
ALLERGAN                                           $3.723 $3.683 $3.543 $3.532 $3.513
 PERRIGO $0.591 $0.581 $0.869 $1.428 $2.830 $3.225 $2.733 $2.585 $2.640 $2.551 $2.440
   TARO
         $0.693 $0.708 $2.790 $3.304 $3.648 $3.765 $3.968 $3.947 $3.809 $3.763 $3.766
  PHARM


             178.    This drastic increase in the price of 15gm tubes of generic Desonide 0.05% cream

      occurred shortly after the GPhA 2013 Annual Meeting in February 2013 attended by

      representatives from Perrigo and Taro, and the GPhA 2013 CMC Workshop in June 2013,

      attended by representatives from Perrigo, Taro, and Allergan.


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        179.    There was no reasonable justification for the price hike discussed above. While a

 supply shortage can explain an abrupt rise in prices, here—notwithstanding drug manufacturers’

 obligation to report shortages to the FDA—no such shortage of Desonide was reported during

 the relevant time period. In addition, there was no significant increase in the demand for

 Desonide or in the drug’s production costs that would explain the enormous price increase. Even

 if there was such a benign market explanation for the price increase, at no point following the

 initial spike did the price return to the pre-spike equilibrium price point.

        180.    An article in eDermatology News noted that there was no economic justification

 for the Desonide price hikes:

        [R]ecently I’ve become aware of a new wrinkle that complicates daily practice
        life for both doctors and patients in a significant way. I can’t make any sense if it.

        I mean the high price of desonide.

        When I was student many years ago, my teachers told me that I should prescribe
        generic drugs whenever possible. This would help hold down medical costs. It
        was the right thing to do.

                                                  ***

        But lately I’ve been getting complaints from patients about the high cost of
        desonide. My first reaction to these was, “How on earth is that possible?”

                                                  ***

        I asked my secretary to call the pharmacy to get a price for other generic steroid
        creams. Triamcinolone would cost $14.70. Alclometasone would cost $35.20.

        And desonide – generic desonide – would cost $111.70. For a 15-g tube. $111.70
        for 15 g of a generic cream that’s been on the market forever! Does that make
        any sense?6

        181.    In addition, price increases of this magnitude would have been contrary to each of

 the Co-Conspirators’ economic interest absent the price-fixing scheme. Without the certainty

 6
   Alan Rockoff, M.D., The high price of desonide, eDermatology News (Feb. 3, 2015),
 http://www.mdedge.com/edermatologynews/article/96892/high-price-desonide.


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 that all of the Co-Conspirators would raise and maintain the prices for generic Desonide, each

 Co-Conspirator risked getting undercut by the others, leading to a loss of market share and a loss

 of revenue. This risk was alleviated by the Co-Conspirators’ agreement to raise and maintain

 their prices for generic Desonide.

                           b.      The Market Was Susceptible to Anti-Competitive Conduct

         182.       Perrigo’s participation in this price-fixing scheme for generic Desonide is further

 supported by certain factors demonstrating the susceptibility of the market for this generic drug

 to price fixing.

         183.       Market Concentration. Industry or market concentration is a function of the

 number of firms in a given market and their respective market shares. Market concentration is

 commonly measured through the Herfindahl-Hirschman Index (“HHI”), which is calculated by

 squaring the market share of each firm competing in the market and then summing the resulting

 numbers. Through this calculation, the HHI factors in the relative size distribution of the firms

 in a given market. The HHI approaches zero when a market is occupied by a large number of

 firms of relatively equal size and reaches the 10,000 point maximum when a market is controlled

 by a single firm. The HHI increases as: (i) the number of firms in a given market decreases; and

 (ii) the disparity in size between those firms’ increases.

         184.       As noted by the DOJ, markets in which the HHI is between 1,500 and 2,500

 points are generally considered moderately concentrated, and markets in which the HHI exceeds

 2,500 points are considered highly concentrated. A more highly concentrated market is more

 susceptible to anti-competitive behavior, such as price-fixing. This increased susceptibility is

 due, in part, to the relative ease with which co-conspirators can monitor each other’s pricing

 behavior to ensure adherence to the price-fixing agreement, especially when only two or three

 competitors have the majority of the market share. In addition, in a highly concentrated market,


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 there is a lower probability that each firm has different production costs, which facilitates the

 formation and maintenance of a price-fixing scheme.

        185.   In 2013 and 2014, the market for 15gm tubes of generic Desonide 0.05% cream

 was highly concentrated, as demonstrated by the HHI calculation below:

                                         2013 HHI                             2014 HHI

         Desonide                      5,317                                 4,731
  0.05% 15gm tube

        186.   During this period, Perrigo and Co-Conspirators Taro and Allergan combined to

 account for 100% of the total market for 15gm tubes of generic Desonide 0.05% cream, as

 shown in the charts below:




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        187.    Barriers to Entry. Barriers to entry into a market can delay, diminish, or even

 prevent the attraction and arrival of new market participants, which is the usual mechanism for

 checking the market power—i.e., the ability to set prices above market costs—of existing

 participants. Entry barriers include things like: trade secrets, patents, licenses, capital outlays

 required to start a new business, pricing elasticity, and difficulties buyers may have in changing

 suppliers. If there is no significant threat that new firms will enter a market, a single firm with a

 dominant market share—or a combination of firms with a significant percentage of the market—

 is able to engage in anti-competitive conduct, such as restricting output and raising prices to the

 detriment of consumers. Barriers to entry in the markets for generic drugs include, among other

 things, high manufacturing costs and regulatory and intellectual property requirements. For

 example, the requirement that companies file an ANDA and receive FDA approval can delay

 entry into the market by an average of thirty-six months.



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         188.   The barriers to entry into the market for 15gm tubes of generic Desonide 0.05%

 cream included high manufacturing costs as well as certain regulatory and intellectual property

 barriers.

         189.   Lack of Substitutes. The presence of alternative products that can easily be

 substituted for a given product serves to undermine anti-competitive behavior. Conversely, the

 absence of available substitutes increases the susceptibility of a market to anti-competitive

 behavior because consumers have no alternative but to purchase the product, notwithstanding

 any price increases.   In the context of prescription drugs, a pharmacist presented with a

 prescription for a given drug can only substitute another drug if that drug has an “AB” rating.

 Only generic and brand-name versions of a drug are AB-rated to one another. Therefore, a

 pharmacist can only fill a prescription for a given drug with the brand-name version or one of the

 AB-rated generic versions and cannot substitute another drug. Only generic Desonide and

 brand-name Desonide for a given dosage are AB-rated to one another. Therefore, a pharmacist

 can only fill a prescription for Desonide with the brand-name version or one of the AB-rated

 generic versions.

         190.   High Degree of Interchangeability. A standardized, commodity-like product

 with a high degree of interchangeability between the goods of the participants in an anti-

 competitive conspiracy also increases the susceptibility of a given market to anti-competitive

 conduct. By their very nature, all generic versions of a given drug are interchangeable, as every

 generic version of a drug must be bioequivalent to the original, brand-name drug. Generic

 Desonide is no exception. The FDA approved versions of generic Desonide 0.05% cream in

 15gm tubes manufactured by the Co-Conspirators Perrigo, Allergan, and Taro each has an “AB”




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 rating. Thus, pharmacists are able to substitute one manufacturer’s generic version of Desonide

 for another.

        191.    Absence of Competitive Sellers. The presence of firms that manufacture the

 same product but are not part of the anti-competitive conspiracy—also called fringe sellers—can

 erode the conspirators’ market share by offering the product at lower, more competitive prices.

 This reduces the conspirators’ revenue and makes it more difficult to sustain the conspiracy. By

 contrast, the absence of fringe sellers can increase the susceptibility of a given market to anti-

 competitive conduct. In the case of 15gm tubes of generic Desonide 0.05% cream, there were no

 other market participants who could take market share from Perrigo and Co-Conspirators Taro

 and Allergan. The complete dominance of Perrigo and the Co-Conspirators facilitated their

 ability to raise prices without losing market share to the non-conspirators. Moreover, following

 the dramatic price increases in mid-2013, discussed above, neither Perrigo nor the Co-

 Conspirators were willing to meaningfully undercut prices to gain market share, thereby further

 demonstrating the absence of a competitive market.

        192.    Co-Conspirator      Contacts    and    Communications       at   Trade     Events.

 Representatives from Perrigo and its competitors with whom it colluded on prices for Desonide

 and other generic drugs routinely attended conferences, meetings, and trade shows sponsored by

 various pharmaceutical trade associations. These events provided frequent opportunities for

 individuals from Perrigo and the Co-Conspirators to interact with each other and discuss their

 respective businesses and customers. Social events and other recreational activities—including

 golf outings, lunches, cocktail parties, and dinners—were also organized in conjunction with the

 trade association events and provided further opportunities for representatives from the drug

 manufacturers to meet outside of the traditional business setting. These trade associations and




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 the related formal and informal events provided representatives from Perrigo and the Co-

 Conspirators with ample opportunities to meet, discuss, devise, and implement the price-fixing

 described herein.

        193.     One of the more prominent trade associations in the generic drug industry is the

 Association for Accessible Medicines (formerly known as the GPhA). The GPhA is, according

 to its website, “the nation’s leading trade association for manufacturers and distributors of

 generic prescription drugs, manufacturers of bulk active pharmaceutical chemicals, and suppliers

 of other goods and services to the generic industry.” The GPhA was formed in 2001 following

 the merger of three industry trade organizations:        the Generic Pharmaceutical Industry

 Association, the National Association of Pharmaceutical Manufacturers, and the National

 Pharmaceutical Alliance. In describing its members, the GPhA’s website previously stated:

 “GPhA member companies supply approximately 90 percent of the generic prescription drugs

 dispensed in the U.S. each year. Our membership includes the world’s largest generic finished

 dose manufacturers and active pharmaceutical ingredient suppliers.”       The GPhA’s website

 further stated: “By becoming part of GPhA, you can participate in shaping the policies that

 govern the generic industry and help secure the future of this vital pharmaceutical market

 segment.      In addition, GPhA provides valuable membership services, such as business

 networking opportunities, educational forums, access to lawmakers and regulators, and peer-to-

 peer connections.”

        194.     Representatives from Perrigo and the other Co-Conspirators regularly attended

 GPhA meetings, including the following:

        •        October 1-3, 2012 GPhA 2012 Fall Technical Conference in Bethesda, Maryland,
                 attended by representatives from Perrigo, Allergan, Akorn, Fougera, G&W
                 Laboratories, Glenmark, Mylan, Ranbaxy, Renaissance, Sandoz, Spear, and Taro.




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        •      February 20-22, 2013 GPhA 2013 Annual Meeting in Orlando, Florida, attended
               by representatives from Perrigo, Allergan, Akorn, G&W, Glenmark, IGI, Mylan,
               Ranbaxy, Renaissance, Sandoz, Spear, and Taro.

        •      June 4-5, 2013 GPhA 2013 CMC Workshop in Bethesda, Maryland, attended by
               representatives from Perrigo, Allergan, Fougera, G&W, Glenmark, Hi-Tech,
               Mylan, Ranbaxy, Renaissance, Sandoz, Spear, and Taro.

        •      October 28-30, 2013 GPhA 2013 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Perrigo, Allergan, Akorn, Fougera,
               G&W, IGI, Mylan, Ranbaxy, Renaissance, Sandoz, Spear, and Taro.

        •      February 19-21, 2014 GPhA 2014 Annual Meeting in Orlando, Florida, attended
               by representatives from Perrigo, Allergan, G&W, Hi-Tech, IGI, Mylan, Ranbaxy,
               Renaissance, Sandoz, Spear, and Taro.

        •      June 3-4, 2014 GPhA 2014 CMC Workshop in Bethesda, Maryland, attended by
               representatives from Perrigo, Allergan, Fougera, G&W, Glenmark, Hi-Tech, IGI,
               Mylan, Ranbaxy, Sandoz, Taro, and Valeant.

        •      October 27-29, 2014 GPhA 2014 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Perrigo, Allergan, Fougera, G&W,
               Glenmark, IGI, Mylan, Ranbaxy, Renaissance, Sandoz, Spear, Taro, and Valeant.

        •      February 9-11, 2015 GPhA 2015 Annual Meeting in Miami Beach, Florida,
               attended by representatives from Perrigo, Allergan, Akorn, G&W, Glenmark, IGI,
               Mylan, Ranbaxy, Renaissance, Sandoz, Spear, Taro, and Valeant.

        •      June 9-10, 2015 GPhA 2015 CMC Workshop in Bethesda, Maryland, attended by
               representatives from Perrigo, Allergan, Fougera, G&W, Glenmark, Mylan,
               Renaissance, Sandoz, Taro, and Valeant.

        •      November 2-4, 2015 GPhA 2015 Fall Technical Conference in Bethesda,
               Maryland, attended by representatives from Perrigo, Allergan, Akorn, Fougera,
               G&W, Glenmark, IGI, Mylan, Renaissance, Sandoz, Spear, Taro, and Valeant.

               4.      Other Generic Drugs

        195.   Perrigo also colluded to fix prices of other generic drugs, including Clobetasol,

 Econazole, Permethrin, Tretinoin, and Halobetasol Propionate. As a result of Perrigo’s collusion

 with the Co-Conspirators, the prices of these drugs increased dramatically between 2011 and

 2016. Specifically, the price of Permethrin increased by more than 530%, and the prices of

 Halobetasol Propionate, Econazole, and Clobetasol increased by approximately 150%, 500%,


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 and 500%, respectively. The Plaintiffs in Roofers’ Pension Fund v. Perrigo Co., plc, No. 16-

 2805 (D.N.J.) (the “Class Action”), retained Symphony Health Solutions, a well-respected

 market research firm, to analyze the market concentration and price increases for each of these

 drugs. As pled in detail in the amended complaint filed in the Class Action (ECF No. 89), the

 markets for Clobetasol, Econazole, Permethrin, Tretinoin, and Halobetasol Propionate were

 highly concentrated, and dominated by Perrigo. See Class Action, ECF No. 89, in ¶¶ 77, 81, 85,

 87, 89. In addition, many of the drastic price increases occurred in conjunction with GPhA

 meetings or other industry meetings attended by representatives from Perrigo and the Co-

 Conspirators. See id. ¶¶ 78, 82.

                5.      Perrigo’s Reporting Chain for Generic Drug Pricing

        196.    Several witnesses, including CW-8, CW-10, and CW-11, confirmed that the

 Perrigo employees responsible for generic drug pricing at the Company during the Relevant

 Period reported directly to Papa and Brown. CW-10 stated that Wesolowski headed up a pricing

 team that consisted of Booydegraaff, Dawn Couchman, Vice President of Contract

 Administration, and Steve Gallagher, Finance Director for the Rx Division. Gallagher reported

 directly to Defendant Brown. CW-11 stated that Wesolowski had management oversight over

 the Company’s Generic Rx segment. Wesolowski reported to Boothe, who then reported to

 Defendant Papa. CW-8 stated that Boothe had management oversight over the Perrigo

 employees who handled generic pricing. Boothe reported directly to Papa. CW-8 further stated

 that Wesolowski, who reported to Boothe, had management oversight over the whole generic

 side of the business and Wesolowski’s team, which handled generic pricing, included

 Booydegraaff. CW-8 was familiar with Wesolowski’s team because CW-8 answered drug-

 related questions for the team.




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                6.     Government Investigations into Perrigo’s Anti-Competitive Conduct

        197.    On October 2, 2014, U.S. Senator Bernie Sanders and U.S. Representative Elijah

 Cummings launched an investigation into “soaring generic drug prices,” according to a press

 release. One month later, the DOJ convened a grand jury in the United States District Court for

 the Eastern District of Pennsylvania.

        198.    To date, the DOJ has issued subpoenas to numerous generic drug manufacturers,

 including Allergan, Mylan, and Taro.

        199.    The DOJ filed the first criminal charges in connection with its investigation on

 December 12 and 13, 2016 against Jason T. Malek and Jeffrey A. Glazer of Heritage in the

 United States District Court for the Eastern District of Pennsylvania. Malek was Heritage’s

 President and Glazer was Heritage’s CEO and Chairman during the period covered by the DOJ’s

 investigation. On December 14, 2016, the DOJ released an information charging Malek and

 Glazer with criminal violations of Section 1 of the Sherman Act (15 U.S.C. § 1) for price-fixing

 and other anti-competitive conduct in connection with generic Doxycycline and Glyburide. The

 DOJ described how Malek and Glazer did not act alone and that “various corporations and

 individuals, not made defendants in this Count, participated as co-conspirators in the offenses

 charged herein and performed acts and made statements in furtherance of.” Malek and Glazer

 pled guilty to the DOJ charges on January 9, 2017.

        200.    On December 14, 2016, in an article by Forbes entitled, The Man the Feds are

 Using to First Crack Open Their Big Antitrust Case Against Generic Drug Makers, Robert

 Connolly, former chief of the DOJ’s Antitrust Division, stated the following:

        A criminal information against an individual for antitrust charges prior to any
        other government action in an antitrust case suggests the individual is cooperating
        with the government investigation. “It sounds like it can be just the first case
        and others will follow, it would be unusual for the federal government to charge
        just one individual so I would assume there is more to come.”


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        201.    On the same day that the DOJ announced the charges against Malek and Glazer,

 twenty state Attorneys General revealed that they had sued six generic drug companies for their

 roles in the conspiracy to artificially inflate prices of Doxycycline and Glyburide. The Attorneys

 General Complaint states that the Attorneys General “have uncovered a wide-ranging series of

 conspiracies implicating numerous different drugs and competitors, which will be acted upon at

 the appropriate time.” The Attorneys General describe these conspiracies as “schemes to fix and

 maintain prices, allocate markets and otherwise thwart competition” and explain that they are

 carried out by generic drug companies through their senior executives who “exploit their

 interactions at various and frequent industry trade shows, customer conferences and other similar

 events, to develop relationships and sow the seeds for their illegal agreements.”

        202.    According to the Attorneys General Complaint, the drug manufacturers attempted

 to explain the suspicious price hikes through “a myriad of benign factors,” however, the plaintiff

 States “found through their investigation . . . that the reason underlying many of these price

 increases is much more straightforward and sinister—collusion among generic drug

 competitors.” Among others things, the company executives met at “regular ‘industry dinners’”

 and “exchanged numerous and frequent telephone calls, emails and text messages.”

        203.    The Connecticut Attorney General noted in his December 15, 2016 press release

 that the price collusion was not the isolated misconduct of a few rogue employees, explaining

 that “the misconduct was conceived and carried out by senior drug company executives and their

 subordinate marketing and sales executives.” The Connecticut Attorney General further noted

 that the State’s investigation is still ongoing and claims to have “uncovered evidence of a broad,

 well-coordinated and long-running series of schemes to fix the prices and allocate markets for a

 number of generic pharmaceuticals in the United States.” As the Connecticut Attorney General




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 explained, “[w]hile the principal architect of the conspiracies addressed in this lawsuit was

 Heritage Pharmaceuticals, we have evidence of widespread participation in illegal conspiracies

 across the generic drug industry . . . . We intend to pursue this and other enforcement actions

 aggressively, and look forward to working with our colleagues across the country to restore

 competition and integrity to this important market.”

         204.    On March 3, 2017, Bloomberg, in an article entitled Perrigo Joins Firms With

 Generic Drugs Under U.S. Glare, reported that Perrigo was one of the companies under scrutiny

 at the DOJ. It was also disclosed that the DOJ sought a stay of discovery in civil antitrust suits

 brought against Perrigo and its competitors in connection with three drugs—Desonide,

 Clobetasol, and Fluocinonide—so as to avoid compromising the government’s investigation. In

 its letter to the court requesting the discovery stay, the DOJ stated: “There are significant

 overlaps between the companies and drugs that are being investigated criminally and the

 defendants and drugs identified in plaintiffs’ amended complaints . . . . In light of these overlaps,

 civil discovery could reveal details of the ongoing criminal investigation and delay, or even

 frustrate, its progress.”

         205.    On May 2, 2017, Perrigo confirmed that the DOJ had executed search warrants at

 the Company’s corporate offices in connection with its investigation into price collusion in the

 generic drug industry. Among other things, the DOJ’s investigation specifically called into

 question the truthfulness of Defendants’ prior assurances regarding the sustainability of Perrigo’s

 generic drug pricing strategy and the competitive nature of the generic drug markets in which




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 they purportedly compete. As reported by Bloomberg, analysts from RBC Capital Markets

 stated that the raid of Perrigo “is going to bring the DOJ generic pricing risk back into focus.”7

        206.    The fact that the DOJ raided Perrigo’s offices in May 2017 after sending

 subpoenas to its competitors strongly suggests that evidence learned through those prior

 subpoenas led the DOJ to believe that Perrigo was also engaged in improper pricing. Moreover,

 the DOJ has filed motions to intervene and stay discovery in at least three civil antitrust actions

 alleging price-fixing in violation of the Sherman Act against Perrigo. See, e.g., In Propranolol

 Antitrust Litig., No. 1:16-mc-9901-JSR (S.D.N.Y.). The DOJ explained that the “action presents

 a risk to the United States’ interest in ensuring the integrity of its ongoing criminal investigation”

 because, among other reasons, “its on-going criminal antitrust investigation shares common

 questions of law and fact with the civil claims” and because the plaintiffs have sought the same

 documents produced to the federal prosecutors. The DOJ’s intervention in these civil actions

 implicating Perrigo’s price-fixing activities is a powerful indication that the allegations of price-

 fixing are supported (at least in part) by documents and other information provided to the DOJ in

 connection with its investigation.

        G.      Perrigo Issued Aggressive, Unsupported Financial Guidance

        207.    Despite the fact that: (i) the Omega acquisition was a known and observable

 debacle (to those inside the Company); and (ii) Perrigo was not “insulated” from pricing

 pressures in the generic drug industry, and in fact was engaged in price collusion to keep their

 profits up, Perrigo issued unsupported and unrealistic financial guidance based on the supposed

 contribution of Omega and strength of the Rx segment throughout the Relevant Period.



 7
  Caroline Chen, Perrigo Offices Searched by U.S. Agents in Drug Price Probe, Bloomberg, May
 2, 2017.


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        208.    CW-1 believed that Perrigo used aggressive sales projections as a means to fend

 off the hostile takeover attempt by Mylan. According to CW-1, CIO Farrington played a large

 role in providing performance guidance for Omega during the Relevant Period, but the overall

 directives came from Papa. Projections involving synergies, cost savings, and added sales

 channels were aggressive, and goals were unrealistically increased as part of the effort to prevent

 the Mylan takeover, CW-1 explained.

        209.    Based on conversations with Farrington and members of Omega’s staff in

 Belgium (including the head of IT, Deneubourg), CW-1 recalled that Perrigo ignored data

 migration issues in generating the Company’s publicly disclosed financial guidance.           Ray

 likewise confirmed that Omega leadership believed that Perrigo’s senior management was

 preoccupied with defeating the Mylan takeover bid and thus refused to acknowledge the negative

 impact of the Omega integration failures. As one example, CW-1 explained that because Perrigo

 had no real-time access to Omega’s financial data and performance information, Perrigo

 regularly relied upon verbal representations from Omega personnel as the basis for financial

 projections.   This problem, CW-1 advised, showed how much Perrigo did not understand

 Omega’s performance, projections, and overall financial results. CW-1 understood based on his

 interactions with colleagues, including Farrington, that there were some “guess” estimates

 concerning Omega’s financial projections that were based on these verbal representations from

 Omega that later proved to be inaccurate when actual system data was finally accessed, as

 discussed above in ¶¶ 112-21.

        H.      Perrigo Campaigned Against Mylan’s Hostile Takeover Attempt and
                Continued to Mislead Investors

        210.    Following Perrigo’s rejection of Mylan’s Third Offer on April 29, 2015, and with

 a tender offer from Mylan nearly certain to follow, the Company engaged in an ongoing public



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 campaign to convince its shareholders to reject any potential tender offer by Mylan.         For

 example, Papa spoke at numerous health care conferences and continued to draw investors’

 attention to Perrigo’s standalone value and purported growth prospects, supposedly driven by

 Omega revenue and cost synergies and access to the EU. Without disclosing the massive

 integration problems posed by the Omega acquisition and the pricing pressures described above,

 Papa represented throughout 2015 that Mylan’s offers “substantially undervalue[d]” Perrigo, and

 “[did not] take into account [] some of the important things that we’ve done with the Omega

 business.”

        211.    To this end, between May 2015 and September 2015, when Mylan launched the

 Tender Offer, Defendants emphasized the “tremendous revenue synergies” and growth

 opportunities created by Omega’s established European network, spanning thirty-plus countries.

 For example, Defendants represented Omega’s “commercial footprint in these countries” as

 “very, very profitable for Perrigo shareholders,” and as “an important part of our future, as we

 can bring the Perrigo portfolio globally into the additional 33 countries with Omega.” According

 to Perrigo, “[n]ot only does Omega Pharma underscore our global strategy, it now positions us to

 continue European growth both organically and through acquisitions such as the one we’re

 talking about today.”

        212.    Defendants also regularly represented to investors that Perrigo had successfully

 integrated Omega’s systems and understood Omega’s business prospects, despite the myriad

 issues identified in ¶¶ 111-46. For example, on June 23, 2015, Brown said the following

 concerning Perrigo’s integration efforts:

        [W]e are online - - I should say in line with our going online integration process.
        Back office is working smoothly. We’re bringing them onto all of our back-office
        systems, and importantly what was the underlying core of this deal was allowing




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        Omega to remain independent in their sales and marketing process, not interfering
        with that, but providing them product to put into that pipeline.

        213.      Brown further assured the market that the Mylan takeover attempt had not

 distracted Perrigo from integrating Omega, representing that:

        We [Perrigo] have management teams who are in charge of Omega integration
        who are actively involved on a day-to-day basis in both running Omega and
        another team that is focused on helping them get those product launches, helping
        on the integration. That was underway. That was rolling down the tracks before
        the Mylan letter came out, and that continues, so it is not as if the entire
        management team suddenly stops doing everything they are doing and is focused
        exclusively on the offer.

        214.      Similarly, on August 5, 2015, during the Company’s earnings conference call,

 Papa and Brown characterized Omega as “tremendously important to our future” and falsely

 represented that Perrigo “delivered on our Omega integration plan,” “achieved great operational

 efficiencies and productivity improvement” and “continue[d] to execute on the integration of

 Omega . . . .”

        215.      On the purported strength of Perrigo’s standalone business—and to further entice

 shareholders to reject Mylan’s inevitable Tender Offer—Defendants reaffirmed overly strong

 financial guidance on August 5, 2015, reiterating expectations for 2015 adjusted earnings of

 between $7.50 and $8.00 per diluted share. While explaining the Company’s quarterly results,

 Papa assured the market that the Company’s “durable business model and future growth

 prospects are self-evident as we continue to deliver value for our shareholders.”

        216.      The next day, August 6, 2015, Perrigo released an investor presentation, the

 purpose of which was to convince Perrigo shareholders that the Company was more valuable as

 a standalone entity than as a merger partner with Mylan. In that presentation, Perrigo deemed

 Mylan’s Third Offer to be “value destructive” for shareholders and warned investors against




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 accepting any “increased offer,” claiming it would further destroy value through dilution and

 increased credit risk.

        217.    Approximately two weeks later, on August 28, 2015, Mylan’s shareholders voted

 to approve the acquisition of Perrigo, with more than two-thirds of all voted shares voting in

 favor and more than half of all outstanding shares voting in favor. In response, Perrigo quickly

 reiterated the Board’s prior conclusion that “Mylan’s offer substantially undervalues Perrigo and

 would dilute [the Company’s] growth profile and superior valuation.”

        218.    In direct response to the Company’s representations and defense tactics,

 numerous analysts sided with Perrigo, reporting they believed the Company would be “better off

 without [Mylan].” For example, BMO Capital Markets issued a report on September 10, 2015,

 stating, “[w]e spoke with PRGO management today and continue to believe, as do they, that

 Mylan’s offer significantly undervalues PRGO. PRGO underscored that it continues to have

 options.” In other words, Perrigo’s campaign was working.

        I.      Perrigo Convinced Investors to Reject Mylan’s Tender Offer

        219.    On September 14, 2015, Mylan officially commenced its Tender Offer to Perrigo

 shareholders, offering those shareholders $75.00 in cash and 2.3 Mylan shares per Perrigo share

 if at least 50% of Perrigo’s shares were tendered by the November 13, 2015 deadline.

        220.    Mylan pitched its offer to Perrigo shareholders as deciding between one of two

 scenarios: (i) accept a “highly attractive offer” including $75.00 in cash and participate in the

 “exciting potential for growth and value creation of a combined Mylan-Perrigo”; or (ii) receive

 no upfront cash and risk a significant decline in the value of Perrigo’s stock price while

 “weathering the delays and potential execution and integration risk inherent in Perrigo’s

 standalone strategy.”




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        221.    Perrigo responded by convening an emergency conference call with analysts and

 investors on September 17, 2015, during which Defendants emphatically urged Perrigo

 shareholders to reject Mylan’s Tender Offer. According to Papa, Mylan’s “current offer on the

 table is not even in the right ZIP code, when compared to Perrigo’s stand-alone value.”

 Despite the fact that the Tender Offer had just been made earlier that same day, the Board, Papa

 announced, had already “unanimously determined that the offer substantially undervalues the

 Company and does not adequately compensate shareholders for Perrigo’s exceptional growth

 prospects.”

        222.    In a letter to Perrigo shareholders sent that same day, Papa expanded upon his

 conference call statements and directed investors to Omega, representing that “Mylan’s offer not

 only fails to reflect Perrigo’s outstanding track record of value creation, it also undervalues our

 compelling prospects for continued growth and sustainable, long-term shareholder value,”

 which includes “build[ing] upon our recently acquired pan-European [Omega] branded consumer

 healthcare platform . . . .” In short, Papa declared that “the Omega transaction . . . has done

 outstanding,” and that “[i]n one year, when you look at Perrigo, you will see a bigger, stronger

 company delivering value well above Mylan’s offer today.”

        223.    During the Company’s quarterly earnings conference call held on October 22,

 2015, Papa continued to misleadingly tout Perrigo’s standalone value and growth potential,

 stating that the Company “ha[s] the momentum and strategy necessary to continue to drive that

 growth over both the short and long-term.”

        224.    In addition, Papa dismissed an analyst’s comment that the “financial markets have

 become very concerned about the price inflation component of growth both on the generic and

 brand side going forward” Papa stated, as he had at the start of the Relevant Period, that




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 Perrigo’s “total strategy for pricing . . . is to keep pricing flat to up slightly” and that the

 Company’s strategy is “really the best place for the [Company’s] long, sustainable consistent

 approach to pricing . . . .” Brown went one step further, assuring the market that “nearly all of

 [Perrigo’s] revenues are insulated from the current pricing drama you see playing out in the

 pharmaceutical industry today.”        Papa and Brown made these specific comments about

 Perrigo’s pricing strategy in spite of the fact that just a few weeks later, on November 9, 2015, it

 was widely reported that the FDA had taken action on 82% of the backlog of ANDAs “as a

 rising chorus of voices, including Democratic presidential candidate Hillary Clinton, press[ed]

 the agency to clear the backlog to help counter rising pharmaceutical prices.”

        225.    That same day, Perrigo narrowed its guidance for 2015 adjusted earnings to a

 range between $7.65 and $7.85 per diluted share and announced 2016 adjusted earnings

 guidance of $9.30 per diluted share (or $9.45 per diluted share inclusive of a planned share

 repurchase plan).    A few weeks later, on November 13, 2015, the majority of Perrigo’s

 shareholders declined to tender their shares, causing the Tender Offer to fail.

        226.    As an immediate consequence of the failed Tender Offer, Plaintiffs and other

 Perrigo shareholders continued to hold on to stock valued at $140.54 per share on November 13,

 2015, immediately after the Tender Offer failed, when they could have received a value of

 $174.36 per share (based upon the Mylan share price at the close on November 12, 2015) had the

 Tender Offer gone through. As Perrigo’s true prospects were revealed to the public during the

 first half of 2016, the stock continued to decline.

        227.    As reported by the Wall Street Journal on November 14, 2015 in an article

 entitled, Mylan’s Defeat Cools Deal Boom, Mylan’s defeat “surprised many analysts and

 investors who predicted Mylan would eke out a victory” in its pursuit of Perrigo. A day earlier,




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 the Wall Street Journal had similarly noted that Perrigo, by overcoming Mylan’s Tender Offer,

 had “join[ed] a small club of companies that have successfully beaten back a tender offer on

 persuasion alone, without traditional corporate defenses.”

        228.    Having convinced Perrigo shareholders to reject Mylan’s takeover effort,

 Defendants continued to issue false positive news to investors. For example, on January 11,

 2016, Perrigo announced that it was increasing its guidance for 2016 adjusted earnings from

 $9.45 per diluted share to a range of $9.50 to $10.10 per diluted share. Papa again propped up

 the Company’s unparalleled growth potential as the basis for the increased guidance, stating that

 Perrigo “enter[s] 2016 excited about the prospects for our durable business model and plan for

 growth,” “expect[s] to launch greater than $1.2 billion in new products over the next three years,

 including products on [its] European branded platform,” and “ha[s] the deepest Rx pipeline in

 our history.” “For these reasons,” Papa assured investors, Perrigo, “remain[s] confident in [its]

 ability to deliver on [its] 2016 growth targets.”

 V.     THE TRUTH EMERGES

        229.    The misleading nature of Defendants’ statements was revealed through a series of

 disclosures beginning on February 18, 2016—just three months after the failed Tender Offer—

 when the Company announced its fourth quarter and calendar year 2015 financial results.

        230.    That day, Perrigo reported 2015 adjusted earnings of $7.59 per share, versus

 earlier guidance of between $7.65 and $7.85 per share. Defendants attributed the earnings miss

 to the BCH segment “not meet[ing] [Perrigo’s] internal expectations” following the Omega

 acquisition. “What has changed . . . are the BCH dynamics,” Brown told investors during the

 earnings call, adding that “[i]t will take time to benefit from the people, process and product

 changes.” According to Papa, the BCH segment was impacted by “lower net sales due to




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 channel dynamics with the generic distribution . . . . [which] accounted for approximately 25%

 of the branded consumer healthcare net sales miss against [Perrigo’s] expectations.”

        231.    In the Company’s February 18, 2016 press release, the Company also disclosed

 that it was taking a $185 million impairment charge relating to Omega’s assets:

        [T]he Company identified an impairment of certain indefinite-lived intangible
        assets based on management’s expectations for future revenues, profits and cash
        flows associated with [] assets. . . . purchased in conjunction with the Omega
        Pharma Invest NV acquisition and [] included in the BCH segment.

 Papa explained during the earnings call that the impairment represented “approximately 4% of

 the [$4.5 billion] acquisition price” of Omega. Given the impairment, Perrigo reduced its 2016

 earnings guidance from a range of $9.50 to $10.10 per diluted share to a range of $9.50 to $9.80

 per diluted share.

        232.    As Papa stated in the press release:

        Fourth quarter 2015 BCH financial performance was below our expectations. We
        are executing on our plan to drive improved BCH performance by taking select
        actions in the key areas of people, process, and products. First, we are changing
        the management structure of the BCH segment, incorporating Perrigo's matrix
        leadership model, which will drive better transparency and accountability,
        sharpening our focus on performance metrics. Second we are improving our
        processes in order to align systems, connectivity and functional accountability of
        the BCH business to Perrigo standards - while continuing to leverage the powerful
        marketing platform that BCH has in place.

        233.    Papa elaborated during the earnings call that these reforms to the BCH business

 were geared toward “strengthening the line of connectivity and functional accountability of the

 BCH business with Perrigo standards.”        One analyst from UBS was surprised by Papa’s

 comments, posing the following question during the earnings call: “You went through some of

 the changes that you’re going to do with the Omega business. They all seem like blocking and

 tackling [i.e., basic] issues, things that we’d expect you to do from day one. Why not take these

 actions earlier?”



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        234.   Other analysts were similarly surprised by the sudden shift in guidance and the

 impairment of the Omega assets.      In a report issued that same day entitled, Major BCH

 Disappointment Overshadows Solid CHC Results; 4 Key Takeaways, analysts from Jefferies

 noted that “it’s disappointing that FY16 expectations were reduced 5 weeks after

 m[ana]g[emen]t’s recent update.” Analysts from Deutsche Bank likewise explained in a report

 entitled, Lowering PT to $172 post-4Q miss, keeping Buy, that “[c]ontributing to investor

 disappointment is the fact that the company lowered the top end of its ‘16 EPS guidance range

 provided only five weeks ago, as well as the somewhat sudden need to restructure and impair

 parts of the recently-acquired European Branded Consumer Healthcare (BCH) business

 (Omega).”

        235.   In response to this news, which represented a partial disclosure of or the

 materialization of risks concealed by Defendants’ fraud, the Company’s share price fell $14.77

 per share, or approximately 10%, from a close of $145.17 per share on February 17, 2016, to

 close at $130.40 per share on February 18, 2016.

        236.   On April 21, 2016, Reuters and other news services reported that Papa—who had

 spent the last year championing Perrigo’s value and leading Perrigo’s efforts against Mylan’s

 takeover attempt—was in talks with Valeant to become its new CEO. The Reuters article,

 entitled, Valeant in talks to hire Perrigo’s Papa as CEO, noted that last year Papa “vigorously

 defended Perrigo against a hostile takeover offer from Mylan . . . saying that the offer

 undervalued the company.”

        237.   In response to this news, which represented a partial disclosure of or

 materialization of risks concealed by Defendants’ fraud, the Company’s share price fell $7.33




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 per share, or nearly 6%, from a close of $128.68 per share on April 21, 2016, to close at $121.35

 per share on April 22, 2016.

        238.    Before the market opened on the next trading day, April 25, 2016, Perrigo

 confirmed that Papa had, in fact, resigned as the Company’s CEO and would be assuming the

 role of CEO at Valeant. David Steinberg, an analyst for Jefferies following Perrigo, noted,

 “[f]rankly, this seems out of character that he would leave without ‘righting the ship.’” The Wall

 Street Journal likewise reported in an article entitled, As Its CEO Leaves for Valeant, Perrigo

 Continues to Struggle, that Papa’s departure was “like if you had decided to go on a road trip

 across the country and they ditched you at a rest area halfway through,” adding, “[a]lthough

 recent history isn’t great, [investors] still believed he had a handle on the business.”

        239.    That same day, Perrigo issued weak preliminary first quarter 2016 financial

 results, drastically lowering its earnings guidance for 2016. Specifically, Perrigo revealed that it

 was slashing its 2016 adjusted earnings guidance by more than 12% from a range of $9.50 to

 $9.80 per diluted share, to just $8.20 to $8.60 per diluted share. According to the Company,

 “[t]he majority of this change in guidance . . . is the result of a reduction in pricing expectations

 in our Rx segment due to industry and competitive pressures” and “[t]he remainder of the

 reduction is primarily due to weaker-than-expected performance within the BCH segment for the

 next three quarters and lower expectations for consolidated new product launches.” Perrigo

 further noted that it had “identified indicators of impairment associated with” the BCH segment

 and the Omega acquisition, and was evaluating the need to take a second impairment charge

 related to Omega—in addition to the $185 million taken on February 18, 2016.

        240.    Market     commentators     and    analysts   uniformly    expressed    surprise   and

 disappointment.    Wells Fargo stated in a report entitled, PRGO: Downgrading To Market




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 Perform -- Too Much Uncertainty, that “Perrigo management set unrealistic and aspirational

 earnings guidance in its effort to defend against Mylan’s hostile bid.” Barclays, in a report

 entitled, No shortage of frustration, confirmed the market’s shock over this news, reporting that

 while “[a] cut to numbers was certainly beginning to feel a bit inevitable, . . . the magnitude

 caught many investors by surprise.” Deutsche Bank downgraded Perrigo from a Buy to a Hold

 in a report entitled, Stepping aside for now, lowering to Hold from Buy, noting that it was

 “surprised by the magnitude of the miss and guide-down.” The Wall Street Journal noted “just

 two months ago, Perrigo said it expected to earn $9.50 to $9.80 per share” in an article entitled,

 Perrigo’s Pain Isn’t Just About Valeant.

        241.    More specifically, numerous analysts expressed surprise over the Company’s

 disclosures concerning Omega and purported pricing pressure in the Rx segment, particularly in

 light of Perrigo’s contrary public statements during the Relevant Period. “Mad Money” host Jim

 Cramer stated that “Papa had come on ‘Mad Money’ and talked about how the Mylan bid

 dramatically undervalued Perrigo . . . . That was clearly untrue.”

        242.    In an April 26, 2016 report entitled, Major Guidance Cut & Seemingly Full

 Valuation Offer Limited Upside; D/G to Hold, analysts from Jefferies also noted their surprise at

 management’s comments regarding “generic Rx pricing headwinds and the now unequivocally

 disastrous Omega acquisition,” given that “[management] indicated as recently as Feb[ruary] 18

 that its Rx business wasn’t facing pricing issues and that the issues at Omega had been fully

 characterized.”

        243.    Market commentators openly questioned Defendant’s prior statements on pricing.

 Analysts from UBS indicated that “investors may be somewhat surprised to hear about the

 pricing pressure from the Perrigo Rx business, given its niche portfolio with less than average




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 competition.” The Wall Street Journal questioned outright whether the pricing pressures had, in

 fact, been negatively impacting Perrigo well before Perrigo’s disclosure on April 26, 2016,

 noting in an article entitled, Perrigo’s Pain Isn’t Just About Valeant, that “[t]he deterioration

 seems in one sense to be a bit too quick, especially as it coincides with the appointment of a new

 CEO.”

         244.   Analysts were also concerned about the timing of the guidance as it related to

 Papa’s departure and the Mylan takeover bid. For example, in the same Barclays report entitled,

 No shortage of frustration, Barclays stated that “[f]rustration is understandable, especially since

 the reset of expectations comes ~6 months after management convinced shareholders to rebuff

 M[ylan]’s tender offer.”

         245.   In response to this news, which represented a partial disclosure of or the

 materialization of risks concealed by Defendants’ fraud, the Company’s share price fell $21.95

 per share, or nearly 18%, from a close of $121.35 per share on April 22, 2016, to close at $99.40

 per share on April 25, 2016.

         246.   On April 26, 2016, the Standard & Poor’s Ratings Services (“S&P”) lowered all

 of its ratings on Perrigo, explaining that “[t]he downgrade reflects our expectation for weakness

 in Perrigo’s high-margin generic pharmaceutical business, largely resulting from intensifying

 competition and lower pricing, and a further expected decline in the recently acquired European

 branded consumer business.”      According to S&P, “the acquisition misstep in Europe [i.e.,

 Omega] and negative earnings developments have, at least temporarily, diminished investors’

 trust in the company’s management, especially after its stockholders’ vote in favor of Perrigo’s

 management in the face of Mylan’s hostile takeover attempt last year.” S&P continued: “In our

 opinion, any material synergistic benefits from this recent acquisition, which included instant




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 access to millions of European consumers and the ability to launch new products in these

 markets, are unlikely over the next few years.”

        247.    On May 12, 2016, the Company announced actual results for the first quarter of

 2016, reporting a first quarter net loss of $133.1 million and a diluted loss per share of $0.93

 (which, on May 16, 2016, was revised up to $2.34 per diluted share). Perrigo attributed the loss

 to an additional $467 million impairment charge relating to the Omega acquisition.

        248.    During the earnings conference call announcing the loss and impairment charge,

 the Company’s CEO at that time, Hendrickson, who had just replaced Papa, admitted that

 Perrigo’s “recent track record of performance against our own expectations is unacceptable”

 and assured investors that the Company would target “realistic” forecasts going forward and

 would “try to be as transparent as possible”—a blatant admission that Papa’s and the

 Company’s previous forecasts were untenable and indefensible when issued.

        249.    Hendrickson also admitted that, contrary to statements made by both Papa and

 Brown throughout the Relevant Period (and Mylan’s takeover attempt), Perrigo was not

 “immune” to pricing pressures or, as Brown had falsely stated, insulated from the competition

 causing those pressures:

        As all of you know, pricing pressures and ultimately deflation have been a major
        topic across the industry. Our Rx team has done a great job over the past years of
        managing through this; however we are not immune to this dynamic, and
        ultimately increased competition and greater than expected price erosion hurt our
        performance in Q1, and resulted in lowering of our expectations for the year.

        250.    In response to this news, which represented a partial disclosure or materialization

 of Defendants’ fraud, the Company’s share price fell $3.71 per share, or 4%, from a close of

 $92.75 per share on May 11, 2016, to close at $89.04 per share on May 12, 2016.

        251.    On August 10, 2016, Perrigo announced that, as a result of “transformational

 organizational changes” at Omega and continued pricing pressures in the Rx segment, the


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 Company was once more cutting financial guidance, adding that projected 2016 impairment

 charges would nearly double, from $1.74 per share to $3.29 per share. That same day, UBS

 reported it was “surprised that management did not plan for [issues arising from Omega’s

 acquisition] in the last guidance change.”

        252.    In response to this news, Perrigo’s common stock price fell approximately 10%,

 from a close of $95.09 on August 9, 2016, to close at $86.00 on August 10, 2016, following high

 trading volume of over 13.7 million shares.

        253.    The revelations about Omega did not end in August 2016. In December 2016,

 Perrigo announced it would restructure Omega in order to “improve the financial profile and

 enhance focus of the business on branded consumer OTC products.” The Company’s shares

 dropped another 2.4% to close at $81.95 on December 8, 2016 following Perrigo’s

 announcement that it had to entirely restructure the BCH unit. As FiercePharma reported,

 Omega “ha[d] underperformed since [Perrigo] picked it up for $4.5 billion last March.” Finally

 throwing in the towel, Perrigo sold off various brands and businesses under the Omega umbrella,

 and laid off as many as eighty workers.        In January 2017, FiercePharma added that the

 restructuring would “result in a $150 million revenue toll each year.”

        254.    On March 3, 2017, Bloomberg reported that Perrigo’s name had been raised by

 antitrust regulators at the DOJ. 8 On this news, Perrigo shares dropped 3.71% to close at $72.76,

 from $75.76 at the close of the prior day.

        255.    After the close of the market on May 2, 2017, Perrigo revealed that its offices had

 been raided as part of an ongoing investigation by the DOJ into price-fixing in the


 8
   See Perrigo Joins Firms With Generic Drugs Under U.S. Glare, Bloomberg (Mar. 3, 2017),
 https://www.bloomberg.com/news/articles/2017-03-03/perrigo-joins-list-of-firms-with-generic-
 drugs-under-u-s-glare.


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 pharmaceutical industry. Investors were stunned. As a Wells Fargo analyst report noted, Perrigo

 had not “included a disclosure in its prior SEC filings related to an investigation.” The raid was

 a far more severe measure than taken against most other generic drug manufacturers, who merely

 received subpoenas. Consequentially, on May 3, 2017, Perrigo’s shares closed down over 5%,

 or $3.88 per share, from $76.23 at the close on May 2, 2017, to $72.35 on May 3, 2017.

        256.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

 the damages suffered by Plaintiffs. The disclosures of previously misrepresented and concealed

 material facts about Perrigo’s operations, business, performance, and prospects caused the price

 of Perrigo’s securities to decline markedly, wiping out millions of dollars in shareholder wealth.

 It was entirely foreseeable to Defendants that misrepresenting and concealing these material facts

 would both: (i) cause Perrigo common stock to trade in excess of its true value; and (ii) induce

 shareholders to reject Mylan’s Tender Offer, thereby relinquishing an opportunity to receive

 substantially more value than holding onto their Perrigo common stock. It was also foreseeable

 that the disclosure of this information, and the materialization of concealed risks associated with

 Defendants’ misconduct, would cause the price of Perrigo common stock to decline as the

 inflation caused by Defendants’ earlier misrepresentations and omissions was removed from the

 price of Perrigo common stock. Accordingly, the conduct of Defendants, as alleged herein,

 proximately caused foreseeable losses for Plaintiffs, who purchased or otherwise acquired

 Perrigo common stock during the Relevant Period and/or held such common stock as of the

 termination of the Tender Offer and thereafter in reliance on Defendants’ misrepresentations.

        257.    On June 7, 2017, Hendrickson—who succeeded Defendant Papa as CEO of

 Perrigo—announced that he would retire from Perrigo, making Hendrickson the second top

 executive to leave the Company in 2017 (after Defendant Brown).




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 VI.    DEFENDANTS’ MATERIALLY FALSE OR MISLEADING STATEMENTS AND
        OMISSIONS OF MATERIAL FACT

        258.      As set forth below, Defendants issued numerous materially false or misleading

 statements and omissions of material fact throughout the Relevant Period.

        A.        Statements Concerning the Omega Acquisition and the Valuation of Mylan’s
                  Offers

                  1.     April 21, 2015 Press Release, Rejection Call, Presentation, and
                         Earnings Release

        259.      On April 21, 2015, Perrigo issued a press release on Form 8-K announcing that

 “Perrigo’s Board Unanimously Rejects Unsolicited Proposal from Mylan” (“April 21 Press

 Release”), attaching an investor presentation entitled, Perrigo: Creating Superior Value for

 Shareholders (“April 21 Presentation”), and held a conference call (the “Rejection Call”). That

 same day, Perrigo also issued a press release on Form 8-K announcing its third quarter 2015

 financial results (“April 21 Earnings Release”).

        260.      In the April 21 Press Release, Perrigo announced that its Board had “unanimously

 rejected” Mylan’s Offer, having concluded that the Offer “substantially undervalues the

 Company and its future growth prospects and is not in the best interests of Perrigo’s

 shareholders.”

        261.      According to Perrigo, the Board’s determination was informed by certain “key

 factors,” including that the Offer: (i) “does not take into account the full benefits of the Omega

 Pharma acquisition, which closed on March 30, 2015, including additional value to be derived

 from synergies and increased global presence”; (ii) “would deny Perrigo shareholders the full

 benefits of Perrigo’s durable competitive position and compelling growth strategy”; and (iii)

 “substantially undervalues Perrigo’s differentiated global business, including the Company’s




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 leading market position in key franchises, global distribution platform, and proven expertise in

 product development and supply chain management.”

        262.    During the April 21 Rejection Call, Papa also focused investors’ attention on

 Omega, stating: “[W]e have just completed the Omega acquisition, which among other major

 benefits, provides a significantly enhanced international platform for additional growth. Simply

 put, Omega allows us to pursue paths that were never available to us in the past.”

        263.    When pressed by analysts for more information concerning Omega—which Papa

 had identified as a primary basis for rejecting any takeover attempt by Mylan—and the status of

 Perrigo’s integration efforts, Papa responded:

        Sure. Well, I will start with Omega. We’re very pleased with our initial
        integration projects with Omega, so there is a lot of good activities happening
        with the integration team. I’d say it’s focused on both driving that topline
        numbers . . . but it’s also focused on improving the cost of goods sold. We’ve got
        a supply chain team already working with them to drive the bottom line results as
        well. As I talk about the growth of Omega from a historical point of view moving
        into the future, it has been accretive to our growth rate. So we’re excited about
        that.

        264.    Later during that same call, Papa further stated:

        At Omega, we feel very good about the opportunity with Omega and specifically
        what I would refer to and we’ve talked about in the past about revenue synergies.
        We do believe that there are revenue synergies with the product portfolio that we
        have at Perrigo as we bring the 3,000 Perrigo products and help to bring them to
        Omega and look for ways that we could do line extensions of existing Omega
        brands. That’s something that we have teams underway already from an
        integration process. Those teams are very active in looking at which ones are
        the best ones to do, the earliest ones to do and move that forward. We do
        believe that that will allow us with the Omega portfolio to be in that 5% to 10%
        compound annual growth rate. Obviously, the more success we have with
        Omega, the more it would help us to be at the higher end of that from the revenue
        synergies point of view. Number two, on the Mylan proposal, candidly, I don’t
        have more facts than are out in the marketplace relative to what is in the proposal.
        There was no specifics in the proposal for Mylan relative to—they were at $205
        per share but there was no specifics relative to cash versus stock percentages nor
        what their view was on synergies. Mylan is a good company, Perrigo is a good
        company. There are opportunities, but I don’t want to make any specific



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        comments about or speculate anything about the synergies that could be available
        between the two companies.

        265.    In the April 21 Presentation, Defendants likewise assured investors that Omega

 “is accretive to Perrigo’s organize[d] growth profile, and creates additional value derived from

 synergies and increased global scale.”

        266.    Papa further touted Perrigo’s standalone growth prospects, highlighting the

 Omega acquisition:

        Now, with the successful completion of the Omega acquisition on March 30,
        Perrigo is a top 5 global OTC company, better positioned than ever to deliver on
        our leading market positions, unrivaled global manufacturing and distribution
        capabilities, unparalleled customer relationships, and broad portfolio of products
        to continue to deliver superior value for shareholders. Our confidence in the
        future, as consumers around the world increasingly seek greater choice and value
        in their healthcare, is reflected in the guidance we are providing today.

        267.    Each of Defendants’ statements set forth in ¶¶ 259-66 above was materially false

 or misleading when made, or omitted material facts necessary to render such statements not

 misleading, for the following reasons:

        a)      Numerous former Perrigo and Omega employees confirm that since its
                acquisition, Omega drastically underperformed and failed to meet both publicly
                disclosed and internal goals, as evidenced by the more than $2 billion in
                impairment charges Defendants eventually were forced to take on Omega.
                See ¶¶ 111-46, 239, 247-48, 251, 253.

        b)      Far from delivering on the Company’s Omega integration plan, according to
                numerous former Perrigo employees with direct knowledge concerning Omega’s
                integration, including Ray, CW-1, CW-4, and CW-5, Perrigo failed to migrate
                Omega’s complete financial data and performance information to Perrigo’s
                incompatible central data management system during the Relevant Period,
                including data relating to: (i) sales, including orders, returns, and discounts; (ii)
                purchases, including orders, returns, and damaged goods reports; (iii) inventory,
                including sub-ledgers, damaged goods, and obsolete goods; and (iv) accounting,
                including sub-ledgers for accounts receivable and payable. As a result, Perrigo
                had impaired visibility into trends in the Omega sales or supply chain and lacked
                an understanding of the causes of variances in projected sales or expenses because
                the Company had no access to the underlying detail. See ¶¶ 111-46.




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        c)      Despite touting operational efficiencies as a primary benefit of the Omega
                acquisition, according to Ray and CW-1, who were responsible for integration
                projects in Europe, substantive Omega financial data and performance
                information was available to Perrigo only by manual request to Omega’s
                franchises. This process would take at least three weeks for each such report and
                was highly susceptible to error. Because Omega’s financial data was non-
                automated, Perrigo relied on unconfirmed, verbal representations made by Omega
                concerning that data—many of which turned out to be incorrect—without having
                access to the underlying data in order to verify its accuracy. See ¶¶ 111-21.

        d)      Despite claiming that Omega’s market platform across European countries was a
                strategic benefit to Perrigo’s overall operations and a key driver of the Company’s
                overall growth prospects, from the start of the Relevant Period, Perrigo lacked a
                basic understanding of the European markets in which Omega operated, including
                the regulatory framework and country-specific laws applicable to Omega’s
                operations concerning, among other things, privacy of information, pricing and
                product approvals, and pricing challenges caused by EU regulations and in-
                country supplier/seller competition, which forced Perrigo to cut into its margins
                by lowering price points in the European markets in which Omega operated.
                See ¶¶ 122-25.

        e)      The Company’s financial forecasts were unrealistic, untenable, and indefensible,
                as Hendrickson has since admitted, telling investors on May 12, 2016 that the
                Company would target “realistic” forecasts “going forward.” ¶¶ 207-10.
                Multiple witnesses recounted detailed facts regarding the generation of Perrigo’s
                aggressive guidance surrounding the Omega acquisition and the pushback Perrigo
                received from Omega. ¶¶ 140-46.

        268.    Having chosen to speak publicly about Perrigo’s Omega acquisition, integration

 and its purported benefits and synergies, Defendants violated their duties to: (i) disclose the true

 and complete material facts regarding the Omega acquisition as detailed above so as to render

 Defendants’ statements not misleading; and (ii) update their statements when Defendants became

 aware of such information. Defendants’ statements and omissions are also material because

 there is a substantial likelihood that Perrigo shareholders would consider the misrepresented and

 omitted facts significant in making a decision as to whether to tender their Perrigo shares to

 Mylan or to purchase Perrigo stock.




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               2.     May 6, 2015 Deutsche Bank 40th Annual Health Care Conference

        269.   On May 6, 2015, Papa attended and spoke on behalf of the Company at the

 Deutsche Bank 40th Annual Health Care Conference, held in Boston, Massachusetts.

        270.   At the outset, Papa addressed Mylan’s Third Offer, stating “[w]e believe we have

 a very strong standalone business” and “we believe the offer from Mylan substantially

 undervalues the Perrigo Company, and doesn’t take into account really some of the important

 things that we’ve done with the Omega business.”

        271.   When asked specifically what about Omega drove Defendants’ financial

 guidance, Papa responded:

        When we signed the deal on November 6 we were very excited about Omega.
        But if anything, since that point as we closed the Omega on March 30, we’ve
        become even more excited. The excitement comes from a number of things.
        Number one, you take a company like Perrigo that was doing business in six
        countries. Now you open up, and you have 39 countries available. You have 300
        million more consumers that you have access to as a result of doing the Omega
        transaction.

        That’s a really exciting prospect for us as a Company. So we think there is
        tremendous revenue synergies for us as a business as we put these two
        businesses together. Part of that revenue synergy is very simply we take the
        Perrigo products that we have today. Some of them are already approved in
        Europe. We take those and we look at ways we can do line extensions of Perrigo
        products via the-- take a Perrigo product, a product that’s a nighttime pain
        product, match it up with the brand item that Omega has today, and you launch a
        nighttime pain product by Omega. Very simple, it takes advantage of the brand
        equity that's already in place for the Omega products. We think that's a great
        revenue synergy opportunity.

        272.   Papa further represented that:

        [O]ne of the things Omega did really well was sales marketing. One of the things
        they, by their own admission, say they were not focused on was the supply chain
        and manufacturing. We think we can help them tremendously with that. We’ve
        already got over 20 projects, identified staff to lower the cost of goods of the
        Omega product. I remind you that 79% of what Omega sells today, they
        outsource. Some of those products we can bring into a Perrigo facility or an
        Omega facility with our expertise, and lower the cost of goods by 30-40%, which
        will absolutely add to the bottom line of Omega and Perrigo.


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        273.     Following these representations, Papa concluded “[n]ow that I’ve got the Omega

 business, and we’re in 39 countries, we think the bolt-on strategy for the future can be very, very

 profitable for Perrigo shareholders as we now have a commercial footprint in these countries that

 we didn’t have before.” “[W]e’re very excited about that” and “think that brings a significant

 number of synergies.”

        274.     Each of Defendants’ statements set forth in ¶¶ 270-73 above was materially false

 or misleading when made, or omitted material facts necessary to render such statements not

 misleading, for the reasons set forth in ¶¶ 267-68 above.

                 3.      May 12, 2015 Bank of America Merrill Lynch Health Care
                         Conference

        275.     On May 12, 2015, Papa attended and spoke on behalf of the Company at the Bank

 of America Merrill Lynch Health Care Conference, held in Las Vegas, Nevada (“May 12 BoA

 Conference”).

        276.     With respect to the lingering Mylan takeover attempt, Papa again focused

 investors on the value that Omega purportedly added to Perrigo:

        What we’ve said as a board is that we believe that offer substantially undervalues
        the Perrigo Company. And specifically, we said relative to the—we’re just
        getting started with the Omega transaction, and as a result of that we think
        there is a lot more opportunity for us as a company. As we’ve gone from
        competing in approximately six countries now to about 39 countries we think
        there's a lot of opportunity for the Perrigo Company. . . . So we do think that $202
        or $187 number did significantly undervalue the Perrigo Company, especially
        given what we have now done with Omega.

        277.     Papa was then asked to identify the “most under-appreciated” aspect of the

 “Omega transaction.” He responded:

        Well, I will say for me personally even when we made the announcement on
        November 6, we thought there would be opportunity for synergy, but as now
        we’ve got more involved and closed the transaction on March 30. So from
        November 6 to March 30 we’ve become smarter about what’s in the Perrigo, I am
        sorry, within Omega and how the Perrigo products would fit within Omega,


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        relative to taking the easy example. Omega has got some great products for pain,
        but they don’t have a night time pain that also has a product in it that allows you
        to sleep better at night. It is the combination products that we have we think that
        would fit naturally into the Omega pipeline and launch new line extensions of the
        Omega pain products. That [is] a great easy example.

        278.     Papa was also asked, “[w]hen you said [the] Mylan offer severely undervalues

 and you offered new value, the $202 per share, is it the total deal value that is undervaluing or is

 it the cash-equity split that is the issue here?” Papa responded “[i]t is the total that we believe to

 be undervalue of the Perrigo Company, the $202 number that we think based on our track record

 and performance, we think our Company is worth more than that.”

        279.     Each of Defendants’ statements set forth in ¶¶ 276-78 above was materially false

 or misleading when made, or omitted material facts necessary to render such statements not

 misleading, for the reasons set forth in ¶¶ 267-68 above.

                 4.     June 2, 2015 Jefferies Global Healthcare Conference

        280.     On June 2, 2015, Papa attended and spoke on behalf of the Company at the

 Jefferies Global Healthcare Conference, held in New York, New York (“June 2 Jefferies

 Conference”).    Once again, Papa represented that “Omega and Perrigo together are well-

 positioned” and characterized Omega as “immediately accretive”:

        With Omega though, it was a perfect example of doing exactly what we did in the
        US, but now apply that to these 36 additional countries that I now have access to
        that I didn’t before. So I could not bolt on something in my German operations
        prior to Omega. I didn’t have German operations. Now I do. Now I can bolt
        things on to Germany. I can bolt things on to Sweden. That really is the logic of
        why we felt Omega was so strategically important to us, and it will allow us so
        many more opportunities to do these bolt-on transactions, which generally come
        with very good return characteristics, and why we think it’s really important for
        the future success of the Perrigo Company.

        281.     Each of Defendants’ statements set forth in ¶ 280 above was materially false or

 misleading when made, or omitted material facts necessary to render such statements not

 misleading, for the reasons set forth in ¶¶ 267-68 above.


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                 5.      June 23, 2015 Oppenheimer Consumer Conference

         282.    On June 23, 2015, Brown attended and spoke on behalf of the Company at the

 Oppenheimer Consumer Conference, held in Boston, Massachusetts.

         283.    During the conference, Brown was specifically asked to discuss the “Omega

 integration.” In response, Brown assured investors that:

         We closed the transaction on March 30, so we are about nine weeks in right now,
         and we are online—I should say in line with our going online integration process.
         Back office is working smoothly. We’re bringing them onto all of our back-
         office systems, and importantly what was the underlying core of this deal was
         allowing Omega to remain independent in their sales and marketing process, not
         interfering with that, but providing them product to put into that pipeline.

         284.    Later, Brown doubled-down on her representations concerning the Omega

 integration efforts, stating:

         We [Perrigo] have management teams who are in charge of Omega integration
         who are actively involved on a day-to-day basis in both running Omega and
         another team that is focused on helping them get those product launches, helping
         on the integration. That was underway. That was rolling down the tracks before
         the Mylan letter came out, and that continues, so it is not as if the entire
         management team suddenly stops doing everything they are doing and is focused
         exclusively on the offer.

         285.    An analyst then specifically asked Brown: “[H]as Mylan impacted the integration

 process for Omega in any way? Has there been any distraction?” In response, Brown stated in

 no uncertain terms: “No. That team continues to do what their mission is and what they have

 been scheduled to do.” Brown added “they [Omega] are more invigorated than ever by the

 combination of what we can do together. So that team is doing their thing and I am off to

 Belgium next week. That was process like normal.”

         286.    Brown also reaffirmed Perrigo’s targeted annual growth rate of 5-10%,

 specifically attributing the growth to what the Company would see “from the combined Perrigo

 and Omega footprint.”



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        287.    Each of Defendants’ statements set forth in ¶¶ 283-86 above was materially false

 or misleading when made, or omitted material facts necessary to render such statements not

 misleading, for the reasons set forth in ¶¶ 267-68 above.

                6.     August 5, 2015 Earnings Call

        288.    On August 5, 2015, Perrigo held the Company’s fourth quarter 2015 earnings call

 (“August 5 Earnings Call”), in which Papa and Brown participated on behalf of Perrigo.

        289.    During the August 5 Earnings Call, Papa again directed investors to Perrigo’s

 supposedly successful integration of Omega, stating, “[e]ven with all the noise you’ve been

 following over the past few months [concerning Mylan’s takeover bid] . . . [we] delivered on our

 Omega integration plan [and] achieved great operational efficiencies and productivity

 improvement . . . .” Brown likewise represented that “[w]e [Perrigo] continue to execute on the

 integration of Omega.”

        290.    Each of Defendants’ statements set forth in ¶ 289 above was materially false or

 misleading when made, or omitted material facts necessary to render such statements not

 misleading, for the reasons set forth in ¶¶ 267-68 above and because:

        a)      According to Ray, integration efforts were at a complete standstill at the time she
                took over as CISO in July 2015, so much so that CIO Farrington—who Papa had
                charged with integrating Omega—instructed her to discuss with Omega’s head of
                IT, Deneubourg (her direct counterpart in Belgium), to find out why no
                advancement was happening. See ¶ 114.

        b)      According to Ray, Deneubourg was out of the office from July 2015 through
                August 2015 (returning part time in September 2015 with a broken leg), such that
                integration efforts “came to a standstill.” See ¶¶ 131-33. In response, the
                integration team, including Ray, prepared a “CapEx forecast” and “Request for
                Hire.” Those requests disclosed the need for a new hire to replace Deneubourg, as
                it pertained to the stalled integration project. The request was presented to the
                Board (including Chairman Papa), but was rejected, as were numerous similar
                requests made to the Board and Papa by Farrington between August and
                November 2015. See ¶¶ 134-35; see, e.g., ¶¶ 127-39.




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        c)      In or around July or August 2015, the same time Deneubourg was out of the
                office, Coucke instructed Deneubourg to put integration to the side until Perrigo
                resolved the numerous impediments that were preventing such integration,
                according to Ray. See ¶ 135.

        d)      In August 2015, Donovan came to the U.S. specifically to meet with and brief
                Perrigo management on then-existing integration challenges with respect to
                Omega, including technology and security issues. See ¶¶ 115, 136.

        e)      During quarterly update meetings in the second half of 2015 through early 2016,
                presentations during meetings made clear that Omega was not performing and
                was not at all what Perrigo had represented it to be, according to CW-8.
                See ¶ 136.

                7.      August 6, 2015 Investor Presentation

        291.    On August 6, 2015, Perrigo filed with the SEC a Form SC14D9, attaching a

 presentation entitled, Creating Long-Term Value for Shareholders (“August 6 Presentation”),

 which focused heavily on the value added by the Omega transaction and on Perrigo’s rejection of

 Mylan’s Third Offer.

        292.    In the August 6 Presentation, Defendants represented that:              (i) the Omega

 acquisition “[s]upports [Perrigo’s] global strategy and positions Perrigo for continued European

 organic and inorganic growth”; (ii) with Omega, Perrigo has obtained “a world-class

 management team and leading European distribution network spanning at least 35 countries”;

 and (iii) the “[c]ombined commercial infrastructure, supply chain capabilities and financial

 strength enables highly synergistic bolt-on transactions.”

        293.    Following the Company’s glowing review of Omega, Defendants addressed

 Mylan’s Third Offer, representing that it was “value destructive” and telling investors that “the

 Board unanimously concluded that the offer substantially undervalues the Company and its

 future growth prospects and is not in the best interests of Perrigo’s shareholders.”

        294.    Each of Defendants’ statements set forth in ¶¶ 292-93 above was materially false

 or misleading when made, or omitted material facts necessary to render such statements not


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 misleading, for the reasons set forth in ¶¶ 267-78 and 290 above and because, in truth, the

 Omega integration was at a standstill throughout the summer of 2015.

                8.     August 13, 2015 Form 10-K

        295.    On August 13, 2015, the Company filed with the SEC the Company’s Form 10-K

 for the period ending June 27, 2015 (“2015 Form 10-K”), which was signed by Papa and Brown.

 With respect to Omega, Defendants again represented that:

        Prior to its acquisition, Omega was one of the largest OTC companies in Europe.
        The Omega acquisition expanded our OTC leadership position across Europe,
        accelerated our international expansion and geographic diversification through
        enhanced scale and a broadened footprint, and diversified our revenue and cash
        flow streams while strengthening our financial profile.

        296.    Each of Defendants’ statements set forth in ¶ 295 above was materially false or

 misleading when made, or omitted material facts necessary to render such statements not

 misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.

                9.     September 17, 2015 Press Release

        297.    On September 17, 2015, Perrigo issued a press release on Form 8-K disclosing

 that the Company’s Board recommended that Perrigo shareholders reject Mylan’s Tender Offer,

 which included a presentation entitled, Responding to Mylan’s Inadequate Tender Offer:

 Perrigo’s Board Recommends That You Reject the Offer and Do Not Tender (“September 17

 Press Release”).

        298.    In the September 17 Press Release, Defendants represented that Mylan’s Tender

 Offer “substantially undervalues the Company and does not adequately compensate shareholders

 for Perrigo’s exceptional standalone growth prospects.” Papa specifically represented that the

 Tender Offer “undervalues our compelling prospects for continued growth and sustainable, long-

 term shareholder value” because, among other things:




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         We continue to build upon our recently acquired pan-European branded consumer
         healthcare [BCH] platform . . . demonstrating our unique positioning to capitalize
         on the growing $30 billion European OTC market opportunity.

         299.    Each of Defendants’ statements set forth in ¶ 298 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.

                 10.    September 17, 2015 Conference Call

         300.    On September 17, 2015, Perrigo held a conference call to discuss Mylan’s Tender

  Offer and the Board’s recommendation that shareholders reject that Offer (“September 17 Call”),

  in which Papa participated on behalf of Perrigo.

         301.    During the September 17 Call, Papa represented that Mylan’s “current offer on

  the table is not even in the right ZIP code, when compared to Perrigo’s stand-alone value,” and

  once again stated that the Board had “unanimously determined that the offer substantially

  undervalues the Company and does not adequately compensate shareholders for Perrigo’s

  exceptional growth prospects.” To further allay investors’ concern, Papa touted the success of

  the Omega acquisition, declaring that “the Omega transaction . . . has done outstanding.”

         302.    Each of Defendants’ statements set forth in ¶ 301 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.

                 11.    September 17, 2015 Letter to Shareholders

         303.    On September 17, 2015, Perrigo filed with the SEC a letter on Form SC14D-9

  from Papa concerning the Mylan Tender Offer. Therein, Papa once more stated that “Mylan’s

  offer not only fails to reflect Perrigo’s outstanding track record of value creation, it also

  undervalues our compelling prospects for continued growth and sustainable, long-term

  shareholder value,” which includes “build[ing] upon our recently acquired pan-European


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  [Omega] branded consumer healthcare platform . . . .” In addition, the letter stated that “[t]he

  directors of Perrigo,” including Papa, “accept responsibility for the information contained in this

  announcement. To the best of the knowledge and belief of the directors (who have taken all

  reasonable care to ensure such is the case), the information contained in this announcement is in

  accordance with the facts and does not omit anything likely to affect the import of such

  information.”

         304.     Each of Defendants’ statements set forth in ¶ 303 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.

                  12.    September 17, 2015 Morgan Stanley Healthcare Conference

         305.     Also on September 17, 2015, Papa attended and spoke on behalf of the Company

  at the Morgan Stanley Healthcare Conference, held in New York, New York.

         306.     At the outset, Papa was asked how Perrigo was “driving the organization to

  execute” on its growth agenda. In response, Papa identified Omega as a driving force in that

  growth, stating:

         Our concept is we believe we have a base business that’s going to be able to grow
         that 5% to 10% especially now that we’ve added the Omega business. We just
         closed Omega on March 30. So now we’ve got Omega, which allows us not
         [only] to compete in the six countries where we were before Omega. But now
         we’re up to 39 countries. So a tremendous expansion of our geographic foot
         print, very important to us.

         307.     With respect to Mylan’s Tender Offer, which had been launched that same day,

  Papa concluded, “[w]e always said that Perrigo is not against deals. We’re just against this deal,

  because it’s a bad deal.”




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         308.    Each of Defendants’ statements set forth in ¶¶ 306-07 above was materially false

  or misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.

                 13.     October 22, 2015 Earnings Call and Presentation

         309.    On October 22, 2015, Perrigo held the Company’s third quarter 2015 earnings call

  (“October 22 Earnings Call”), in which Papa participated on behalf of Perrigo. In conjunction

  with the October 22 Earnings Call, Perrigo issued an investor presentation, Creating Value for

  Shareholders: Now and For the Long Term (“October 22 Presentation”).

         310.    With respect to Omega, Papa represented during the October 22 Earnings Call

  that “we [Perrigo] built up the platform with the acquisition of Omega, which has enabled us to

  provide quality healthcare products to hundreds of millions more consumers globally. We are

  continuing to build on this platform, realizing even greater benefits than we initially expected.”

         311.    In the October 22 Presentation, Defendants repeated the statements set forth in ¶

  310 above.

         312.    Each of Defendants’ statements set forth in ¶¶ 310-11 above was materially false

  or misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.

                 14.     November 2, 2015 Form 10-Q

         313.    On November 2, 2015, the Company filed with the SEC the Company’s Form 10-

  Q for the period ending September 26, 2015. The Form 10-Q was signed by Papa and Brown.

  Therein, Defendants again represented that:

         Omega was a leading European OTC company, and is providing us several key
         benefits, including advancing our growth strategy outside the U.S. by providing
         access across a larger global platform with critical mass in key European
         countries, establishing commercial infrastructure in the high-barrier-to-entry
         European OTC marketplace, strengthening our product portfolio while enhancing


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         scale and distribution, enhancing our financial profile, and expanding our
         international management capabilities.

         314.    Each of Defendants’ statements set forth in ¶ 313 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.

                 15.       January 5, 2016 Goldman Sachs Healthcare Conference

         315.    On January 5, 2016, Papa attended and spoke on behalf of the Company at the

  Goldman Sachs Healthcare Conference, held in New York, New York.

         316.    During the conference, Jami Rubin, a Goldman Sachs’ analyst, asked Papa the

  following questions about Omega’s integration and the revenue synergies Defendants had

  repeatedly touted throughout the Relevant Period:

         Let’s talk about the integration of Omega. That’s, I think, pretty much behind
         you. A big part of that Omega story was generating leverage—generating
         revenue synergies from Omega. How are you levering—A, are you getting that
         revenue synergy? How are you getting it? And how are you leveraging Omega
         across Perrigo?

  Papa, without correcting Rubin’s statement that the Omega integration was “pretty much behind

  [Perrigo],” responded:

         [W]e felt there would be revenue synergies of $100 million-plus and cost-of-
         goods-sold synergies in the order of magnitude of the $25 million range. We still
         feel very good about those—certainly on the cost-of-goods-sold synergies. We
         clearly are seeing projects in place that are going to generate far superior to $25
         million just by simply either bringing some of the products that were outsourcing
         inside and/or things that we are doing just to leverage the Perrigo supply chain to
         get better raw material costs. So we feel very good about that.

         317.    Each of Defendants’ statements set forth in ¶ 316 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.




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                 16.    January 11, 2016 JPMorgan Healthcare Conference

         318.    On January 11, 2016, Papa attended and spoke on behalf of the Company at the

  JPMorgan Healthcare Conference, held in New York, New York. During the Conference, Papa

  made the following statements concerning Omega:

         Our branded consumer healthcare is a business that we acquired, the Omega
         Company. We acquired Omega and closed the transaction on March 30 of 2015
         and it’s one of the things that we think is very important to our future. First and
         foremost, it moved us from a company competing in approximately 6 countries
         to a Company now than being in 39 countries. So dramatically expanded our
         geographic footprint, which we think is important for our future. Number two:
         we are now top five over-the-counter company in Europe. In fact, one of the
         fastest-growing over-the-counter companies in Europe. We also think it well
         positions us for additional M&A in the branded consumer healthcare space in
         Europe as there is additional opportunities to roll up additional consumer assets
         in the rest of Europe. So we are very excited about that. Within Omega, we
         compete in very large segments: cough, cold, allergy, analgesics, etc. And we
         try to find those where there’s some unmet needs because of either formulation
         or something that we can do to make our product unique to the consumers. We
         also have some niche products where we are number one in the category.
         Importantly, as we think about the future, with our branded consumer healthcare
         business, we think there is over $200 million of new product sales in our branded
         consumer healthcare business from 2016 to 2018.

         319.    Each of Defendants’ statements set forth in ¶ 318 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶¶ 267-68, 290, and 294 above.

         B.      Statements Concerning Generic Drug Pricing

         320.    As discussed above, Perrigo was engaged in elicit price-fixing for multiple

  generic drugs beginning several years prior to the Relevant Period. During the Relevant Period,

  Defendants routinely omitted the highly material fact that Perrigo was engaged in price collusion

  with its competitors to keep their profits up and misrepresented the competitive nature of the

  Company’s participation in the generic pharmaceutical markets. In addition, given the increased

  competition in the U.S. generic drug industry in which Perrigo operated and regulatory scrutiny



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  in that industry, Defendants were asked on a regular basis during the Relevant Period how that

  competition and scrutiny was impacting Perrigo’s generic drug pricing and pricing strategy. In

  each instance, Defendants falsely denied that Perrigo was feeling the impact of any “pricing

  pressures” and in fact, with few exceptions, falsely claimed that Perrigo was immune to such

  pressures.

                 1.      April 21, 2015 Rejection Call and Presentation

         321.    During the April 21 Rejection Call, Papa was asked whether pricing in the generic

  drug industry would impact Perrigo’s business and growth prospects.               In response, Papa

  explained that Perrigo intended, as it always had in the past, to “keep pricing flat to up slightly”

  and that he was “very comfortable that, certainly in our current year in our calendar 2015, as we

  look to the future, we can keep pricing flat to up slightly,” in spite of the pricing pressures in the

  industry.

         322.    In the April 21 Presentation, the Company projected 8%-12% net sales growth for

  the Generic Rx division. The presentation slides explained that the “directors of Perrigo accept

  responsibility for the information contained in this presentation. To the best of the knowledge

  and belief of the directors of Perrigo (who have taken all reasonable care to ensure such is the

  case), the information contained in this presentation is in accordance with the facts and does not

  omit anything likely to affect the import of such information.”

         323.    Each of Defendants’ statements set forth in ¶¶ 321-22 above was materially false

  or misleading when made, or omitted material facts necessary to render such statements not

  misleading, because, as discussed in ¶¶ 24-28 and 147-71 above, in reality, pricing levels for

  Perrigo’s U.S. generic drugs were unsustainable as a result of increased market competition,

  caused in large part by accelerated approvals of generic drug applications by the FDA and U.S.

  regulatory scrutiny into generic drug industry pricing.         Moreover, Defendants’ statements


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  concealed the fact that Perrigo was engaged in price collusion with its generic drug competitors,

  as discussed in ¶¶ 172-206 above, and misrepresented the competitive nature of the Company’s

  participation in the generic drug markets. Specifically, Defendants made materially false and/or

  misleading statements which had the effect of concealing, and/or failed to disclose, that: (i)

  Perrigo and several of its pharmaceutical industry peers engaged in anti-competitive conduct by

  colluding to fix generic drug prices; (ii) the foregoing conduct constituted anti-competitive

  conduct; and (iii) consequently, Perrigo’s pricing decisions and strategy were based on anti-

  competitive conduct, as discussed above. By electing to speak publicly about Perrigo’s generic

  drug business—specifically, pricing and competition for generic drugs—and thereby putting

  these subjects into play, Defendants had a duty to fully, completely, and truthfully disclose all

  material facts regarding generic drug pricing, competition, and revenues so as to not mislead

  investors. As a result of the foregoing, Defendants’ public statements were materially false or

  misleading at all relevant times. Defendants’ statements and omissions are also material because

  there is a substantial likelihood that Perrigo shareholders would consider the misrepresented and

  omitted facts significant in making a decision as to whether to purchase Perrigo stock.

                 2.     May 12, 2015 Bank of America Merrill Lynch Conference

         324.    During the May 12 Bank of America Conference, Papa assured investors once

  more that the Company intended to keep pricing “flat to up slightly”:

         Obviously it’s a competitive market out there. There is always going to be—in a
         pricing world somebody is going to gain some share, somebody is going to lose
         some share.

         I think as a general rule, what I’ve tried to do with pricing at Perrigo in the eight
         years, nine years, I’ve been a part of the company is to keep pricing flat to up
         slightly. And if I do that, I believe that puts me in the best long-term position to
         deliver shareholder value for the Company.

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         [A]nd I think we’re just going to certainly try to continue to make good decisions
         on that pricing, because I think as you've seen in our business, we’ve been able to
         drive some very significant growth, both on the top-line and the bottom-line for
         the company relative to our operating margins in the mid-40%s.

         325.    Each of Defendants’ statements set forth in ¶ 324 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

                 3.         June 2, 2015 Jefferies Global Healthcare Conference

         326.    During the June 2 Jefferies Conference, Papa was asked to comment on Perrigo’s

  pricing strategy, and again reaffirmed the viability of the Company’s “flat to up slightly”

  strategy, representing:

         That’s what we do on our pricing for our business. Across all the Perrigo
         segments, the consumer segment, the nutrition segment, the Rx segment and the
         API segment; we try to take a view on pricing across that total portfolio, with a
         goal of keeping our pricing flat to up slightly.

         Now in any individual category, like Rx, there may be more upside. But we’re
         recognizing that there is going to be some products in Rx that I’m going to have
         to decrease for competitive reasons, as well as increase some. So what we try to
         do is take a holistic view across that total portfolio, and keep pricing flat to up
         slightly.

                                                  ***
         I will say, over the last several years to be fair, there’s been more pricing upside
         in the Rx category than perhaps some of the other categories. But we still take
         that kind of total portfolio view of keeping pricing flat to up slightly as a view.

         327.    Each of Defendants’ statements set forth in ¶ 326 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

                 4.         August 5, 2015 Earnings Call

         328.    During the August 5 Earnings Call, Papa was asked “where we are in this price

  increase dynamic and how sustainable you feel like those increases are?” Papa responded: “On




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  the generics and the pricing environment, our team has done a great job at looking at pricing . . . .

  Across the portfolio we think there are still opportunities to do pricing.” Papa added “we think

  we have got a strong Rx business.          And we look to still find some additional pricing

  opportunities for the future.”

         329.     Each of Defendants’ statements set forth in ¶ 328 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

                  5.      August 13, 2015 Form 10-K

         330.     The 2015 Form 10-K was signed by Brown and falsely stated that the Generic Rx

  division “operate[d] in a highly competitive environment” and “face[d] vigorous competition

  from other pharmaceutical companies that may threaten the commercial acceptance and pricing

  of our products” and further stated that “[t]he market for Rx pharmaceuticals is subject to intense

  competition from other generic drug manufacturers.” In addition, Perrigo listed Actavis (a/k/a

  Allergan), Glenmark, Mylan, Sandoz, and Taro as among its “generic drug manufacturer

  competitors.”

         331.     Each of Defendants’ statements set forth in ¶ 330 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

                  6.      October 22, 2015 Earnings Call and Presentation

         332.     During the October 22 Earnings Call, Defendants Perrigo and Papa made the

  following materially false or misleading statements in response to an analyst question regarding

  generic drug pricing:

         Our total strategy for pricing, as I have said I think on numerous calls, is keep
         pricing flat to up slightly, which means that yes, some products we may attempt to
         the raise price there, but in other products we’re bringing the price down. So


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         think about us as keeping pricing flat to up slightly as really the way we’re going
         to look at our total portfolio.

         Whether we’re talking about any specific product or any specific category or any
         segment of our business, the overall comment is flat to up slightly for our pricing.
         And I think that's really the best place for the long, sustainable consistent
         approach to pricing that we've had in the past and will in the future.

         333.    During that same call, Brown told the market that “nearly all of [Perrigo’s]

  revenues are insulated from the current pricing drama you see playing out in the

  pharmaceutical industry today.”

         334.    Also on October 22, 2015, Perrigo released inflated profit forecasts for calendar

  years 2015 and 2016.        The October 22 Presentation in which these profit forecasts were

  published indicated that:

         The directors of Perrigo accept responsibility for the information contained in this
         presentation. To the best of the knowledge and belief of the directors of Perrigo
         (who have taken all reasonable care to ensure such is the case), the information
         contained in this presentation is in accordance with the facts and does not omit
         anything likely to affect the import of such information.

  Additionally, Perrigo and Papa indicated that the guidance constituted “profit forecast[s]” under

  Rule 28.1 of the Irish Takeover Rules. This statement was intended to, and did, assure investors

  that the Company had compiled the profit forecasts and “the assumptions upon which [they are]

  based” using “scrupulous care, accuracy and objectivity by the directors” as Irish Takeover

  Rule 28.1 requires.    Perrigo’s profit forecasts guided investors to expect adjusted diluted

  earnings per share (EPS) of $7.65-$7.85 in calendar year 2015, and $9.30-$9.83 in calendar year

  2016. In a letter attempting to justify this inflated model, Perrigo and Papa indicated that they

  assumed that 2016 net sales for the Generic Rx segment would grow organically in the middle of

  the 8%-12% guidance they had previously published, and that the competitive environment

  would not change.




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         335.    Each of Defendants’ statements set forth in ¶¶ 332-34 above was materially false

  or misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

                 7.      January 5, 2016 Goldman Sachs Healthcare CEOs Conference

         336.    During the January 5 Goldman Sachs Conference, Papa made the following

  materially false or misleading statements:

         Number one, our goal – I’ve been at Perrigo nine years. My goal in pricing has
         been the same for the nine years: try to keep my pricing flat to up slightly. Now,
         to be clear, what that means is that I’m taking some products up, and some
         products can be competition and I’m taking them down. On balance, what I’ve
         tried to – what I strive very hard to achieve is what I would call pricing flat to up
         slightly.

         Now, within a category like let’s use the generic Rx products, there may be more
         volatility up or down in products. Certainly there’s more than generics than there
         is in my consumer business. My consumer business has very minimal volatility.
         So that’s what I’ve strived to accomplish.

         Is there a place now as we sit here today that there’s going to be less pricing? I
         think the answer really is – I’m a believer in economic theory. It all comes
         down to supply and demand. In other words, if there are five players, 10 players
         supplying drug, I can pretty much tell you what the price points are going to be.
         It’s going to be your cost of goods plus 10%. It’s going to find its way down to
         that level.

         In a case where there’s only two or three players, it’s – you are going to make
         better margins. And that's why we have purposely tried not to be in the
         commodity generics but to stay in the extended topicals.

         Do I think the point of your question is [sic] there going to be more price
         competition in even things like dermatology? Yes, I do because there are some
         people coming in.

         337.    Each of Defendants’ statements set forth in ¶ 336 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.




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                 8.      February 18, 2016 Earnings Call

         338.    On February 18, 2016, Perrigo announced fourth quarter calendar year results and

  held a conference call, in which Defendants Papa and Brown made the following materially false

  or misleading statements:

         Brown: Were you to go through and accumulate the comments we made each
         quarter throughout calendar 2015 on new products in Rx, new product contributed
         approximately $121 million over the course of those four quarters. And pricing
         wise, we did see some pressure, give or take, in the total portfolio over the
         course of the year, approximately 1%.

         Papa: And the latter part of your question, it really talks about the pricing
         dynamics and what we’re thinking about and looking at for the future. And I’d
         say the following. Are there some incremental product competition that we’re
         going to face? The answer is yes.

         However, what we’ve tried to do at the Perrigo Group is not just stay focused only
         on dermatology. As you know, we’ve moved into what I would refer to as
         extended topicals. So those are things beyond just certainly dermatology, but
         respiratory, nasal, ophthalmic.

         And with those product categories – for example, at the end of the year, we’ll
         launch our ProAir product in terms of a meter-dosed inhaler for respiratory –those
         are the things that are giving us great strength in our Rx category. And as we
         believe, that will give us a very high gross margin and operating margin,
         certainly as we think about the 2016 and beyond. So, we like what we see in
         terms of our ability to launch these new products and what they mean for gross
         margins and operating margins.

         339.    Each of Defendants’ statements set forth in ¶ 338 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

                 9.      February 25, 2016 Form 10-KT

         340.    On February 25, 2016, Perrigo filed a report on Form 10-KT for the fiscal six

  month stub period ending December 31, 2015 (“2015 Form 10-KT”). The 2015 Form 10-KT

  was signed by the Defendants Papa and Brown, and falsely stated that, as a manufacturer of

  generic versions of brand-name drugs, Perrigo “operate[d] in a highly competitive environment”


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  and “face[d] vigorous competition from other pharmaceutical companies that may threaten the

  commercial acceptance and pricing of our products” and further stated that “[t]he market for Rx

  products is subject to intense competition from other generic drug manufacturers.” In addition,

  Perrigo listed Actavis (a/k/a Allergan), Glenmark, Mylan, Sandoz, and Taro as among its

  “generic drug manufacturer competitors.”

         341.    Each of Defendants’ statements set forth in ¶ 340 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

                 10.     May 12, 2016 Earnings Call

         342.    On May 12, 2016, Perrigo announced first quarter calendar year 2016 results and

  held a conference call (“May 12 Call”), in which Defendants Perrigo and Brown made the

  following materially false or misleading statements:

         During the quarter, we experienced 24 competitive launches against our portfolio,
         producing sharp price erosion in a number of topical products we sell. These
         factors, combined with continued pricing pressure due to the consolidation of the
         large buying cooperative groups, and the absence of significant new products in
         the quarter, further impacted our ability to execute on our planned pricing
         strategies.

         Despite all of this, however, the team was able to maintain its extended topicals
         leadership position in the quarter. These pricing pressures impacted both the
         adjusted gross and operating margins, accounting for the decline you see here
         year-over-year.

         343.    The statements set forth in ¶ 342 above were materially false or misleading or

  omitted material facts about the Company’s business, operations and growth. Specifically,

  Defendants made materially false and/or misleading statements which had the effect of

  concealing, and/or failed to disclose, that Perrigo and several of its pharmaceutical industry peers

  engaged in anti-competitive conduct by colluding to fix generic drug prices, as discussed above

  in ¶ 323.


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                 11.     May 16, 2016 Press Release

         344.    On May 16, 2016, Perrigo issued a press release announcing first quarter calendar

  year 2016 results, in which it made the materially false or misleading statements, that “the Rx

  segment delivered strong margins in an increasingly challenging pricing and competitive

  environment,” and that “[f]irst quarter adjusted operating income of $117 million decreased by

  3% compared to the prior year, primarily driven by industry pricing and competitive pressures.”

         345.    Each of Defendants’ statements set forth in ¶ 344 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

                 12.     May 16, 2016, August 10, 2016 and November 10, 2016 Forms 10-Q

         346.    Also on May 16, 2016, the Company filed a Quarterly Report on Form 10-Q for

  the first quarter of calendar year 2016 (“May 16 Form 10-Q”). The Quarterly Report was signed

  by Defendant Brown and falsely stated that the Company had experienced “a recent reduction in

  pricing expectations in our U.S. businesses from historical patterns, in particular in our Rx

  segment due to industry and competitive pressures in the sector,” which it attributed in part to

  “competition in specific product categories.”

         347.    Perrigo’s Forms 10-Q for the second and third calendar quarters of 2016, dated

  August 10, 2016 (“August 10 Form 10-Q”) and November 10, 2016 (“November 10 Form 10-

  Q”), respectively, were also signed by Defendant Brown, and contained substantially similar

  statements as in ¶ 346 above.

         348.    Each of Defendants’ statements set forth in ¶¶ 346-47 above was materially false

  or misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.




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                 13.     May 24, 2016 UBS Global Healthcare Conference

         349.    On May 24, 2016, Defendant Brown participated in the UBS Global Healthcare

  Conference and made the following materially false or misleading statements:

         So, now, if you’re trying to say, of that basket, how much is pressure versus
         specific pricing initiatives, in some cases, one could say that they’re intrinsically
         linked. What do I mean? We saw a dynamic in Q1 of products being launched
         against us when we didn’t have our product launches right at that time. So, we
         saw some competitive pressure. We’ll have our products launching later in the
         year, but we got the pressure at this point and weren’t ready with our own
         launches at that moment.

         Now, you start to say: Okay. Now, we’re seeing a different pricing dynamic for
         the remainder of the year. We have some price increases slated over the rest of
         the calendar year.

         How do we feel? Are those really going to happen? Are we going to have some
         pressure on being able to execute against that tactical plan in our price increases?
         Will there be challenges? So, is that directly pricing pressure from the
         consortia, or is it really a situation of indirect? And is it our own reticence
         perhaps to be able to execute on those specific actions?

         So, they’re linked. So, you think, of the changing guidance, more than half is Rx.
         And of those changes, it’s linked to the environment. It’s linked to how well
         we’ll be able to execute on those remaining plans because of the environment, as
         well as some things, the dynamic that happened in Q1 that flows through,
         obviously, for the rest of the year.

         350.    Each of Defendants’ statements set forth ¶ 349 above was materially false or

  misleading when made, or omitted material facts necessary to render such statements not

  misleading, for the reasons set forth in ¶ 323 above.

         C.      Statements Containing Perrigo’s Financial Guidance

         351.    Faced with Mylan’s hostile takeover attempt, Defendants issued financial

  guidance that lacked a reasonable basis and cloaked Perrigo’s true financial condition and

  prospects, as such guidance did not take into account the true value of the Omega acquisition and

  Perrigo’s problems with the Omega integration (set forth in ¶¶ 111-46 above), as well as

  Perrigo’s true exposure to pricing pressures in the generic drug industry (set forth in ¶¶ 147-71


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  above), thereby misrepresenting Perrigo’s involvement in price collusion for generic drugs (set

  forth in ¶¶ 172-206 above). Such financial guidance was also misleading because, at the time it

  was issued, Defendants did not disclose specific, material information which, had it been

  disclosed, would have reasonably called into doubt Perrigo’s financial guidance. Having elected

  to issue financial guidance, Defendants violated their duties to: (i) disclose such specific

  information so as to render Perrigo’s financial guidance not misleading; and (ii) update Perrigo’s

  financial guidance when Defendants became aware of such information. Defendants’ financial

  guidance statements are also material because there is a substantial likelihood that Perrigo

  shareholders would consider the misrepresented and omitted facts significant in making a

  decision as to whether to tender their Perrigo shares to Mylan.

         352.    The materially false or misleading financial guidance statements issued by

  Defendants are set forth below within ¶¶ 353-58.

                 1.      August 5, 2015 Earnings Release

         353.    On August 5, 2015, Perrigo filed with the SEC a Form 8-K announcing second

  calendar quarter results (“August 5 Earnings Release”). The August 5 Earnings Release was

  signed by Brown. Therein, Perrigo and Papa reaffirmed its adjusted earnings guidance for 2015,

  representing to investors that “[t]he Company continues to expect calendar year 2015 adjusted

  earnings per diluted share of $7.50 to $8.00.”

         354.    The statements set forth in ¶ 353 were materially false or misleading and issued

  without a reasonable basis for the reasons set forth in ¶ 351 above.

                 2.      October 22, 2015 Press Release and Presentation

         355.    On October 22, 2015, Perrigo issued a press release on Form 8-K announcing its

  third quarter 2015 financial results, which was signed by Brown (“October 22 Press Release”).

  Therein, Perrigo narrowed its guidance for 2015 adjusted earnings to a range between $7.65 and


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  $7.85 per diluted share, and also announced 2016 adjusted earnings guidance of $9.30 per

  diluted share (or $9.45 per diluted share inclusive of a planned share repurchase plan).

         356.      Among other things, Papa reiterated that the Company’s “durable business model

  and future growth prospects are self-evident as we continue to deliver value for our

  shareholders.”        These representations were repeated in substantial form in the Company’s

  October 22 Presentation.

         357.      The statements in ¶¶ 355-56 were materially false or misleading and issued

  without a reasonable basis for the reasons set forth in ¶ 351 above.

                   3.       January 11, 2016 Earnings Release

         358.      On January 11, 2016, Perrigo issued a press release on Form 8-K announcing its

  updated 2016 full year adjusted earnings guidance. Specifically, the Company increased its 2016

  adjusted earnings guidance from $9.45 per diluted share to a range of $9.50 to $10.10 per diluted

  share, an increase of 24% to 29% over 2015 adjusted earnings per diluted share guidance range

  of $7.65 to $7.85. These statements were materially false or misleading and issued without a

  reasonable basis for the reasons set forth in ¶ 351 above.

  VII.   ADDITIONAL ALLEGATIONS OF SCIENTER

         359.      Defendants were active and culpable participants in the fraud, as evidenced by

  their knowing or reckless issuance and/or ultimate authority over Perrigo’s and the Individual

  Defendants’ materially false or misleading statements and omissions. The Individual Defendants

  acted with scienter in that they knew or recklessly disregarded that the public statements set forth

  in Section V above were materially false or misleading when made, and knowingly or recklessly

  participated or acquiesced in the issuance or dissemination of such statements as primary

  violators of the federal securities laws. In addition to the specific facts alleged above, including

  in ¶¶ 104-228 regarding Defendants’ personal knowledge and/or reckless disregard of the falsity


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  of the materially false misrepresentations and omissions, Defendants’ scienter is further

  evidenced by the following facts:

         360.   First, Perrigo’s sale of OTC products through Omega—which, as the Company

  represented, provided it access to over thirty additional countries following the acquisition—was

  the Company’s core international operation through the BCH segment during the Relevant

  Period. As discussed above (see ¶¶ 92-99), Omega comprised almost the entirety of the BCH

  segment, and OTC sales through Omega’s network accounted for nearly all of Perrigo’s revenues

  and operations within BCH during the Relevant Period. Moreover, throughout the Relevant

  Period, Defendants repeatedly identified Omega as the primary driver of Perrigo’s growth

  prospects and standalone value.

         361.   The Individual Defendants each had a substantial role in overseeing the Omega

  integration. For example, Papa told investors on June 2, 2015: “I had to integrate the Omega

  organization.” Brown assured investors on June 23, 2015 that Mylan’s takeover bid had not

  “distract[ed]” the integration process for Omega and stated “[t]hat the [integration] team

  continues to do what their mission is and what they had been scheduled to do” and that she was

  “off to Belgium” to meet with that team.

         362.   Moreover, the Individual Defendants each had access to detailed information

  concerning Omega, including the numerous material issues that plagued Perrigo’s efforts to

  integrate Omega. This information was transmitted and learned through regular meetings and

  other communications, including those with Farrington who, as Perrigo’s CIO, was the “specific

  person that [Papa] had designated in [the] Company who heads up all my integrations” and was

  responsible for attempting to “successfully integrate Omega,” according to CW-1. Consistent

  with his designation and subsequent responsibilities, according to CW-1, Farrington made it




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  clear that he met and conversed regularly with Papa and Brown, as well as Coucke and other

  Board members and senior members of Papa’s team, and was in daily contact with Papa. In

  CW-1’s words, “if not on speed dial with each other, [they were] pretty darn close.” Ray

  likewise understood that Brown met with Farrington at least weekly and was aware of the

  integration issues and failures.

         363.    As detailed above, CIO Farrington was fully aware of the crippling issues with the

  Omega integration project, holding weekly or bi-weekly meetings with senior members of

  Perrigo’s IT leadership team, mandating weekly reporting from the integration teams, and

  convening regular conference calls with senior level personnel at both Perrigo and Omega to

  discuss compliance and regulatory issues relating to data integration. See, e.g., ¶¶ 114, 120, 127-

  31, 133-34, 136, 141. These meetings and calls were attended by and specifically recalled by

  multiple witnesses, including Ray and CW-1. Among other specific information that Farrington

  provided to Papa and other senior members of Perrigo leadership, Farrington confirmed to Ray

  that he had reported the Omega data migration issues to Papa and sought assistance at the highest

  levels—from Papa and Perrigo’s Board—to remedy those issues. See ¶¶ 129, 133-36. Ray

  recounted that Farrington told Papa during the summer of 2015 that the migration had not

  occurred, the project was stalled, and Deneubourg was injured.          Ray further recalled that

  Farrington had spoken directly with Papa about dedicating funds to hire an assistant for

  Deneubourg to restart integration. According to Ray, Farrington told the integration team that he

  attempted (without success) to make the case for the position several times to Papa during the

  August 2015 through November 2015 timeframe. As discussed above, Farrington’s request was

  expressly rejected by Papa and the Board in August 2015 and again in October 2015. ¶¶ 133-36.




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         364.    In addition to the information that the Individual Defendants received from CIO

  Farrington on a regular basis, during July and August 2015, Omega’s senior-most executives

  made repeated efforts to report integration issues and pricing concerns to Papa and Brown, who,

  in reckless fashion, disregarded and put blinders on to these adverse reports. Furthermore,

  during quarterly update meetings in the second half of 2015 through early 2016, which were

  attended by CW-1, slide presentations were made which showed that Omega was struggling and

  failing to meet its performance goals. See ¶ 146. These slides were viewed by Brown and were

  presented by her to the executive team.

         365.    At a minimum, the Individual Defendants were reckless in falsely touting the

  Company’s growth prospects and issuing unrealistic guidance based on Omega without having

  full transparency into Omega’s financial data. See ¶¶ 111-47.

         366.    Second, Perrigo’s production of generic drugs through the Company’s Rx

  segment was also a core operation of the Company during the Relevant Period. During a

  January 13, 2014 healthcare conference prior to the Relevant Period, Papa represented to

  investors that “[our] generic Rx segment, has been a real star for us.” In fiscal year 2015, Rx

  contributed 22% to Perrigo’s consolidated net sales.       Analysts covering Perrigo during the

  Relevant Period identified “intensifying competition and lower pricing” as among the chief risks

  to Perrigo achieving the analysts’ stated price and earnings targets and as the basis for

  downgrades to Perrigo’s common stock ratings. For example, on April 26, 2016, the S&P

  lowered all of its ratings of Perrigo, explaining that the downgrade reflected our expectation for,

  among other things, “weakness in Perrigo’s high-margin generic pharmaceutical business,

  largely resulting from intensifying competition and lower pricing,” suggesting that the market




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  considered Perrigo’s “high-margin generic pharmaceutical business” to be a primary determinant

  of the Company’s bottom line.

         367.    Papa and Brown, who, as CEO and CFO, were the Company’s senior-most

  executives, knew that pricing pressures in the generic drug industry were impacting (or were

  reasonably likely to impact in the near future) Perrigo’s Rx segment. Both Papa and Brown

  claimed to have personal knowledge of Perrigo’s pricing strategy in the Rx segment and the

  Company’s ability to withstand pricing pressures in the generic drug industry. Moreover, Papa

  and Brown had access to information concerning, among other things, the increased competition

  in the U.S. generic drug market and the FDA’s ramped-up approval of generic drug applications.

  Indeed, these Defendants knew the immense regulatory scrutiny was aimed at driving down the

  price of generic drugs, which had reached unsustainable levels. Throughout the Relevant Period,

  Perrigo maintained a comprehensive list of competitor companies that had filed ANDAs with the

  FDA for products that would, if approved, compete with Perrigo’s products. See ¶¶161-71

  above. Perrigo was also keenly focused on and monitored the FDA approval process, and thus

  was aware of when and how drugs would hit the market. Id. Papa and Brown therefore had

  access to information concerning applications in the FDA pipeline for generic drugs that would,

  once approved, rival Perrigo’s stable of generics. At a minimum, the Individual Defendants

  were reckless in falsely stating that the Company was “insulated” from negative pricing

  pressures and was keeping pricing “flat to up slightly” despite those pressures.

         368.    Third, Perrigo’s price collusion with its generic drug rivals exhibited all the

  hallmarks of fraudulent intent, including:

         a)      There were no material increases in demand or production costs or reported
                 supply shortages for Perrigo’s generic drugs that would justify or otherwise
                 explain the dramatic and concerted price increases for these drugs and Perrigo’s
                 competitors’ generic drugs. (¶¶ 29, 180). The more compelling explanation for



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             these price increases is price collusion between Perrigo and its competitors, as
             evidenced by: (i) the sudden and astronomical nature of the increases; (ii) the fact
             that the increases occurred in concert with the Company’s competitors; and (iii)
             the fact that the increases typically occurred shortly after the industry conferences
             or events attended by Perrigo representatives. (¶¶ 170-96). Moreover, the price
             increases operated as a “one-way ratchet”: the drug prices never decreased
             following the initial price increases to their pre-increase equilibrium price points
             as one would expect if the sudden price increases reflected temporary supply
             shortages, cost increases, or other benign market explanations. (¶¶ 29, 170-96).

        b)   Price increases of the magnitude alleged herein would have been contrary to
             Perrigo’s economic interest absent an agreement to fix prices. Without the
             certainty that all of the Co-Conspirators would raise and maintain the prices for
             their generic drugs, each Co-Conspirator risked getting undercut by the others,
             leading to a loss of market share and revenue. This risk was alleviated by the Co-
             Conspirators’ agreement to raise and maintain their prices.

        c)   Perrigo and the Individual Defendants had a demonstrable motive to fix prices
             with Perrigo’s competitors which derives from the nature of the U.S. generic drug
             market itself. As discussed above (¶ 150), because federal law requires each
             generic pharmaceutical to be readily substitutable for another generic of the same
             brand drug, competition will cause prices to fall until they near generic
             drugmakers’ marginal production costs. This is confirmed by the price
             movements alleged herein, which show that prior to the alleged price collusion
             among Perrigo and the Co-Conspirators, the prices of Desonide, Clobetasol,
             Econazole, Permethrin, Tretinoin, and Halobetasol Propionate had stabilized.
             (¶¶ 170-96). This stabilization of prices in turn caused Perrigo’s profits to level
             off, thus giving Perrigo and its Co-Conspirators a common motive to conspire to
             raise prices.

        d)   Perrigo and the Company’s representatives had substantial opportunities at
             industry conferences and events to collude on prices. Given the frequency and
             regularity of these conferences, there is a strong inference that the various
             participants in the alleged price-fixing schemes were well-acquainted with each
             other, bolstering the likelihood that these participants entrusted each other to
             engage in, and jointly conceal, the illicit price-fixing.

        e)   As described above (¶¶ 153-55, 174), the historic rise in generic drug prices
             before and during the Relevant Period was well publicized. These price increases
             led Congress to commence an industry-wide investigation beginning in 2014.
             This Congressional investigation, the subsequent DOJ subpoenas to Perrigo’s Co-
             Conspirators (including Allergan, Mylan and Taro), and the widespread publicity
             surrounding the price hikes that spawned these investigations, gave rise to a duty
             to investigate the existence of price collusion and a duty to monitor changes in the
             Company’s generic drug pricing. These duties to investigate and monitor fell
             upon the Individual Defendants as the Company’s senior-most executives who
             were responsible for signing and attesting to the accuracy of the Company’s


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                 filings with the SEC and addressing market analysts and the investing public
                 during earnings calls. At a minimum, Perrigo’s and the Individual Defendants’
                 false or misleading statements were recklessly made, in dereliction of their duty to
                 investigate perceived anti-competitive behavior and their duty to monitor changes
                 in the pricing of the Company’s core products.

         f)      The Individual Defendants, who were the Company’s senior-most executives,
                 were aware of the historically colossal price increases and the reasons for these
                 increases. The Individual Defendants had access to information concerning these
                 price increases, including the Company’s pricing models described above (¶ 197).
                 At a minimum, they were reckless in falsely telling investors that the market for
                 Perrigo’s generic drugs was truly competitive without confirming the absence of
                 price collusion.

         369.    The fact that the DOJ raided Perrigo’s offices in connection with its generic

  pharmaceutical price-fixing investigation and intervened in three civil antitrust actions against

  Perrigo after subpoenaing and receiving documents other generic drug manufacturers strongly

  suggests that federal prosecutors have determined that there is evidence of a criminal conspiracy

  to fix prices in an anti-competitive manner.

         370.    Fourth, the Individual Defendants had a palpable motive to engage in the

  fraudulent conduct alleged herein, namely, to fend off Mylan’s Tender Offer and, by extension,

  to preserve their lucrative jobs at Perrigo. As reported by Bloomberg in a March 7, 2016 article

  entitled, Perrigo Paid Executives Bonuses for Fending Off Mylan Offers, following Perrigo’s

  disclosures in a March 4, 2016 preliminary proxy statement, Papa received additional restricted

  stock in December 2015 worth $1.5 million at the time and a $500,000 cash bonus. The one-

  time $2 million payment was made to Papa for his “key contributions related to Mylan’s hostile

  takeover attempt” between April 2015 and November 2015, when Perrigo shareholders rejected

  the Tender Offer. Brown likewise received stock awards valued at $375,000 and a cash bonus

  for an equal amount.

         371.    Fifth, public statements made by the Individual Defendants during the Relevant

  Period strongly and plausibly suggest that each had detailed knowledge of or access to the


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  material facts and information misrepresented or concealed by Defendants. The vast majority of

  Defendants’ misrepresentations explicitly or implicitly pertain to the value (or purported lack

  thereof) of Mylan’s Tender Offer, Omega’s performance and prospects, Perrigo’s generic drug

  pricing, or Perrigo’s financial guidance; and each of the Individual Defendants made statements

  and fielded questions regarding these subjects during earnings calls, and investor conferences. In

  that regard, the Individual Defendants controlled the contents of their statements on behalf of the

  Company.

         372.    Sixth, Defendants’ intent to issue false or misleading financial guidance is

  evidenced by, among other things, senior management’s knowledge or reckless disregard of

  internal financial projections that were prepared by the relevant business managers.           For

  example, as recounted by CW-3 (see ¶¶ 140-46 above), Perrigo management rejected a budget

  projecting EBIT of 9 million euros that CW-3 prepared for Omega Belgium in 2015, overriding

  CW-3’s budget with one that unrealistically called for 24 million euros (i.e., two to three times

  more EBIT than he had projected). Defendants’ intent is further evidenced by their knowledge

  of or disregard for the pricing challenges that Perrigo faced in the EU market. More specifically,

  according to Ray, Omega executives and sales personnel in Belgium, France, and Germany

  explained the effect of the pricing challenges caused by EU regulations to Perrigo’s U.S.

  executive management, including Papa, senior management in Ireland, and Board members in

  the U.S. ¶¶ 122-25, 130, 135, 138. According to Ray, however, the Omega sales team felt that

  executive management and the Board ignored or minimized their warnings because they were

  more concerned at the time with fending off the Mylan takeover. Frustration boiled over to the

  point where some Omega salespeople stopped attending meetings with Perrigo’s executive

  management. For these reasons and those alleged above (see ¶ 351), Defendants issued false




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  financial projections that lacked a reasonable basis and that the Individual Defendants did not

  honestly believe, given the adverse facts regarding the Omega acquisition, the pricing pressures

  facing Perrigo that were known (but denied) by Defendants, and Perrigo’s involvement in price

  collusion.

         373.    During Perrigo’s May 12, 2016 earnings conference call reporting a first quarter

  net loss of $133.1 million attributed to an additional $467 million impairment charge relating to

  the Omega acquisition, the Company’s new CEO, Hendrickson, who had just replaced Papa,

  assured investors that that the Company would target “realistic” forecasts going forward—a

  patent admission that Papa’s and the Company’s previous forecasts were indefensible and issued

  without a reasonable basis.

         374.    Eighth, as Perrigo’s CEO and CFO, Papa and Brown were each provided with, or

  had access to, copies of the SEC filings alleged herein to be false or misleading prior to, or

  shortly after, their issuance, and had the ability and opportunity to prevent their issuance or cause

  them to be corrected. As CEO and CFO, both Papa and Brown signed certifications pursuant to

  the Sarbanes-Oxley Act of 2002 (“SOX”) and Exchange Act Rule 13a-14(a) in connection with

  Perrigo’s Forms 10-Q and Form 10-K filed with the SEC during the Relevant Period. As

  signatories of both: (i) the SOX certification representing that “the information contained in th[e]

  [SEC filings] fairly presents, in all material respects, the financial condition and results of

  operations of Perrigo”; and (ii) the Rule 13a-14(a) certification representing that the Company’s

  SEC filings did “not contain any untrue statement of a material fact or omit to state a material

  fact necessary to make the statements made . . . not misleading,” Papa and Brown each had a

  duty to monitor any conduct or information that threatened to undermine the veracity of these

  filings, including all material facts concerning the Omega acquisition and the integration of




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  Omega into Perrigo’s business, as well as information concerning the Company’s product

  pricing. As Perrigo’s CEO and CFO, Papa’s and Brown’s knowledge or recklessness is imputed

  to the Company.

          375.    Ninth, the terminations and resignations of high-ranking executives, including all

  three of the Individual Defendants, during or shortly after the revelation of the alleged fraud are

  further indicia of scienter.

          376.    Throughout the Relevant Period, Papa promised an earnings and growth surge for

  Perrigo that never materialized. Once it was revealed that his last major acquisition, Omega, the

  purported centerpiece for such a surge, was, in fact, detrimental to Perrigo’s bottom line, he

  abruptly and unexpectedly resigned. Jim Cramer, the host of “Mad Money” who outright called

  certain of Papa’s during statements Relevant Period “clearly untrue,” likewise questioned Papa’s

  “rapid[]” departure, stating he thought the business was in “more of decline than we realized”

  when Perrigo “turned down a $200 bid from Mylan” under Papa.

          377.    Immediately upon assuming the position of CEO, Perrigo’s then-CEO

  Hendrickson also fired Coucke, Omega’s business head.

          378.    In July 2016, only three months after Papa’s resignation, Boothe, the head of

  Perrigo’s Rx segment which, contrary to Defendants’ representations, was harmed by pricing

  pressures, abruptly left the Company, even though Hendrickson, during the May 12 Earnings

  Call, had characterized Boothe as “the right person to guide the business in this market [i.e., the

  generic drug market]” amid those admitted pressures. Within a year’s time, Brown likewise

  abandoned Perrigo’s sinking ship.

          379.    Tenth, the sheer size of the impairments taken by Perrigo in connection with or

  related to Omega supports a strong inference of scienter.                 In total, Defendants’




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  misrepresentations concerning Omega led to total impairments charge of approximately $2.3

  billion in 2016, or 50% of the approximately $4.5 billion purchase price for Omega. This

  includes a $1.67 billion impairment recorded in third quarter of 2016, plus the $652 million in

  impairments announced on February 18 and May 12, 2016.

  VIII. PLAINTIFFS ARE ENTITLED TO A PRESUMPTION OF RELIANCE

         380.    At all relevant times, the market for Perrigo common stock was open and efficient

  for the following reasons, among others: (i) Perrigo common stock met the requirements for

  listing, and was listed and actively traded on the NYSE under the ticker symbol “PRGO”; (ii) as

  a registered and regulated issuer of securities, Perrigo filed periodic public reports with the SEC,

  in addition to the Company’s frequent voluntary dissemination of information; (iii) Perrigo

  regularly communicated with investors via established market communication mechanisms,

  including through regular disseminations of press releases on the national circuits of major

  newswire services and through other wide-ranging public disclosures, such as communications

  with the financial press, securities analysts, and other similar reporting services; (iv) Perrigo was

  followed by numerous securities analysts employed by major brokerage firms, including

  Barclays, UBS, Royal Bank of Canada, and Wells Fargo, who wrote reports that were distributed

  to the sales force and certain customers of their respective brokerage firms and that were publicly

  available and entered the public marketplace; (v) the material misrepresentations and omissions

  alleged herein would tend to induce a reasonable investor to misjudge the value of Perrigo’s

  common stock; and (vi) without knowledge of the misrepresented or omitted facts, Plaintiffs

  purchased or otherwise acquired Perrigo common stock between the time that Perrigo made the

  material misrepresentations and omissions and the time that the truth was revealed, during which

  period the price of Perrigo’s common stock was artificially inflated by Defendants’

  misrepresentations and omissions.


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         381.    As a result of the foregoing, the market for Perrigo common stock promptly

  digested current information regarding Perrigo from all publicly available sources and the prices

  of Perrigo’s stock reflected such information. Based upon the materially false or misleading

  statements and omissions of material fact alleged herein, Perrigo common stock traded at prices

  in excess of the true value of Perrigo common stock during the Relevant Period. Plaintiffs

  purchased, acquired, or held Perrigo common stock relying upon the integrity of the market price

  of Perrigo common stock and other market information relating to Perrigo.

         382.    Under these circumstances, Plaintiffs, as purchasers or acquirers of Perrigo

  common stock at artificially inflated prices during the Relevant Period and as holders of Perrigo

  common stock as of the expiration of Mylan’s Tender Offer on November 13, 2015, suffered

  injuries and a presumption of reliance under the fraud-on-the-market doctrine applies.

         383.    Further, at all relevant times, Plaintiffs relied upon Defendants to disclose

  material information as required by law and in the Company’s SEC filings. Plaintiffs would not

  have purchased, acquired, or held Perrigo common stock at artificially inflated prices if

  Defendants had disclosed all material information as required.            Thus, to the extent that

  Defendants concealed or improperly failed to disclose material facts with regard to the Company

  and its business, Plaintiffs are entitled to a presumption of reliance.

  IX.    THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION DOCTRINE
         ARE INAPPLICABLE

         384.    The Private Securities Litigation Reform Act’s statutory safe harbor and/or the

  “bespeaks caution doctrine” applicable to forward-looking statements under certain

  circumstances do not apply to any of the materially false or misleading statements alleged herein.




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         385.    None of the statements complained of herein were forward-looking statements.

  Rather, each was a historical statement or statement of purportedly current facts and conditions

  at the time each statement was made.

         386.    To the extent that any of the materially false or misleading statements alleged

  herein, or any portions thereof, can be construed as forward-looking, such statements were not

  accompanied by meaningful cautionary language identifying important facts that could cause

  actual results to differ materially from those in the statements. As set forth above in detail, given

  the then-existing facts contradicting Defendants’ statements, any generalized risk disclosures

  made by Defendants were not sufficient to insulate Defendants from liability for their materially

  false or misleading statements or omissions.

         387.    To the extent that the statutory safe harbor may apply to any materially false or

  misleading statement alleged herein, or a portion thereof, Defendants are liable for any such false

  or misleading forward-looking statement because at the time such statement was made, the

  speaker knew the statement was false or misleading, or the statement was authorized and

  approved by an executive officer of Perrigo who knew that the forward-looking statement was

  false or misleading.

  X.     CAUSES OF ACTION

                                              COUNT I
                           Violation of Section 14(e) of the Exchange Act
                                      Against All Defendants

         388.    Plaintiffs incorporate by reference and reallege all preceding paragraphs as if fully

  set forth herein. This claim is brought against all Defendants pursuant to Section 14(e) of the

  Exchange Act, 15 U.S.C. § 78n(e).

         389.    Section 14(e) provides:




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         It shall be unlawful for any person to make any untrue statement of material fact
         or omit any material fact necessary in order to make the statements made, in light
         of the circumstances under which they are made, not misleading, or to engage in
         any fraudulent, deceptive, or manipulative acts or practices, in connection with
         any tender offer.

         390.    Defendants violated Section 14(e) because each made one or more materially

  false or misleading statements or omissions of material fact in connection with Mylan’s Tender

  Offer, which commenced on September 14, 2015 and expired on November 13, 2015, in

  violation of their duties to disclose all material facts so as to make their statements true and not

  misleading.

         391.    During the Relevant Period, and while in possession of material adverse, non-

  public information, Defendants used the means and instrumentalities of interstate commerce, the

  U.S. mails, and the facilities of the national securities exchanges to make the materially false or

  misleading statements and omissions of material fact alleged herein to: (i) knowingly or

  recklessly deceive Plaintiffs with respect to Perrigo’s operations, business, performance and

  prospects; (ii) cause the market price of Perrigo common stock to trade above its true value; and

  (iii) induce a majority of Perrigo shareholders to reject Mylan’s Tender Offer, and thereby

  interfere with Plaintiffs’ opportunity, and deprive Plaintiffs of the opportunity, to tender their

  Perrigo stock in exchange for the combination of cash and Mylan stock offered by Mylan

  through the Tender Offer. As a direct and proximate result of Defendants’ wrongful conduct,

  Plaintiffs suffered damages in connection with their holdings of Perrigo common stock as of the

  expiration of Mylan’s Tender Offer on November 13, 2015 because the Tender Offer, which was

  in large part defeated as the result of Defendants’ material misrepresentations and omissions,

  would have provided Plaintiffs with substantially more value than holding Perrigo common

  stock. In addition, as the previously misrepresented and/or concealed material facts eventually




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  emerged, the price of Perrigo common stock substantially declined, further damaging Plaintiffs.

  These declines and the preceding disclosures are set forth above in ¶¶ 34-40 and 229-57.

         392.     Defendants, individually and in concert, directly or indirectly, by the use of means

  and instrumentalities of interstate commerce, the U.S. mails, and the facilities of a national

  securities exchange: (i) employed devices, schemes, and artifices to defraud; (ii) made false or

  misleading statements of material fact and/or failed to disclose material facts necessary in order

  to make the statements made, in light of the circumstances under which they were made, not

  misleading; and (iii) engaged in acts, practices, and a course of business that operated as a fraud

  or deceit in violation of Section 14(e). Defendants acted with knowledge or a reckless disregard

  for the truth of the misrepresented and omitted facts alleged herein, in that they failed to disclose

  such facts, even though such facts were readily available to them, if not known.

         393.     By virtue of the foregoing, Defendants have violated Section 14(e) of the

  Exchange Act.

                                            COUNT II
                  Violation of Section 10(b) of the Exchange Act and Rule 10b-5
                        Promulgated Thereunder Against All Defendants

         394.     Plaintiffs incorporate by reference and reallege all preceding paragraphs as if fully

  set forth herein. This claim is brought against Defendants pursuant to Section 10(b) of the

  Exchange Act, 15 U.S.C. § 78(j)(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. §

  240.10b-5.

         395.     During the Relevant Period, Defendants used the means and instrumentalities of

  interstate commerce, the U.S. mails, and the facilities of the national securities exchanges to

  make materially false or misleading statements and omissions of material fact alleged herein to:

  (i) deceive the investing public; (ii) cause the market price of Perrigo common stock to trade

  above its true value; and (iii) cause Plaintiffs to purchase or otherwise acquire Perrigo common


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  stock at artificially inflated prices that did not reflect the stock’s true value during the Relevant

  Period. In furtherance of their unlawful scheme, plan, or course of conduct, Defendants took the

  actions alleged herein.

           396.   While in possession of material adverse, non-public information, Defendants,

  individually and in concert, directly or indirectly, by the use of means and instrumentalities of

  interstate commerce, the U.S. mails, and the facilities of a national securities exchange: (i)

  employed devices, schemes, and artifices to defraud; (ii) made false or misleading statements of

  material fact and/or failed to disclose material facts necessary in order to make the statements

  made, in light of the circumstances under which they were made, not misleading; and (iii)

  engaged in acts, practices, and a course of business that operated as a fraud or deceit upon the

  purchasers of the Company’s common stock, including Plaintiffs, in an effort to maintain

  artificially high market prices for Perrigo common stock, in violation of Section 10(b) and Rule

  10b-5. Defendants are alleged as primary participants in the wrongful conduct alleged herein.

           397.   Defendants acted with knowledge or a reckless disregard for the truth of the

  misrepresented and omitted facts alleged herein, in that they failed to disclose such facts, even

  though such facts were readily available to them, if not known.               Defendants’ material

  misrepresentations and omissions were made knowingly and/or recklessly, for the purpose and

  effect of concealing the truth with respect to Perrigo’s operations, business, performance, and

  prospects from the investing public and supporting the artificially inflated price of its common

  stock.

           398.   The dissemination of the materially false or misleading information and failure to

  disclose material facts, as set forth above, artificially inflated or maintained artificial inflation

  already in the market price of Perrigo common stock during the Relevant Period. Relying




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  directly or indirectly upon the materially false or misleading statements made by Defendants and

  on the efficiency and integrity of the market in which the Company’s common stock trades, and

  upon the absence of material adverse information that was known to or recklessly disregarded by

  Defendants but not disclosed by Defendants, Plaintiffs purchased or otherwise acquired Perrigo

  common stock during the Relevant Period at artificially inflated prices. As the previously

  misrepresented and/or concealed material facts eventually emerged, the price of Perrigo common

  stock substantially declined, causing losses. These declines and the preceding disclosures are set

  forth above in ¶¶ 34-40 and 229-57.

         399.    At the time of the material misrepresentations and omissions alleged herein,

  Plaintiffs did not know of their falsity and believed them to be true. Had Plaintiffs known the

  relevant truth with respect to Perrigo’s financial results, operations, business, and prospects,

  which was misrepresented and/or concealed by Defendants, Plaintiffs would not have purchased

  or otherwise acquired Perrigo common stock at the artificially inflated prices that they paid.

         400.    By virtue of the foregoing, Defendants have violated Section 10(b) of the

  Exchange Act and Rule 10b-5 promulgated thereunder. As a direct and proximate result of

  Defendants’ wrongful conduct, Plaintiffs suffered damages in connection with their transactions

  in the Company’s common stock during the Relevant Period.

                                            COUNT III
                          Violation of Section 20(a) of the Exchange Act
                              Against Defendants Papa and Brown

         401.    Plaintiffs incorporate by reference and reallege all preceding paragraphs as if fully

  set forth herein. This claim is brought against Papa and Brown pursuant to Section 20(a) of the

  Exchange Act, 15 U.S.C. § 78t(a).

         402.    During the Relevant Period, Papa and Brown were the CEO and the CFO of

  Perrigo, respectively, and were privy to, and monitored, confidential and proprietary information


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  concerning Perrigo, its business, operations, performance, and future prospects, including its

  compliance with applicable federal, state, and local laws and regulations.

         403.    In these roles, the Individual Defendants had regular access to non-public

  information about its business, operations, performance, and future prospects through access to

  internal corporate documents and information, conversations, and connections with other

  corporate officers and employees, attendance at management meetings and meetings of the

  Company’s Board of Directors and committees thereof, as well as reports and other information

  provided to them in connection therewith.

         404.    Each of the Individual Defendants was a controlling person of Perrigo within the

  meaning of Section 20(a), as alleged herein. By virtue of their high-level positions, participation

  in, and/or awareness of the Company’s day-to-day operations and finances, and/or knowledge of

  the statements filed by the Company with the SEC and disseminated to the investing public, Papa

  and Brown each had the power and authority to influence and control, and did influence and

  control, directly or indirectly, the day-to-day decision-making of the Company, including the

  content and dissemination of the statements Plaintiffs allege were materially false or misleading

  and/or omitted material facts.

         405.    Papa and Brown were provided with, or had unlimited access to, copies of the

  Company’s reports, press releases, public filings, and other statements alleged by Plaintiffs to be

  misleading prior to and/or shortly after these statements were issued and had the ability and

  ultimate authority to prevent the issuance of the statements or cause the statements to be

  corrected. In particular, Papa and Brown maintained direct and supervisory involvement in the

  day-to-day operations of the Company and, therefore, had, or are presumed to have had, the




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  power to control or influence the particular public statements or omissions giving rise to the

  securities violations as alleged herein, and exercised the same.

         406.    As set forth above, Defendants violated Section 10(b) and Rule 10b-5, and

  Section 14 of the Exchange Act by their acts and omissions as alleged herein. By virtue of the

  Individual Defendants’ status as controlling persons and their respective participation in the

  underlying violations of Section 10(b) and Rule 10b-5, and Section 14, Papa and Brown are

  liable pursuant to Section 20(a). As a direct and proximate result of Papa’s and Brown’s,

  culpable conduct, Plaintiffs suffered damages in connection with its purchases of the Company’s

  stock during the Relevant Period.

  XI.    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for relief and judgment, including:

         A.      Awarding compensatory damages against all Defendants, jointly and severally,

  for all damages sustained as a result of Defendants’ wrongdoing, in an amount to be proven at

  trial, including interest thereon, as allowed by law;

         B.      Awarding extraordinary, equitable, and/or injunctive relief as permitted by law

  (including, but not limited to, rescission);

         C.      Awarding Plaintiffs their costs and expenses incurred in this Action, including

  reasonable counsel fees and expert fees; and

         D.      Awarding such other and further relief as may be just and proper.

  XII.   JURY TRIAL DEMANDED

                 Plaintiffs hereby demand a trial by jury.




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  Dated: October 29, 2018            Respectfully submitted,



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